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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                 )
 UNITED STATES SECURITIES                        )
 AND EXCHANGE COMMISSION,                        )
                                                 )
                       Plaintiff,                )      Civil Action No. 18-cv-5587
                                                 )
 v.                                              )      Hon. John Z. Lee
                                                 )
 EQUITYBUILD, INC., EQUITYBUILD                  )      Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                  )
 and SHAUN D. COHEN,                             )
                                                 )
                       Defendants.               )
                                                 )

            RECEIVER’S THIRD INTERIM APPLICATION AND MOTION
          FOR COURT APPROVAL OF PAYMENT OF FEES AND EXPENSES
           OF RECEIVER AND RECEIVER’S RETAINED PROFESSIONALS

       Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen as defined in the Order Appointing Receiver (Docket No. 16) (collectively, the

“Receivership Defendants”), and pursuant to the powers vested in him by Order of this Court

entered on August 17, 2018, now respectfully submits this Third Interim Application

(“Application”) and moves this Court for an order approving payment of the fees and expenses of

the Receiver, the Receiver’s counsel, Rachlis Duff Peel & Kaplan, LLC (“RDPK”), the Receiver’s

accountant, BrookWeiner, LLC (“BrookWeiner”), and the Receiver’s forensic consultant,

Prometheum, from the Receivership Estate operating account. In support of his Application and

Motion, the Receiver states as follows:
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I.       BACKGROUND

         1.     On August 15, 2018, the United States Securities and Exchange Commission

(“SEC”) filed a civil Complaint against Jerome Cohen, Shaun Cohen, EquityBuild Inc., and

EquityBuild Finance LLC (collectively the “Defendants”) alleging violations of federal securities

laws, along with a motion for entry of an asset freeze, permanent injunction, and other ancillary

relief. (Docket Nos. 1 & 3, respectively)

         2.     In their Complaint against the Defendants, the SEC alleged violations of Section

10(b) of the Securities Exchange Act of 1934 (the "Exchange Act"), 15 U.S.C. § 78j(b), and Rule

10b-5 promulgated thereunder, 17 C.F.R. 240.10b-5, Section 20(a) of the Exchange Act, 15 U.S.C.

§78t(a), Sections 5(a) and 5(c) of the Securities Act of 1933 (the "Securities Act"), 15 U.S.C.

§77e(a) and (c), and Section 17(a) of the Securities Act, 15 U.S.C. §§77q(a)q. (Docket No. 1)

         3.     The Complaint further alleged that the Defendants operated a Ponzi-scheme that

raised at least $135 million from more than 900 investors by, among other things, making untrue

statements of material fact in connection with the sale of promissory notes allegedly secured by

residential real estate primarily located on the south side of Chicago. (Id. ¶¶ 1-7, 17, 20-51)

         4.     On August 28, 2018, the Court entered a judgment against defendants Jerome

Cohen and Shaun Cohen which, among other things, enjoined future violations of federal securities

laws. (Docket No. 40)

         5.     In connection with its civil action, the SEC sought and obtained Court approval for

the appointment of a Receiver, and on August 17, 2018, this Court entered an Order Appointing

Receiver. (Docket No. 16)




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        6.        Under the Order Appointing Receiver, the Receiver was authorized to engage and

employ persons and entities in his discretion to assist him in carrying out the duties and

responsibilities set forth in the Order. (Id., Order Appointing Receiver, ¶ 54)

        7.        Accordingly, the Receiver retained RDAPK as special counsel, and, on August 20,

2018, the Court entered an Order approving RDAPK’s rates. (Docket No. 19) On August 23,

2018, the Receiver retained BrookWeiner to provide accounting services and to perform tax and

related work regarding the assets of the Receivership Defendants, and, on August 28, 2018, the

Court entered an Order approving BrookWeiner’s rates. (Docket No. 39) On August 31, 2018,

the Receiver retained Prometheum to access and preserve data within EquityBuild’s cloud based

storage systems and provide related IT services, and, on September 6, 2018, the Court entered an

order approving Prometheum’s rates. (Docket No. 56)

        8.        Pursuant to the Order Appointing Receiver, the Receiver and his retained personnel

are entitled to “reasonable compensation and expense reimbursement” from the Receivership

Estates, as described in the “Billing Instructions for Receivers in Civil Actions Commenced by the

U.S. Securities and Exchange Commission” (the “Billing Instructions”) agreed to by the Receiver.

(Docket No. 16, ¶ 69)

II.     THIRD INTERIM APPLICATION

        9.        Pursuant to the Billing Instructions, the Receiver provides the following

information regarding the application:

                  a.     The Application covers the period from January 1, 2019 through March 31,

        2019 1;




1
  There was a partial government shutdown in December 2018 and January 2019 during which
time this litigation was stayed, although the Receiver continued with his efforts during this time.


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               b.     As set forth above, this Court appointed the Receiver on August 17, 2018.

       The Receiver retained RDAPK as special counsel on August 17, 2018, and RDAPK

       commenced services to the Receiver that same day. Shortly thereafter, on August 20, 2018,

       the Court entered an order approving RDAPK’s rates. The Receiver retained BrookWeiner

       as accountants on August 23, 2018, and they commenced services to the Receiver that same

       day. Shortly thereafter, on August 28, 2018, the Court entered an Order approving

       BrookWeiner’s rates. The Receiver retained Prometheum as forensic consultant on August

       31, 2018, and they commenced services to the Receiver that same day. Shortly thereafter,

       on September 6, 2018, the Court entered an order approving Prometheum’s rates.

               c.     The names and hourly rates of all professionals for RDPK and

       BrookWeiner, as well as Prometheum’s hourly rates are attached as Exhibit A.

               d.     This is the Receiver’s third interim application. The first interim application

       was submitted on June 12, 2019. (Docket No. 411) The second interim application was

       submitted on August 21, 2019. (Docket No. 487) Objections were filed and a hearing on

       the first and second fee applications was held on October 8, 2019. (Docket No. 541) For

       the reasons stated on the record during that hearing, the Court granted the Receiver’s first

       and second interim applications and motions for court approval of fees. (Docket Nos. 546-

       47)

III.   Case Status

       10.     Pursuant to the Billing Instructions, the Receiver provides the following

information regarding the status of the case, and activities performed specifically for the period

covered by this Application.




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                a.      The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the

        First Quarter 2019 is attached as Exhibit B. The SFAR sets forth the funds received and

        disbursed from the Receivership estate during this reporting period. As reported in the

        SFAR, the amount of cash on hand as of March 31, 2019 was $232,751.46. 2 The

        information reflected in the SFAR was based on records and information currently

        available to the Receiver. The Receiver and his advisors are continuing with their

        evaluation and analysis.

                b.      Upon his appointment, the Receiver began making efforts to determine the

        nature, location, and value of all property interests of the Receivership Defendants,

        including monies, funds, securities, credits, effects, goods, chattels, lands, premises, leases,

        claims, choses in action, rights and other assets, together with all profits, interest, or other

        income attributable thereto, which the Receivership Defendants owned, possessed, retained

        a beneficial interest in, or controlled directly or indirectly. In furtherance of such, the

        Receiver took, inter alia, the following actions:

        i.      Notice of Appointment of Receiver

        During the first quarter of 2019, the Receiver continued his efforts to notify all necessary

and relevant individuals and entities of the appointment and to protect and preserve the assets of

the Receivership Estate. To that end, during the first quarter of 2019, the Receiver delivered

additional notices to, inter alia, banks, financial institutions, and other individuals or entities which

were identified as potentially having possession of the property, business, books, records, or

accounts of the Receivership Defendants, or who may have retained, managed, held, insured, or



2
 The amount of cash on hand in the Receiver’s Account as of October 24, 2019 was $603,294.25.
This figure includes $105,870.94 corresponding to two amounts still under investigation. (See
Docket No. 348, at 24)


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encumbered, or had otherwise been involved with any of the assets of the Receivership

Defendants.

        ii.    Control of Receivership Property and Records

        During the first quarter 2019, the Receiver continued efforts to locate and preserve all

EquityBuild property and records.       The Receiver and his forensic consultant Prometheum

preserved an additional 4 GB of accounting data and 1.6 GB of data on another platform. The

Receiver, working with Prometheum, maintained three select platforms during the first quarter

2019. The monthly cost for two of the three platforms was $188 during the first quarter of 2019.

The yearly cost of the third platform is $1,700 to be paid in two installments of $850, the first of

which the Receiver paid in the fourth quarter 2018.

        Additionally, the Receiver requested all EquityBuild-related documentation in the

possession, custody, and/or control of a Chicago law firm that acted essentially as outside general

counsel to EquityBuild and its affiliates. 3 The law firm initially refused to produce the requested

documentation, ostensibly on the basis of a potential assertion of attorney-client privilege

objections by the Cohens. After follow-up from the Receiver’s counsel, by letter dated February

25, 2019, the law firm offered to make the responsive documents available. During the first quarter

of 2019, the Receiver also served seven third-party subpoenas.

        iii.   Factual Investigation

        During the first quarter 2019, in an effort to reconstruct what transpired since the inception

of the Defendants’ scheme and to trace, where possible, the flow of investor funds into and back

out of real properties owned by EquityBuild or its affiliates, the Receiver and his retained




3
  This law firm is not the Chicago-based firm that acted as general counsel as referenced in the
first status report. (Docket No. 107 at 5-6)


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professionals continued to review the following: (i) documents and correspondence sent to or

received from the EquityBuild principals, to whose email accounts the Receiver has access; (ii)

bank records from EquityBuild and its affiliate entities; (iii) EquityBuild documents (largely stored

in cloud-based and other electronic media, although some received in paper form); (iv) available

underlying transaction documents contained in the files of former Chicago-based EquityBuild

counsel received to date; and (v) files produced by former EquityBuild securities counsel,

accountants, and employees. Moreover, the Receiver requested documents and records from the

Cohens (including those called for by the Order Appointing Receiver).

        The Receiver and his retained professionals also collected, reviewed, and analyzed all

available loan documentation associated with the financing or refinancing, through various

lenders, of substantially all of the EquityBuild portfolio during the 2017-2018 time frame. 4 Among

other efforts, the Receiver and his professionals endeavored to ascertain the terms of the loans and

the current loan balances, and to obtain and review available due diligence materials submitted by

EquityBuild in connection with the original loan applications.

        iv.    Entities Within the Receivership Estate

        During the first quarter 2019, the Receiver filed a motion to amend and clarify the Order

Appointing Receiver to specifically identify a comprehensive list of EquityBuild affiliate entities

as Receivership Defendants in the Order Appointing Receiver. (Docket No. 226) This motion was

granted and 108 additional affiliate entities were identified as Receivership Defendants during the

first quarter 2019. (Docket Nos. 289 & 290)




4
  Approximately 80% of the mortgaged properties in the EquityBuild portfolio were financed or
refinanced in the 2017-2018 time period. The balance of the mortgaged properties were financed
or refinanced in the 2014-2015 time period.


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        v.     Sale of the First Tranche of Properties

        During the fourth quarter 2018, the Receiver moved for Court approval of a sealed-bid

public sale auction of the first tranche of properties. (Docket No. 130) The Receiver sought to sell

the following six multi-family residential apartment buildings:

               •       5001-05 S. Drexel Boulevard, Chicago, IL 60615;

               •       7500-08 S. Eggleston Avenue, Chicago, IL 60620;

               •       7549-59 S. Essex Avenue, Chicago, IL 60649;

               •       7927-49 S. Essex Avenue, Chicago, IL 60617; 5

               •       8100-14 S. Essex Avenue, Chicago, IL 60617; and

               •       6160-6212 S. King Drive, Chicago, IL 60637.

        During the first quarter 2019, the Receiver moved for Court approval of the pending sales

free and clear of all mortgages, liens, claims, and encumbrances. (Docket No. 230) The Receiver

determined and asked for Court approval to hold proceeds from the sales of the unencumbered

properties in the Receiver’s account and remain available to pay expenses associated with the

Receivership. (Id.) He further determined and asked for Court approval to hold proceeds from the

sales of properties encumbered by secured debt in a separate real estate sales proceeds account

(established by the Receiver, and for which the Receiver is maintaining an accounting as to all

sums deposited therein that correspond to each sale of real estate) not available to pay for operating

expenses of the Receivership nor for any other expense or distribution, absent further order of

Court. (Id.) Following a lengthy hearing on March 18, 2019, Magistrate Judge Kim recommended



5
  A fire occurred at this property in March 2019. The Receiver, his retained professionals, and the
property manager all worked expeditiously to, without limitation, put measures in place to secure
the property and prevent further damage following the fire, communicate with the insurance broker
regarding the fire, and communicate with the potential purchaser regarding the fire.


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that the Receiver’s motion be granted in part and denied in part. (Docket Nos. 310 & 311) During

the first quarter 2019, the Receiver and his retained professionals worked to prepare for the

closings on the six properties, which included but was not limited to conducting title examinations,

obtaining and making due diligence documents available to potential purchasers, communicating

with potential purchasers and the title company, and preparing closing documents. 6

          The Receiver also initiated efforts to arrange financing to address liquidity challenges until

the first tranche of properties could close. Ultimately, the Receiver was able to manage the

Receivership’s finances in a manner to avoid the need for such financing.

          vi.    Sale of the Second Tranche of Properties

          During the first quarter 2019, the Receiver moved for judicial approval of a sealed-bid

public sale of a second tranche of properties. (Docket No. 228) The second sales tranche consists

of twelve properties, specifically:

                 •       2909 E. 78th Street, Chicago, IL 60649;

                 •       4520-26 S. Drexel, Chicago, IL 60653;

                 •       6749-57 S. Merrill, Chicago, IL 60649;

                 •       7110 S. Cornell Avenue, Chicago, IL 60649;

                 •       638 N. Avers, Chicago, IL 60624;

                 •       701 S. 5th Avenue, Maywood, IL 60153;

                 •       7625-33 S. East End Avenue, Chicago, IL 60649;

                 •       7635-43 S. East End Avenue, Chicago, IL 60649;

                 •       7750-58 S. Muskegon, Chicago, IL 60649;

                 •       7600 S. Kingston Avenue, Chicago, IL 60649;


6
    These six properties closed in the second quarter 2019.


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               •       7748-50 S. Essex Avenue, Chicago, IL 60649; and

               •       8326-58 S. Ellis, Chicago, IL 60619.

       Certain institutional lenders filed objections to the Receiver’s second motion to approve a

public sale process (see Docket Nos. 232, 235, 240), which the Receiver addressed during a

lengthy hearing on March 18, 2019. The Court issued a ruling on this motion in the second quarter

2019. Also during the first quarter 2019, the Receiver – in connection with his real estate broker

and retained professionals – identified a third tranche of properties to list for sale, but filed his

motion for court approval to list these properties in the first few weeks of the second quarter 2019.

(See Docket Nos. 325, 327, & 329)

       vii.    Additional Property Information

       During the first quarter of 2019, the Receiver and his retained professionals developed and

implemented a plan to pay, where possible, delinquent real estate taxes and the first installment

payments due March 1, 2019.

       The Receiver also worked to ensure that the two existing property management companies

remained in place and that all health, life, and safety issues at the properties were addressed

expeditiously. He worked closely with the property managers to develop improved procedures to

monitor repairs, expenses, and property finances designed to protect the properties and their

financial position. He also worked with the property managers to develop and implement new

financial reporting to support the Receiver in fulfilling his obligations, including with respect to

expenses, collections, use of funds, and financial reporting. Additionally, the property managers

assisted the Receiver in the defense of a thicket of administrative and housing court actions

alleging building code violations of widely varying levels of severity filed by the City of Chicago.

To that end, during the first quarter 2019, the Receiver and his counsel continued to work closely




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with the City’s corporation counsel for each department (circuit court, buildings, and streets and

sanitation) to address all open building code violations, to address life and safety issues, and to

preserve the respective properties. The Receiver’s counsel appeared on City of Chicago related

matters on seven occasions during the first quarter 2019. As of March 31, 2019, there were

approximately 48 known open code violations involving City of Chicago matters.

       There were twelve known City of Chicago municipal housing court matters that involved

conditions pre-existing the establishment of the Receivership for which the Received worked to

address in the first quarter 2019. Issues raised in these matters include but are not limited to:

       •       Replacement of a California-style porch at 8107 S. Ellis and demolition of the same
               at 7760 S. Coles for which the Receiver worked with the property manager to
               address in a time and cost effective manner in the first quarter 2019. (See infra
               Section II)

       •       There were two open matters at 7933 S. Essex. The violations on the first matter
               required porch replacement or repair. The second matter was a heat case relating
               to a broken boiler. The Receiver asked for and received from the municipal housing
               court a mandatory order to vacate and subsequently secured the building. The
               Receiver also achieved a dismissal of a duplicate heat case. This property was
               under contract in the first quarter and closed in the second quarter 2019.

       •       6160 S. King Drive was also the subject of a heat case relating to a broken boiler.
               The Receiver asked for and received from the municipal housing court a mandatory
               order to vacate and subsequently secured the building. This property was under
               contract in the first quarter and closed in the second quarter 2019.

       •       The Receiver worked with the property manager and ultimately authorized (on two
               separate occasions) the installation of scaffolding at 7110 S. Cornell.

       During the first quarter 2019, the Receiver achieved dismissal on two waste management

matters at 7959 S. Marquette.

       viii.   Other Receivership Assets

       During the first quarter 2019, the Receiver and his retained accountant conducted a forensic

accounting and tracing analysis with respect to a single-family home in Naples, FL and determined



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the asset was funded with investor funds. Accordingly, on March 7, 2019, the Receiver filed a

motion to amend the Order Appointing Receiver to expressly identify and include specific

Receivership Assets, asserting therein that the Naples property and a bank account in the name of

Jerome Cohen and his spouse are Receivership Assets. (Docket No. 265) The Defendants also

approached the Receiver seeking settlement negotiations, including with respect to the Naples

property. The Receiver conducted limited negotiations with an aim to place the Receivership

Estate in the best financial position. Ultimately, the Receiver concluded that proceeding with the

motion was in the best interest of the Receivership Estate.

       During the first quarter 2019, the Receiver and his retained professionals also continued

investigating non-Illinois properties as Receivership Assets, including properties in Houston, TX,

Plano, TX, and Jackson, MS that have or may have been purchased with EquityBuild investor

funds. The Receiver has concluded that the property in Houston, TX is a Receivership Asset and

was purchased with EquityBuild investor funds.

       ix.     Institutional Lenders

       During the first quarter 2019, the Receiver and his retained professionals maintained

regular contact with the institutional lenders, not only for the purpose of gathering critical

information relating to the loans made to EquityBuild and its affiliates, but also for the purpose of

responding to myriad inquiries regarding the management and financial and physical condition of

the various properties. On February 1, 2019, the Receiver and his counsel met with available

lenders’ counsel to, among other things, answer common questions posed by the lenders. Eight

counsel representing several lenders participated in this meeting in person or by telephone, along

with the Receiver and his counsel.




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       Following a hearing on Freddie Mac’s motion regarding rents (Docket No. 90), the Court

issued a ruling granting in part and denying in part that motion. The Court agreed with the

Receiver that it was premature to decide whether creditors have preexisting secured interests in

the rents and premature to make any priority determinations prior to implementing a claims

process. (Docket No. 223 at 8-9) Also as part of that ruling, the Court required the Receiver to

separately account for rents and provide a monthly accounting on the same. (Docket No. 223) The

Receiver worked with his counsel, accountants, and property managers to obtain necessary

documents and create the reporting information as required by the February 13, 2019 Order. The

Receiver began developing reports for each of the properties where positive net operating income

was used to benefit other properties with negative net operating income.

       x.      Open Litigation

       During the first quarter 2019, the Receiver negotiated and entered an agreement to lift the

automatic stay of litigation in the matter captioned Byrd v. EquityBuild, et al., Case No. 18 L 973,

Circuit Court of Cook County, Law Division. (Docket No. 267, Notification of Docket Entry)

This Order provided, among other things, that the stay was lifted and allowed plaintiff to proceed

in a limited fashion against EquityBuild, Inc., Equity Building, Inc., and Paper Street Realty LLC,

only to the extent of the amount of available insurance coverage (if any). As part of the agreement

reached, plaintiff, as well her attorneys and/or representatives, waived her claims against the

Receivership Estate for any amount in excess of applicable insurance coverage and agreed to not

file any claim as part of the claims process in this action. (Id.)

       xi.     Securing Bank and Investment Accounts

       During the first quarter 2019, the Receiver notified, contacted, and conferred with the

banks and other financial institutions that the Receiver was able to identify as having custody or




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control of any funds, accounts, or other assets held by, in the name of, or for the benefit of, directly

or indirectly, any and all of the Receivership Defendants. On February 26, 2019, Wells Fargo

disclosed to the Receiver that there had been activity in certain accounts covered by the Court’s

asset freeze order. Without notice to the Receiver or his prior authorization, it appears Wells Fargo

allowed funds to be deposited, withdrawn, and charged off and closed in certain of these accounts.

In most instances, these accounts hold de minimis amounts. The Receiver immediately demanded

information from Wells Fargo.

        xii.      Contact with Investor Victims

        As previously indicated, the Receiver is continuously updating his list of known investors

in the Receivership Defendants’ fraudulent offerings. During the first quarter 2019, the Receiver

and his professionals spent more than 45 hours responding to hundreds of emails and voicemails

received from investors. The Receiver and his professional responded to their various inquiries

when possible, including by providing the foregoing information and indicating that his

investigation will take many months. He asked investors for patience during this lengthy process

because responding to individual inquiries depletes Receivership assets. To ease the burden and

provide        basic   information,    therefore,   the   Receiver    established     a    web    page

(http://rdaplaw.net/receivership-for-equitybuild) for investors and other interested parties to

obtain information and certain court filings related to the Receivership estate, which remains in

place today and continues to be best and most cost effective mean of providing information

regarding the status of this action.

        xiii.     Tax Issues

        BrookWeiner was retained to perform accounting, tax, and related work regarding assets

of the Receivership Defendants such as the accounting for ongoing business operation of the




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Receivership Defendants. During the first quarter of 2019, BrookWeiner prepared and filed

employment tax returns for various states for the third and fourth quarters of 2018 for EquityBuild

and the Receivership Estate. In addition, they prepared forms W-2 for 2018 for both EquityBuild

and the Receivership Estate. They also prepared the 2018 1099s for the Receivership Estate. They

also assisted the Receiver with his analysis of financial records, with respect to without limitation

the Naples property and bank account that was the subject of a motion (referenced above) filed by

the Receiver.

       xiv.     Accounts Established by Receiver for the Benefit of the Receivership Estate

       The Receiver established custodial accounts at a federally insured financial institution to

hold all cash equivalent Receivership property. The interest-bearing checking account is used by

the Receiver to collect liquid assets of the estate and to pay the portfolio-related and administrative

expenses. For each property encumbered by secured debt that has sold, the Receiver also

subsequently established an interest-bearing savings account for the purpose of depositing and

holding funds until such time as the Court orders otherwise and for ultimate distribution, upon

Court approval, to the creditors of the Estate, including the defrauded investors. (Docket Nos. 230,

311, 344 & 346)

       xv.      Creditors and Claims Against the Receivership Estate

       During the first quarter 2019, the Receiver and his professional continued their work to

develop a claims procedure for this action. On February 22, 2019, the Receiver filed a motion to

approve a claims process, which allowed all potential claimants to submit a claim and supporting

documentation. (Docket No. 241) Certain institutional lenders filed objections and their own

cross-motion for expedited priority hearing and discovery (Docket Nos. 280, 282, & 285), which




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the Receiver opposed (Docket No. 302). The Court granted the Receiver’s claims process motion

during the second quarter of 2019.

               c.     All known Receivership Property is identified and described in the Master

       Asset List attached hereto as Exhibit C. The Master Asset List identifies 53 checking

       accounts in the names of the affiliates and affiliate entities included as Receivership

       Defendants, reflecting a total amount transferred to the Receiver’s account of $105,870.94.

       Of these funds, $30,820.87 came from an account in the name of 1632 Shirley LLC, which

       relates to the Mississippi properties discussed earlier. The amount transferred to the

       Receiver also reflects $75,050.07 that EquityBuild received from an investor; the funds

       were wired prior to the appointment of the Receiver and cleared after the appointment.

       (See Docket No. 258, at 21)

               d.     The Master Asset List does not include assets and potentially recoverable

       assets for which the Receiver is still evaluating the value, potential value, and/or ownership

       interests. The Receiver is in the process of evaluating certain other types of assets that may

       be recoverable by the Receivership Estate, including, but not limited to, charitable

       donations, loans, gifts, settlements for which payment has not yet been received, and other

       property given to family members, former employees, and others.

               e.     See also Receiver’s Third Status Report (First Quarter 2019) for additional

       information. (Docket No. 348)

V.     BILLING ADDRESSED IN THIS APPLICATION

       11.     Pursuant to the Billing Instructions, the Receiver provides the following

information regarding current billing:

                a.    Total Compensation and Expenses Requested.




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      i.       In connection with his duties, the Receiver respectfully requests compensation for

services rendered, totaling $106,392.00 for the period of this Application.      A copy of the

Receiver’s invoices for January – March are attached as Exhibit D.

     ii.       In connection with the legal services provided to the Receiver by RDPK, the

Receiver respectfully requests compensation for services rendered, along with reimbursement of

expenses, totaling $418,673.37 for the period of this Application. A copy of RDPK’s invoices for

January – March are attached as Exhibit E.

    iii.       In connection with the accounting provided to the Receiver by BrookWeiner, the

Receiver respectfully requests compensation for services rendered, along with reimbursement of

expenses, totaling $21,102.00 for the period of this Application. A copy of BrookWeiner’s invoice

is attached as Exhibit F.

    iv.        In connection with the accounting provided to the Receiver by Prometheum, the

Receiver respectfully requests compensation for services rendered, along with reimbursement of

expenses, totaling $1,599.67 for the period of this Application. A copy of Prometheum’s invoice

is attached as Exhibit G.

               b.      Source of Funds for Requested Compensation and Expenses. The Receiver

        requests that the above compensation and expenses be paid from the Receiver’s operating

        account. The amount of cash on hand in the Receiver’s Account as of October 24, 2019

        was $603,294.25. The Receiver expects to close on three unencumbered properties in

        November 2019 and from those sales, presently anticipates approximately $1.9M will be

        transferred to the Receiver’s operating account.

               c.      Third Application for Payment of Professional Fees and Expenses. This is

        the Receiver’s third application.




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                d.      Summary of Activity. A “Summary of Activity,” providing the total hours

         billed and the amount of billing for each person who billed time during the Application

         period (January 1, 2019 through March 31, 2019) can be found at the end of the Receiver’s

         invoice (Exhibit D) and RDPK’s invoice (Exhibit E) and on the first page of

         BrookWeiner’s invoice (Exhibit F).

 V.      CONCLUSION

         WHEREFORE, the Receiver respectfully requests that the Court approve the Receiver’s

Third Interim Fee Application and enter an Order as follows:

                a.      finding the fees and expenses of the Receiver and Receiver’s retained

professionals, Rachlis Duff Peel & Kaplan LLC, BrookWeiner, LLC, and Prometheum as described

in Exhibits D-G respectively, to be reasonable and necessary to the Receivership;

                b.      approving the Receiver’s payment of such fees and expenses to the Receiver

and to Receiver’s retained professionals from the Receivership Estate as described and

recommended herein; and

                c.      granting the Receiver all other relief which this Court deems just and proper.


 Dated: November 1, 2019                               Kevin B. Duff, Receiver


                                               By:     /s/     Michael Rachlis

                                                       Michael Rachlis
                                                       Nicole Mirjanich
                                                       Rachlis Duff & Peel, LLC
                                                       542 South Dearborn Street, Suite 900
                                                       Chicago, IL 60605
                                                       Phone (312) 733-3950; Fax (312) 733-3952
                                                       mrachlis@rdaplaw.net
                                                       nm@rdaplaw.net




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                               RECEIVER’S CERTIFICATION

         1.     Pursuant to the Billing Instructions, the Receiver certifies as follows regarding the

Receiver’s Third Interim Application and Motion for Court Approval of Payment of Fees and

Expenses of Receiver and Receiver’s Retained Professionals:

         a.     The Receiver has read the foregoing Application and Motion.

         b.      To the best of the Receiver’s knowledge, information and belief formed after
 reasonable inquiry, the Application and Motion and all fees and expenses therein are true and
 accurate and comply with the Billing Instructions (with any exceptions specifically noted in this
 Certification, Application, and Motion);

       c.     All fees contained in the Application and Motion are based on the rates listed in the
 Fee Schedule attached hereto as Exhibit A, and such fees are reasonable, necessary, and
 commensurate with the skill and experience required for the activity performed;

        d.      The Application and Motion does not include in the amount for which
 reimbursement is sought, the amortization of the cost of any investment, equipment, or capital
 outlay (except to the extent any such amortization is included within the permitted allowable
 amounts set forth herein);

         e.     In seeking reimbursement for a service which the Receiver or the Receiver’s
 Retained Professionals justifiably purchased or contracted for from a third party (such as copying,
 imaging, bulk mail, messenger service, overnight courier, computerized research, or title and lien
 searches), reimbursement is requested only for the amount billed to the Receiver or Receiver’s
 Retained Professionals by the third-party vendor and paid by the Receiver or Receiver’s Retained
 Professionals to such vendor. If such services were performed by the Receiver or Receiver’s
 Retained Professionals, the Receiver certifies that no profit has been made on such reimbursable
 service.

         2.     On October 25, 2019, the Receiver provided to Mr. Benjamin Hanauer, of the SEC,

 a complete draft copy of this Application and Motion, together with all exhibits and relevant billing

 statements in a format specified by the SEC.

                                                       /s/ Kevin B. Duff
                                                Kevin B. Duff, Receiver
                                                EquityBuild, Inc., et al.
                                                c/o Rachlis Duff & Peel, LLC
                                                542 S. Dearborn Street, Suite 900
                                                Chicago, IL 60605
                                                (312) 733-3390 - kduff@rdaplaw.net



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                          EXHIBIT A
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Rachlis Duff Peel & Kaplan Rates

      Professional/        Position                  2019           2018
      Paraprofessional                               Standard       Discounted
                                                     Hourly Rates   Hourly Rates
      Michael Rachlis      RDPK Member               $550           $390
      Drew G.A. Peel       RDPK Member               $550           $390
      Ellen Duff           RDPK Of Counsel           $550           $390
      Andrew E. Porter     RDPK Of Counsel           $550           $390
      Nicole Mirjanich     RDPK Associate Attorney   $365           $260
      Kathleen Pritchard   RDPK Paralegal            $185           $140
      Ania Watychowicz     RDPK Paralegal            $185           $140
      Justyna Rak          RDPK Paralegal            $185           $140
      Stoja Zjalic         RDPK Legal Assistant      $140           $110
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BrookWeiner Billing Rates
                              20% discount from
                              current standard rates
Staff Accountant                           $110/hour
Manager                                    $210/hour
Partner                                    $275/hour
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Prometheum’s Hourly Rate

     Position                        Hourly Rate
     Senior Technical Consultant     $110
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                          EXHIBIT B
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                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                   Receivership; Civil Court Docket No. 18-cv-05587
                                      Reporting Period 1/1/2019 to 3/31/2019

Fund Accounting (See Instructions):
                                                                           Detail          Subtotal       Grand Total
Line 1        Beginning Balance (As of 1/1/2019):                         $307,345.37                       $307,345.37
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                        $416.75
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties                                  $191,559.96
Line 8        Miscellaneous - Other
                Total Funds Available (Line 1-8):                                                          $499,322.08
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals
   Line 10b Business Asset Expenses¹                                      ($266,570.62)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third-Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third-Party Litigation Expenses                                              $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                             ($266,570.62)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                   $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                Receivership; Civil Court Docket No. 18-cv-05587
                                   Reporting Period 1/1/2019 to 3/31/2019

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund        $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1-9):                                                  ($144,679.61)
Line 13         Ending Balance (As of 3/31/2019):                                                 $232,751.46
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a    Cash & Cash Equivalents                                                            $232,751.46
   Line 14b    Investments (unliquidated Huber/Hubadex investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund - Net Assets                                          $232,751.46

               ¹ Employment taxes ($3,316.27); corporate tax
               ($141.81); insurance ($98,537.30); payroll service
               ($177.00); property taxes ($41,194.93); property repairs
               ($28,730.00); property utilities ($1,743.43); property
               management expenses ($92,729.88).
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    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                   Receivership; Civil Court Docket No. 18-cv-05587
                      Reporting Period 1/1/2019 to 3/31/2019

                                        Receiver:
                                                                      /s/ Kevin B. Duff
                                                        (Signature)

                                                    Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                        (Printed Name)

                                            Date:                     April 24, 2019
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                          EXHIBIT C
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                                                     Master Asset List


                                        Receiver’s Account (as of 3/31/2019)
Institution                                Account Information               Amount
AXOS Fiduciary Services                    Checking                                                               $232,751.46

                                       Receivership Defendants’ Accounts
Institution          Account Information                           Current Value¹ Amount Transferred
                                                                                  to Receiver’s
                                                                                  Account
Wells Fargo          Checking (53 accounts in the names of the        $16,321.68³          $105,870.94⁴
                     affiliates and affiliate entities included as
                     Receivership Defendants)²
Wells Fargo          Checking (account in the names of Shaun                                $23,065.43⁵
                     Cohen and spouse)
Byline Bank          Checking (2 accounts in names of                  $21,828.73
                     Receivership Defendants)
                                                                                                                        Total:
                                                                                                                  $128,936.37

                                EquityBuild Real Estate Portfolio (in Illinois)
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107.

                                    Other, Non-Illinois Real Estate
Description                                             Appraised Market Value
Single family home in Naples, Florida                                                                        ±$1,400,000.00⁶

                                                                         Approximate mortgage amount: $500,000.00
                                                                        Approximate value less mortgage: $900,000.00

Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00

Plot of land in Houston, Texas                                                                              To be determined


     ¹ The Current Value reflects the approximate balance in the frozen bank accounts.
     ² The Receiver is investigating whether each of these accounts is properly included within the Receivership Estate.
     ³ $16,321.68 reflects the value as of 2/26/19, the date of the last update provided by Wells Fargo, despite the
     Receiver’s continued efforts to gather further information on the frozen accounts.
     ⁴ This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ⁵ This amount was transferred to the Receiver’s account as of 11/8/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ⁶ Source: www.zillow.com
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                          EXHIBIT D
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                        Rachlis Duff Peel & Kaplan, LLC
                                         542 South Dearborn Street
                                                                                         tel (312) 733-3950
                                                 Suite 900                                fax (312) 733-3952
                                           Chicago, Illinois 60605




October 22, 2019

Kevin B. Duff, Receiver
c/o Rachlis Duff Peel & Kaplan LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605



Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                      Fed. I.D. No. XX-XXXXXXX
    Cohen, and Shaun D. Cohen                                                         Invoice No.6621101
    No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



Legal Fees for the period January 2019                                   $29,367.00

Expenses Disbursed                                                           $0.00


Due this Invoice                                                         $29,367.00

Previous Balance                                                             $0.00

Less payments and adjustments                                                $0.00



TOTAL DUE                                                                $29,367.00
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    Kevin B. Duff, Receiver                                                                                Page 2




        Date        Indiv Hours Description

Asset Analysis & Recovery

        1/3/2019    KBD       0.60 Study documents from realty firm (.2); evaluate correspondence from
                                   defendant regarding offer to resolve dispute relating to property (.1); study
                                   update portfolio information from A. Porter (.3).

                                   Asset Analysis & Recovery

        1/5/2019    KBD       0.40 Study updated portfolio summary from asset manager.

                                   Asset Analysis & Recovery

        1/7/2019    KBD       0.20 Review correspondence from defendant regarding payments relating to
                                   Plano property (.1); draft correspondence to former employee regarding
                                   return of records (.1).

                                   Asset Analysis & Recovery

        1/8/2019    KBD       0.40 Investigation regarding information from investor.


                                   Asset Analysis & Recovery

        1/9/2019    KBD       0.20 Exchange correspondence with Texas counsel regarding real estate (.1);
                                   exchange correspondence with broker regarding same (.1).

                                   Asset Analysis & Recovery

        1/10/2019 KBD         0.30 Exchange correspondence with real estate brokers regarding Texas property
                                   and related records.

                                   Asset Analysis & Recovery

        1/11/2019 KBD         1.00 Exchange correspondence with former employee regarding return of records
                                   (.2); draft correspondence to accounting firm representative regarding
                                   request for records and related accounting information (.6); study
                                   correspondence from bank representative regarding EquityBuild accounts
                                   and office conference with K. Pritchard regarding same (.2).


                                   Asset Analysis & Recovery

        1/15/2019 KBD         0.10 Study spreadsheet regarding bank records.

                                   Asset Analysis & Recovery

        1/17/2019 KBD         0.10 Exchange correspondence with former employee regarding return of records.


                                   Asset Analysis & Recovery
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Kevin B. Duff, Receiver                                                                               Page 3



    Date      Indiv Hours Description

    1/18/2019 KBD         0.10 Study correspondence regarding former independent contractor.

                               Asset Analysis & Recovery

    1/20/2019 KBD         0.10 Review correspondence from former employee regarding EquityBuild records.

                               Asset Analysis & Recovery

    1/22/2019 KBD         0.30 Exchange correspondence with N. Mirjanich regarding communication with
                               defendant regarding preservation of receivership asset (.1); study voice
                               message from former employee regarding defendants' activities and
                               exchange correspondence with N. Mirjanich regarding same (.1); study
                               correspondence from A. Porter and E. Duff regarding subpoena to title
                               company (.1).

                               Asset Analysis & Recovery

    1/23/2019 KBD         0.70 Review correspondence from former employee regarding recovery of
                               EquityBuild records (.1); study correspondence from defendant and
                               exchange correspondence with N. Mirjanich regarding potential settlement
                               discussion (.5); study correspondence from A. Porter and N. Mirjanich
                               regarding receivership status of former property (.1).

                               Asset Analysis & Recovery

    1/25/2019 KBD         0.50 Office conference with A. Porter regarding communications with former
                               counsel (.4); review correspondence from defendant regarding asset
                               dispute and exchange correspondence with N. Mirjanich regarding same
                               (.1).

                               Asset Analysis & Recovery

    1/26/2019 KBD         0.10 Study correspondence from M. Rachlis regarding analysis of asset dispute.

                               Asset Analysis & Recovery

    1/27/2019 KBD         0.10 Exchange correspondence with M. Rachlis regarding potential claims.

                               Asset Analysis & Recovery

    1/28/2019 KBD         0.40 Study correspondence from A. Porter regarding potential claims (.1); office
                               conference and exchange correspondence with M. Rachlis regarding same
                               (.2); exchange correspondence with former employee regarding recovery
                               of business records and delivery charge (.1).

                               Asset Analysis & Recovery

    1/29/2019 KBD         0.60 Telephone conference with SEC (.2); telephone conference with bank
                               representative regarding account activity issue (.2); draft correspondence to
                               bank representative regarding ACH transaction (.2).
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    Kevin B. Duff, Receiver                                                                                  Page 4



         Date       Indiv Hours Description


                                   Asset Analysis & Recovery

         1/30/2019 KBD        0.20 Exchange correspondence with bank representatives regarding follow up on
                                   account activity.

                                   Asset Analysis & Recovery

         1/31/2019 KBD        0.60 Draft correspondence to former broker regarding information relating to listed
                                   property (.1); study valuation analysis of properties and correspondence from
                                   real estate broker regarding same (.3); study draft motion adding
                                   receivership entities (.2).

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                     [ 7.00           2730.00]

Asset Disposition

         1/2/2019    KBD      0.20 Study contract for sale of property (5001 S Drexel) and review
                                   correspondence from A. Porter regarding same.

                                   Asset Disposition

         1/3/2019    KBD      2.70 Study correspondence from real estate broker regarding property valuation
                                   and recommendation for future listings (.2); telephone conference with real
                                   estate firm representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding
                                   portfolio analysis, properties to list for sale, and various related issues (2.2);
                                   exchange correspondence with A. Porter regarding contract for property sale
                                   (5001 Drexel) (.1); exchange correspondence with potential purchaser
                                   regarding broker contact information (.1); exchange correspondence with M.
                                   Rachlis regarding communication with potential purchaser's counsel (.1).

                                   Asset Disposition

         1/4/2019    KBD      0.10 Draft correspondence to A. Porter regarding property sales and tax appeals.

                                   Asset Disposition

         1/5/2019    KBD      0.20 Exchange correspondence with A. Porter and real estate broker regarding
                                   purchase and sale agreement (7547 Essex).

                                   Asset Disposition

         1/6/2019    KBD      0.10 Study correspondence from A. Porter regarding encumbrances and property
                                   under contract (8100 Essex).

                                   Asset Disposition

         1/7/2019    KBD      0.50 Exchange correspondence with A. Porter regarding property sales and
                                   encumbrance issues (.2); study portfolio summary and draft correspondence
                                   to E. Duff regarding second tranche of property sales (.2); draft
                                   correspondence to N. Mirjanich regarding broker's commission (.1).
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Kevin B. Duff, Receiver                                                                               Page 5



    Date       Indiv Hours Description


                               Asset Disposition

    1/8/2019    KBD       0.10 Review correspondence from N. Mirjanich regarding efforts to vacate property
                               (6160 MLK) and address boiler issue.

                               Asset Disposition

    1/9/2019    KBD       0.30 Work on motions to approve sale of properties with N. Mirjanich (.2); study
                               correspondence from A. Porter regarding motion to approve sales (.1).

                               Asset Disposition

    1/10/2019 KBD         0.30 Study correspondence from A. Porter regarding proposed order approving
                               sale of properties (.1); draft correspondence to A. Porter and N. Mirjanich
                               regarding timing for motion to approve property sales (.2).

                               Asset Disposition

    1/15/2019 KBD         0.50 Discuss review of EquityBuild records to identify people for whom to provide
                               notice of motion to approve sale of real estate with K. Pritchard (.1);
                               telephone conference with broker and N. Mirjanich regarding timing and
                               priority for property sales (.2); review closing checklist (.2).

                               Asset Disposition

    1/20/2019 KBD         0.10 Exchange correspondence with A. Porter regarding listing agreement for
                               single family home portfolio.

                               Asset Disposition

    1/21/2019 KBD         0.10 Study correspondence from asset manager representative regarding
                               property repair and priority of sale (7110 Cornell).

                               Asset Disposition

    1/23/2019 KBD         0.10 Study correspondence from asset manager regarding building violation,
                               repair costs, and disposition timing and strategy (7110 Cornell).

                               Asset Disposition

    1/24/2019 KBD         2.90 Analysis and planning with M. Rachlis, N. Mirjanich, and E. Duff regarding
                               process for approval and use of real estate sales proceeds, potential
                               distribution issues (2.8); study correspondence from N. Mirjanich regarding
                               same (.1).

                               Asset Disposition

    1/25/2019 KBD         0.70 Telephone conference with real estate broker regarding status of work for
                               sale approval (.1); telephone conference with real estate broker and A.
                               Porter regarding communications with title company, single family home (.2);
                               analysis of motion to approve sale of properties with N. Mirjanich (.1); study
                               draft motion for approval of second group of properties and bid procedures
                               (.3).
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    Kevin B. Duff, Receiver                                                                               Page 6



        Date       Indiv Hours Description


                                   Asset Disposition

        1/28/2019 KBD         0.20 Exchange correspondence with A. Porter regarding transfer tax issue
                                   (7927-49 S. Essex) (.1); study correspondence from N. Mirjanich regarding
                                   broker commissions (.1).

                                   Asset Disposition

        1/30/2019 KBD         0.90 Study motion to approve sale of second group of properties, notice for
                                   publication, and sealed bid instructions.

                                   Asset Disposition


SUBTOTAL:                                                                                   [ 10.00         3900.00]

Business Operations

        1/2/2019      KBD     4.70 Review water bill issue and office conference with and review
                                   correspondence from N. Mirjanich regarding same (.2); prepare for team
                                   meeting (.5); work and plan with M. Rachlis, E. Duff, A. Porter, and N.
                                   Mirjanich regarding claims process, motion to approve sale of properties,
                                   disputes with defendants, and potential resolution of disputes with respect to
                                   former EquityBuild properties (4.0).

                                   Business Operations

        1/4/2019      KBD     1.20 Attention to former EB properties and communications with counsel for city
                                   regarding pending court actions relating to same with N. Mirjanich (.3); study
                                   correspondence from N. Mirjanich regarding administrative court hearing and
                                   property inspections (.1); study correspondence from N. Mirjanich regarding
                                   heat outage (8100 Essex) and communication with property manager (.2);
                                   analysis of various property repairs and expense planning (.4); exchange
                                   correspondence with N. Mirjanich and asset manager regarding sewer line
                                   repair and office conference with N. Mirjanich regarding same (5957
                                   Marquette) (.2).

                                   Business Operations

        1/7/2019      KBD     0.50 Evaluate lender reserve issue (.2); study correspondence from property
                                   manager regarding shoring, concrete, guardrail, and tuck-pointing work (7760
                                   Coles and 2450 78th) (.1); draft correspondence to and conference with E.
                                   Duff regarding reserve funds (.1); draft correspondence to N. Mirjanich
                                   regarding comparison of bids for porch replacement (7760 Coles) (.1).

                                   Business Operations

        1/8/2019      KBD     0.50 Exchange correspondence with N. Mirjanich regarding property notice
                                   regarding boiler issue (.1); exchange correspondence with N. Mirjanich
                                   regarding porch replacement (7760 Coles) (.1); study correspondence from
                                   A. Watychowicz regarding utility lease research (8100 Essex) (.1); study
                                   correspondence from N. Mirjanich and property manager regarding various
                                   housing court matters (.1); review correspondence from N. Mirjanich
                                   regarding access to property (8100 Essex) relating to state court
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Kevin B. Duff, Receiver                                                                                 Page 7



    Date       Indiv Hours Description

                               action (.1).

                               Business Operations

    1/9/2019    KBD       1.20 Review correspondence from property manager regarding water bills (.1);
                               study correspondence from and office conference with N. Mirjanich
                               regarding various housing court actions, permit issues, and repairs (.1);
                               additional conference with N. Mirjanich regarding housing court issues,
                               property repairs, boiler issue, tenant issue, and potential inspection of
                               property for sale (8100 Essex) (.1); telephone conference with A. Porter and
                               N. Mirjanich regarding tax appeal proration, property surveys, title reports,
                               claims process, and potential distribution issues (.9).

                               Business Operations

    1/10/2019 KBD         1.90 Office conferences with N. Mirjanich regarding preparation for housing court
                               and results of hearing (.5); study property management report (.2); office
                               conference with E. Duff regarding lender escrow accounts and properties for
                               sale (.3); office conference with M. Rachlis and A. Porter regarding potential
                               claims analysis issues and distribution planning (.4); study correspondence
                               from asset manager regarding inspection for roof lease equipment (8100
                               Essex) (.1); study property manager financial reporting (.4).

                               Business Operations

    1/11/2019 KBD         0.80 Attention to efforts to obtain bank records and transfer of funds (.2); study
                               property manager financial reporting and draft correspondence to property
                               manager regarding same (.3); review correspondence from property
                               manager and A. Porter regarding payment of water bills (.1); study housing
                               court summary (.2).

                               Business Operations

    1/14/2019 KBD         0.30 Evaluate notice of housing code violation and communications regarding
                               same (.1); study correspondence from N. Mirjanich regarding housing court
                               update regarding various properties (.2).

                               Business Operations

    1/15/2019 KBD         1.50 Office conference with and study correspondence from N. Mirjanich regarding
                               (7110 Cornell) properties with violation issues (.2); study correspondence
                               from property manager regarding same (.1); exchange correspondence with
                               N. Mirjanich regarding same (.1); study property manager financial reporting
                               (.5); exchange correspondence and office conference with K. Pritchard and
                               telephone conference with bank representative regarding payment of
                               property insurance (.2); study correspondence from property manager
                               regarding unpaid real estate taxes (.1); study correspondence from city
                               official regarding request for meeting (.1); study financial reporting from other
                               property manager (.3).

                               Business Operations
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Kevin B. Duff, Receiver                                                                               Page 8



    Date      Indiv Hours Description

    1/16/2019 KBD         0.50 Exchange correspondence with N. Mirjanich regarding housing court notice,
                               heat issue, and scaffolding (.3); study correspondence from counsel for
                               housing fund regarding disengagement of subsidy and office conference with
                               N. Mirjanich regarding same (.2).

                               Business Operations

    1/17/2019 KBD         0.70 Attention to wire transfer and telephone conference with banking
                               representative regarding same (.3); exchange correspondence with M.
                               Rachlis and E. Duff regarding lender request for rent records (.2); exchange
                               correspondence with property manager regarding tax payment (.2).

                               Business Operations

    1/18/2019 KBD         0.60 Exchange correspondence with property manager and asset manager
                               regarding fire system repair and electrical repair (7760 Coles) (.3); review
                               correspondence from insurance broker regarding amended to policies (.1);
                               exchange correspondence with N. Mirjanich regarding court appearances
                               for property issues (701 S 5th) (.1); review correspondence from N.
                               Mirjanich regarding registered agent (.1).

                               Business Operations

    1/19/2019 KBD         0.20 Exchange correspondence with M. Rachlis regarding insurance claim
                               deductible payment (.1); exchange correspondence with property manager
                               regarding efficient communication (.1).

                               Business Operations

    1/20/2019 KBD         0.10 Study correspondence from property manager regarding repair cost
                               estimates (2909 68th).

                               Business Operations

    1/21/2019 KBD         0.10 Study correspondence from N. Mirjanich and property manager
                               regarding sanitation services issues.

                               Business Operations

    1/22/2019 KBD         1.90 Confer with and draft correspondence to N. Mirjanich regarding numerous
                               property repair issues and planning (.8); study various correspondence from
                               property managers and asset management firm representative regarding
                               same (.5); exchange correspondence with M. Rachlis regarding same (.1);
                               study operating reports and exchange correspondence with asset manager
                               regarding same (.5).

                               Business Operations

    1/24/2019 KBD         0.50 Prepare for meeting with lenders' counsel (.3); study correspondence from
                               and conference with N. Mirjanich regarding meeting with City officials
                               regarding scofflaw list (.2).

                               Business Operations
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    Kevin B. Duff, Receiver                                                                               Page 9



        Date        Indiv Hours Description

        1/25/2019 KBD         0.60 Exchange correspondence with and N. Mirjanich property manager regarding
                                   various property repair and compliance issues (.2); review correspondence
                                   from N. Mirjanich regarding meeting with city officials regarding portfolio
                                   compliance and disposition issues (.1); review correspondence with
                                   insurance broker regarding discrepancy issue (.1); study information
                                   regarding water bills and code violations for various properties (.2).

                                   Business Operations

        1/28/2019 KBD 0.50         Exchange correspondence with property manager regarding lease
                                   amendment (.2); study correspondence from asset manager regarding
                                   income and expense information for various properties (.3).

                                   Business Operations

        1/29/2019 KBD         1.50 Prepare for hearing before Judge Kim (.5); study correspondence from E.
                                   Duff regarding roof lease issue (6250 Mozart) and draft correspondence to M.
                                   Rachlis regarding same (.1); telephone conference with and exchange
                                   correspondence with asset manager regarding same (.2); study insurance
                                   schedule by property and exchange correspondence with insurance broker
                                   regarding same (.2); review correspondence from M. Rachlis regarding real
                                   estate taxes for group of properties (.1); study correspondence from N.
                                   Mirjanich regarding liquidation plan and contiguous properties (.1); study
                                   SEC response to lender rent motion (.2); exchange correspondence with N.
                                   Mirjanich regarding property repair issue (7110 Cornell) (.1).

                                   Business Operations

        1/30/2019 KBD         0.40 Exchange correspondence with N. Mirjanich regarding property repair and
                                   safety improvement issues and violation payment issue (.2); study
                                   correspondence from E. Duff regarding insurance coverage issue and proof
                                   of insurance (.1); study correspondence from city official regarding property
                                   repair planning, complaints, and compliance (7110 Cornell and 7933 Essex)
                                   (.1).

                                   Business Operations

        1/31/2019 KBD         2.30 Prepare for and attend hearing before Judge Kim (1.5); exchange
                                   correspondence with M. Rachlis regarding same (.1); study correspondence
                                   from N. Mirjanich and M. Rachlis regarding code violations (.2); study
                                   correspondence from insurance broker regarding insurance premiums (.1);
                                   study correspondence from E. Duff regarding property appraisals (.1);
                                   telephone conference with A. Porter, M. Rachlis, and E. Duff regarding
                                   hearing before Judge Kim and preparation for meeting with lenders' counsel
                                   (.3).

                                   Business Operations


SUBTOTAL:                                                                                  [ 22.50         8775.00]

Case Administration

         1/1/2019     KBD     0.10 Draft correspondence to N. Mirjanich regarding agenda items for team
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    Kevin B. Duff, Receiver                                                                                 Page 10



         Date       Indiv     Hours Description

                                    meeting.

                                    Case Administration

         1/7/2019   KBD        0.20 Exchange correspondence regarding planning for meeting with accounting
                                    firm representative.

                                    Case Administration

         1/11/2019 KBD         0.10 Study accounting firm invoice and draft correspondence to accounting firm
                                    representative regarding same.

                                    Case Administration

         1/14/2019 KBD         0.10 Review accounting firm invoice.

                                    Case Administration

         1/28/2019 KBD         0.10 Review accounting firm statement for services.

                                    Case Administration

         1/30/2019 KBD         0.10 Review accounting firm billing statement.

                                    Case Administration


SUBTOTAL:                                                                                    [ 0.70            273.00]

Claims Administration & Objections

         1/3/2019   KBD        0.30 Analysis regarding claims form (.2); review correspondence from N.
                                    Mirjanich, A. Porter, and E. Duff regarding same (.1).

                                    Claims Administration & Objections

         1/4/2019   KBD        0.70 Further review of draft claim form (.3); plan with N. Mirjanich regarding claims
                                    process schedule (.4).

                                    Claims Administration & Objections

         1/5/2019   KBD        1.00 Exchange correspondence with E. Duff regarding communications with lender
                                    regarding reserve issue (.1); study correspondence from N. Mirjanich
                                    regarding revised claim form and analysis of form (.9).

                                    Claims Administration & Objections

         1/7/2019   KBD        0.20 Study revisions to claims form.

                                    Claims Administration & Objections

         1/8/2019   KBD        0.10 Study correspondence from A. Watychowicz regarding pleadings from action
                                    brought by claimant.
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Kevin B. Duff, Receiver                                                                                Page 11



    Date       Indiv Hours Description


                               Claims Administration & Objections

    1/9/2019    KBD       1.10 Conference with accounting firm representative regarding forensic
                               accounting, claims planning and analysis, distribution, and tax work.

                               Claims Administration & Objections

    1/11/2019 KBD         1.50 Study and revise claim form.

                               Claims Administration & Objections

    1/13/2019 KBD         0.20 Exchange correspondence with M. Rachlis regarding communication with
                               lender's counsel (.1); exchange correspondence with A. Porter regarding
                               claims form (.1).

                               Claims Administration & Objections

    1/14/2019 KBD         6.30 Work with M. Rachlis, A. Porter, E. Duff and N. Mirjanich regarding claims
                               form (5.9); study correspondence from E. Duff regarding changes to claims
                               form analysis, revisions, and process (.2); study updated claims form from A.
                               Porter (.2).

                               Claims Administration & Objections

    1/15/2019 KBD         0.20 Discuss claim relating to equity investors with N. Mirjanich.

                               Claims Administration & Objections

    1/16/2019 KBD         0.40 Study revised claims form (.2); exchange correspondence with E. Duff
                               regarding communication with lender's counsel as to property access and
                               inspections and rent reporting (.2).

                               Claims Administration & Objections

    1/17/2019 KBD         0.40 Study correspondence from property manager and exchange
                               correspondence with E. Duff regarding lender request for profit and loss
                               information (.1); review correspondence from lender and counsel regarding
                               property inspections and exchange correspondence with M. Rachlis and E.
                               Duff regarding same (.2); study correspondence from property manager to
                               various lenders regarding financial reporting (.1).

                               Claims Administration & Objections

    1/18/2019 KBD         0.20 Study correspondence from investor regarding stayed lawsuit and exchange
                               correspondence with N. Mirjanich regarding same (.1); exchange
                               correspondence with E. Duff regarding property manager reporting to lenders
                               (.1).

                               Claims Administration & Objections
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Kevin B. Duff, Receiver                                                                               Page 12



    Date      Indiv Hours Description

    1/21/2019 KBD         0.10 Review correspondence from and office conference with K. Pritchard
                               regarding deductible claim by insurer.

                               Claims Administration & Objections

    1/22/2019 KBD         0.60 Review correspondence regarding property inspection requests (.2);
                               exchange correspondence with counsel for investor regarding investor
                               contribution and timing issue and review record regarding same (.1); study
                               revised claims form (.3).

                               Claims Administration & Objections

    1/23/2019 KBD         0.30 Study correspondence from lender and property manager regarding various
                               repair, lease, and unit turn issues (.1); study correspondence from property
                               manager regarding canopy installation (2909 E 78th) (.1); study
                               correspondence from and conference with N. Mirjanich regarding
                               communication with lender's counsel regarding code violation work (.1).

                               Claims Administration & Objections

    1/24/2019 KBD         0.10 Review correspondence from E. Duff regarding property appraisals and
                               communication with lender's counsel regarding same.

                               Claims Administration & Objections

    1/26/2019 KBD         0.10 Exchange correspondence with M. Rachlis regarding meeting with counsel
                               for institutional lenders.

                               Claims Administration & Objections

    1/28/2019 KBD         0.20 Office conference with N. Mirjanich regarding various issues relating to claims
                               form.

                               Claims Administration & Objections

    1/29/2019 KBD         0.70 Study correspondence from E. Duff regarding issues raised by lenders'
                               counsel and preparation for meeting regarding same (.4); study lender brief
                               reply relating to rents issue (.3).

                               Claims Administration & Objections

    1/30/2019 KBD         4.30 Study and revise claims form (1.4); telephone conference with M. Rachlis, N.
                               Mirjanich, E. Duff and A. Porter regarding claims form and process (1.1);
                               study brief and exhibits regarding rent motion (.6); study correspondence
                               from E. Duff regarding loans on various properties (.1); exchange
                               correspondence with E. Duff regarding communication with lender
                               regarding sale process (.1); exchange correspondence with E. Duff and M.
                               Rachlis regarding correspondence with lenders' counsel regarding
                               inspection and appraisals (.3); exchange correspondence with N. Mirjanich
                               and M. Rachlis regarding property repair issues (7110 Cornell and 6751
                               Merrill) and communications with lender's counsel regarding same (.1);
                               study correspondence from M. Rachlis regarding property valuation and
                               exchange correspondence with real estate broker regarding same (.1); study
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        Date       Indiv Hours Description

                                   outline for oral argument before Judge Kim and draft correspondence to M.
                                   Rachlis regarding same (.5).

                                   Claims Administration & Objections

        1/31/2019 KBD         4.20 Study revised claims for and correspondence regarding same (1.4); study
                                   lender brief regarding rents and draft correspondence to M. Rachlis regarding
                                   same (2.1); study correspondence from N. Mirjanich regarding
                                   communication with lender's counsel regarding resolution of violation notices
                                   and compliance issues (.1); study correspondence from E. Duff regarding
                                   appraisals of properties (.1); study memorandum from M. Rachlis regarding
                                   lenders' questions and planning for meeting (.5).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                 [ 23.20          9048.00]

Employee Issues

        1/2/2019    KBD       0.10 Review correspondence from K. Pritchard regarding workers compensation
                                   insurance, wage reports, and state wage commission.

                                   Employee Issues

        1/3/2019    KBD       0.10 Review correspondence from accounting firm representative regarding wage
                                   verification notice.

                                   Employee Issues

        1/5/2019    KBD       0.10 Review correspondence from accounting firm representative regarding wage
                                   verification.

                                   Employee Issues

        1/6/2019    KBD       0.10 Exchange correspondence with K. Pritchard regarding W-2 issuance and
                                   payroll vendor.

                                   Employee Issues

        1/7/2019    KBD       0.10 Review correspondence from K. Pritchard regarding Form W-2s.

                                   Employee Issues

        1/30/2019 KBD         0.10 Exchange correspondence with former employee regarding Form W-2.

                                   Employee Issues


SUBTOTAL:                                                                                 [ 0.60            234.00]

Investor Communications

        1/3/2019    KBD       0.40 Telephone conference with investor regarding various questions as to
                                   receivership status, claims, process, and timing.
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    Date       Indiv Hours Description


                               Investor Communications

    1/6/2019    KBD       0.20 Exchange correspondence with investor regarding status reports and
                               claims process planning.

                               Investor Communications

    1/7/2019    KBD       0.70 Review voice message from investor and draft correspondence to A.
                               Watychowicz regarding same (.1); exchange correspondence with various
                               investors regarding claims process timing (.5); exchange correspondence
                               with A. Watychowicz regarding same (.1).

                               Investor Communications

    1/8/2019    KBD       0.30 Exchange correspondence with A. Watychowicz regarding investor
                               communications (.2); draft correspondence to investor regarding status
                               report and claims process (.1).

                               Investor Communications

    1/10/2019 KBD         0.30 Telephone conference with investor regarding property, claims process,
                               valuation, tax questions, and timing.

                               Investor Communications

    1/11/2019 KBD         0.20 Telephone conference with investor and account custodian (.1); draft
                               correspondence to A. Watychowicz regarding follow up with investor (.1).

                               Investor Communications

    1/15/2019 KBD         1.50 Review numerous voice and email communications (1.0); telephone
                               conference with investor regarding investment, investigation, claims
                               process, timing, and prospect of distribution (.5).

                               Investor Communications

    1/17/2019 KBD         0.10 Review investor correspondence regarding government investigation.

                               Investor Communications

    1/20/2019 KBD         0.10 Review correspondence from investor regarding property and invested
                               funds.

                               Investor Communications

    1/21/2019 KBD         0.10 Office conference with A. Watychowicz regarding email exchanges with
                               various investors.

                               Investor Communications
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    Kevin B. Duff, Receiver                                                                              Page 15



        Date        Indiv     Hours Description

        1/22/2019 KBD          0.10 Draft correspondence to A. Watychowicz regarding communication to
                                    investors regarding status and process.

                                    Investor Communications

        1/25/2019 KBD          0.10 Study correspondence from investor regarding defendant investment
                                    opportunity communication.

                                    Investor Communications

        1/28/2019 KBD          0.30 Review correspondence from A. Watychowicz regarding investor
                                    communication on tax inquiries (.1); study correspondence from investors
                                    regarding update and draft correspondence to A. Watychowicz regarding same
                                    (.2).

                                    Investor Communications

        1/29/2019 KBD          0.20 Exchange correspondence with A. Watychowicz regarding draft
                                    correspondence to investors for common questions.

                                    Investor Communications

        1/30/2019 KBD          0.20 Review investor voice message, email, and request for information (.1);
                                    exchange correspondence with investor regarding tax information and
                                    valuation request (.1).

                                    Investor Communications

        1/31/2019 KBD          0.10 Exchange correspondence with A. Porter and A. Watychowicz regarding
                                    communications with investor regarding Chicago properties.

                                    Investor Communications


SUBTOTAL:                                                                                  [ 4.90         1911.00]

Tax Issues

        1/3/2019    KBD        0.80 Study correspondence from accounting firm representative regarding
                                    information needed for tax returns (.2); telephone conference with accounting
                                    firm representative and K. Pritchard regarding preparation of 2016 and 2017
                                    tax returns and information for same and 2018 Form 1099s (.2); office
                                    conferences and exchange correspondence with K. Pritchard, A.
                                    Watychowicz, and N. Mirjanich regarding gathering information for accounting
                                    firm to use with tax return preparation (.3); study correspondence from A.
                                    Porter regarding tax identification information relating to LLCs (.1).

                                    Tax Issues

        1/4/2019    KBD        0.10 Draft correspondence to accounting firm representative regarding
                                    Form 1099 issuance.
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    Date       Indiv Hours Description


                               Tax Issues

    1/7/2019    KBD       0.10 Review correspondence from K. Pritchard regarding information for
                               accounting firm to prepare 2016 and 2017 tax returns.

                               Tax Issues

    1/9/2019    KBD       0.20 Study correspondence from K. Pritchard regarding tax form advice and
                               communication with accounting firm representative (.1); study
                               correspondence from K. Pritchard regarding information for accounting firm
                               for tax return preparation (.1).

                               Tax Issues

    1/10/2019 KBD         1.30 Exchange correspondence with K. Pritchard regarding investor and entity tax
                               identification informational related records (.2); telephone conference with tax
                               administrator and counsel, accounting firm representative and K. Pritchard
                               regarding receivership accounting practices and qualified settlement fund
                               (1.1).

                               Tax Issues

    1/11/2019 KBD         0.20 Study correspondence from accounting firm representative regarding
                               open items and information needed for tax return work.

                               Tax Issues

    1/15/2019 KBD         0.40 Exchange correspondence with accounting firm representatives regarding
                               planning for issuance of Form 1099s and W-2s (.2); study correspondence from
                               accounting firm representative regarding historical tax returns (.1); exchange
                               correspondence with independent contractor regarding assistance with
                               information for tax reporting (.1).

                               Tax Issues

    1/17/2019 KBD         0.10 Exchange correspondence with counsel for investor regarding tax
                               identification information.

                               Tax Issues

    1/18/2019 KBD         0.20 Review correspondence from former employee regarding investor records
                               (.1); study correspondence from K. Pritchard regarding information for
                               accounting firm to prepare tax returns (.1).

                               Tax Issues

    1/20/2019 KBD         0.10 Review correspondence from accounting firm representative regarding
                               tax reporting.

                               Tax Issues

    1/21/2019 KBD         0.90 Office conference with K. Pritchard regarding employment taxes and
                               preparation, communications with payroll vendor, and exchange of
                               information with accounting firms (.2); telephone conference with accounting
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Kevin B. Duff, Receiver                                                                                 Page 17



    Date      Indiv Hours Description

                               firm representative and K. Pritchard regarding employee, investor and
                               independent contractor tax reporting issues (.6); study payroll report (.1).

                               Tax Issues

    1/22/2019 KBD         0.80 Telephone conference with tax professionals and K. Pritchard regarding
                               historical returns, addendum for upcoming return, and IRS approach and
                               communications (.3); exchange correspondence with N. Mirjanich and M.
                               Rachlis regarding accounting firm tax preparation work for receivership entity
                               (.1); exchange correspondence with accounting firm representative regarding
                               same (.2); draft correspondence to other accounting firm representative
                               regarding same (.1); study correspondence from K. Pritchard and accounting
                               firm representative regarding payroll records and tax reporting (.1).

                               Tax Issues

    1/23/2019 KBD         0.30 Review correspondence from K. Pritchard regarding information relating to
                               properties for tax preparation (.1); study correspondence from accounting firm
                               representative regarding report filing for receivership entity (.1); study
                               correspondence from accounting firm representative regarding employee
                               wages and withheld taxes (.1).

                               Tax Issues

    1/24/2019 KBD         0.10 Study correspondence from K. Pritchard and accounting firm representative
                               regarding employee wage information and bank interest statement.

                               Tax Issues

    1/26/2019 KBD         0.20 Exchange correspondence with accounting firm representative and K.
                               Pritchard regarding payroll tax issue.

                               Tax Issues

    1/28/2019 KBD         0.10 Study tax reporting information and correspondence from K. Pritchard with
                               tax administrator regarding same.

                               Tax Issues

    1/29/2019 KBD         0.10 Exchange correspondence with accounting firm representative regarding
                               Form 1099 issue and communications with investors.

                               Tax Issues

                KBD       0.10 Study correspondence from K. Pritchard and accounting firm representative
                               regarding status of tax return work.

                               Tax Issues
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         Date     Indiv Hours Description

         1/30/2019 KBD        0.10 Draft correspondence to accounting firm representative regarding
                                   Form 1099s.

                                   Tax Issues

         1/31/2019 KBD        0.20 Exchange correspondence with K. Pritchard and accounting firm
                                   representative regarding W-2 distribution.

                                   Tax Issues


SUBTOTAL:                                                                                 [ 6.40        2496.00]




                                                                                           75.30      $29,367.00



                                                Summary of Activity
                                                                                  Hours       Rate
Kevin B. Duff                                                                     75.30     390.00    $29,367.00
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    Kevin B. Duff, Receiver                                                     Page 19




                                      SUMMARY


                  Legal Services                                 $29,367.00
                  Other Charges                                       $0.00

                     TOTAL DUE                                   $29,367.00




Balance due                                                                    $29,367.00
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                        Rachlis Duff Peel & Kaplan, LLC
                                     542 South Dearborn Street
                                                                                         tel (312) 733-3950
                                             Suite 900                                   fax (312) 733-3952
                                       Chicago, Illinois 60605




October 23, 2019

Kevin B. Duff, Receiver
c/o Rachlis Duff Peel & Kaplan LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605



Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                      Fed. I.D. No. XX-XXXXXXX
    Cohen, and Shaun D. Cohen                                                         Invoice No.6621101
    No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


Legal Fees for the period February 2019                                  $41,301.00

Expenses Disbursed                                                           $0.00


Due this Invoice                                                         $41,301.00

Previous Balance                                                              $0.00

Less payments and adjustments                                                 $0.00



TOTAL DUE                                                                $41,301.00
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    Kevin B. Duff, Receiver                                                                               Page 2




        Date        Indiv Hours Description

Asset Analysis & Recovery

        2/1/2019    KBD       0.80 Office conference with M. Rachlis, A. Porter, and N. Mirjanich regarding
                                   potential claims (.4); study motion to amend and clarify order appointing
                                   receiver (.4).

                                   Asset Analysis & Recovery

        2/2/2019    KBD       0.20 Study correspondence from M. Rachlis and A. Porter regarding potential
                                   claims (.1); exchange correspondence with A. Porter regarding efforts for
                                   potential resolution of dispute over former properties (.1).

                                   Asset Analysis & Recovery

        2/4/2019    KBD       0.20 Revise proposal to defendant for recovery of Florida property.

                                   Asset Analysis & Recovery

        2/7/2019    KBD       0.20 Study correspondence from N. Mirjanich regarding records from former
                                   counsel (.1); exchange correspondence with A. Porter regarding efforts to
                                   resolve dispute relating to former property (.1).

                                   Asset Analysis & Recovery

        2/8/2019    KBD       0.10 Exchange correspondence with N. Mirjanich and K. Pritchard regarding
                                   communication with bank representative regarding frozen account.

                                   Asset Analysis & Recovery

        2/9/2019    KBD       0.50 Study correspondence from M. Rachlis regarding analysis of defendant's
                                   assets and potential motion (.2); exchange correspondence with M.
                                   Rachlis regarding potential claims (.3).

                                   Asset Analysis & Recovery

        2/10/2019 KBD         1.30 Draft agreement with defendants regarding resolution of dispute as to Florida
                                   property and bank account (1.0); draft correspondence to N. Mirjanich
                                   regarding recovery of tax returns (.1); draft correspondence to N. Mirjanich
                                   regarding defendants’ financial disclosures (.1); review information
                                   regarding Florida property and draft correspondence to N. Mirjanich and M.
                                   Rachlis regarding same (.1).

                                   Asset Analysis & Recovery

        2/11/2019 KBD         2.50 Revise draft agreement with defendants regarding resolution of dispute as to
                                   receivership assets and exchange correspondence with M. Rachlis and N.
                                   Mirjanich regarding same (1.4); office conference with N. Mirjanich
                                   regarding correspondence to defendant regarding potential resolution of
                                   dispute as to receivership assets (.2); study and revise draft motion to
                                   amend and clarify order appointing receiver and exchange correspondence
                                   with N. Mirjanich regarding same (.4); office conference with A.
                                   Watychowicz regarding recovery of electronic records (.1);
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Kevin B. Duff, Receiver                                                                                 Page 3



    Date      Indiv Hours Description

                               study analysis of real estate assets and exchange correspondence with N.
                               Mirjanich regarding same (.3); draft correspondence to former independent
                               contractor regarding data preservation (.1).

                               Asset Analysis & Recovery

    2/12/2019 KBD         0.80 Study and revise motion to clarify appointing order (.3); telephone conference
                               with former EB employee relating to investigation (.2); exchange
                               correspondence with IT consultant regarding preservation of electronic
                               records (.1); study communication from bank representative regarding
                               account status (.1); draft correspondence to A. Watychowicz regarding
                               recovery of records and devices (.1).

                               Asset Analysis & Recovery

    2/13/2019 KBD         0.30 Telephone conference and exchange correspondence with IT consultant
                               regarding electronic data preservation (.2); exchange correspondence with
                               N. Mirjanich regarding Naples property (.1).

                               Asset Analysis & Recovery

    2/15/2019 KBD         0.10 Exchange correspondence with IT representative regarding issues relating
                               to preservation of data.

                               Asset Analysis & Recovery

    2/17/2019 KBD         0.20 Review correspondence from A. Porter regarding reconveyance escrow (400
                               S. Kilbourn) (.1); review correspondence from A. Porter regarding effort to
                               resolve proceeds issue regarding property (7616 Philips) (.1).

                               Asset Analysis & Recovery

    2/18/2019 KBD         1.30 Office conference with A. Porter and study correspondence regarding
                               resolution of disputes relating to former EquityBuild properties (6801
                               South East End and 7616 S Phillips) (.3); conference with M. Rachlis and
                               A. Porter regarding various receivership issues, tasks, and planning (.4);
                               office conference with N. Mirjanich regarding motion addressing Florida
                               property and bank account (.1); office conference with M. Rachlis and A.
                               Porter regarding potential claims (.2); study analysis of real estate portfolio
                               (.3).

                               Asset Analysis & Recovery

    2/19/2019 KBD         1.30 Study and revise motion to amend appointing order to specifically identify
                               certain receivership assets, proposed order, and affidavit (.9); office
                               conferences with N. Mirjanich regarding same (.3); review correspondence
                               from E. Duff regarding past EquityBuild financial practices (.1).

                               Asset Analysis & Recovery

    2/20/2019 KBD         0.30 Review correspondence from N. Mirjanich and A. Porter regarding efforts to
                               resolve dispute over former property (7616 S Phillips) (.1); study revised
                               motion relating to disputed assets (.2).
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    Kevin B. Duff, Receiver                                                                               Page 4



         Date       Indiv Hours Description


                                   Asset Analysis & Recovery

         2/22/2019 KBD        0.20 Exchange correspondence with N. Mirjanich regarding potential claims (.1);
                                   draft correspondence to A. Porter regarding investigation (.1).

                                   Asset Analysis & Recovery

         2/24/2019 KBD        0.10 Draft correspondence to N. Mirjanich regarding discovery planning and
                                   information to target.

                                   Asset Analysis & Recovery

         2/25/2019 KBD        0.40 Draft correspondence to bank representative regarding frozen accounts and
                                   balances (.1); study correspondence from A. Watychowicz regarding
                                   accounting records (.1); telephone conference with SEC (.2).

                                   Asset Analysis & Recovery

         2/26/2019 KBD        0.60 Review correspondence from defendant regarding request for potential
                                   settlement negotiations (.1); exchange correspondence and office
                                   conferences with M. Rachlis and N. Mirjanich regarding same (.2); study draft
                                   correspondence to bank regarding asset freeze and restricted accounts and
                                   review correspondence from K. Pritchard regarding same (.2); exchange
                                   correspondence with A. Porter regarding documents from former counsel
                                   (.1).

                                   Asset Analysis & Recovery

         2/27/2019 KBD        0.10 Study revised correspondence from K. Pritchard relating to bank account
                                   balances.

                                   Asset Analysis & Recovery

         2/28/2019 KBD        0.40 Study and revise draft correspondence to bank representatives regarding
                                   activity and frozen accounts (.2); draft correspondence to defendant
                                   regarding request for settlement discussion (.1); review correspondence
                                   from counsel for investors and office conference with and review
                                   correspondence from M. Rachlis regarding same (.1).

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                  [ 11.90         4641.00]

Asset Disposition

         2/1/2019    KBD      1.30 Office conference with N. Mirjanich regarding meeting with title company (.2);
                                   telephone conference with real estate broker regarding sale of first listed
                                   properties, listing of second set of properties (.6); study correspondence from
                                   N. Mirjanich regarding property sales and receivership costs (.1); study
                                   motion to approve second group of properties and related bid
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Kevin B. Duff, Receiver                                                                                Page 5



    Date       Indiv Hours Description

                               procedures (.4).

                               Asset Disposition

    2/5/2019    KBD       0.30 Office conference with M. Rachlis regarding sales proceeds issues, claims
                               process, and sale process and disclosure of sales prices.

                               Asset Disposition

    2/6/2019    KBD       0.20 Exchange correspondence with real estate broker regarding potential
                               purchaser (.1); study list of single family homes and review correspondence
                               from A. Porter regarding same (.1).

                               Asset Disposition

    2/7/2019    KBD       0.10 Exchange correspondence with A. Porter regarding title company
                               communications and efforts relating to preparation of properties for closing.

                               Asset Disposition

    2/8/2019    KBD       0.30 Office conference with N. Mirjanich regarding motion to approve sale of
                               properties (.1); exchange correspondence with city official and
                               N. Mirjanich regarding potential purchaser and exchange correspondence
                               with real estate broker regarding same (.1); study motion to approve sale of
                               real estate (7502 Eggleston and 7927-49 Essex) (.3); exchange
                               correspondence with A. Porter regarding same (.1).

                               Asset Disposition

    2/9/2019    KBD       0.30 Exchange correspondence with A. Porter and M. Rachlis regarding motion to
                               approve sale of properties.

                               Asset Disposition

    2/10/2019 KBD         0.20 Study correspondence and revised motion to approve sale of real estate from
                               A. Porter.

                               Asset Disposition

    2/11/2019 KBD         4.10 Study draft motion to approve sale of real estate (1.0); discuss same with N.
                               Mirjanich (.2); telephone conference with M. Rachlis, N. Mirjanich and A.
                               Porter regarding motion to approve and sale proceeds (1.7); telephone
                               conference with real estate broker representatives, M. Rachlis, N. Mirjanich,
                               and A. Porter regarding sales proceeds (.7); additional telephone
                               conference with real estate broker representatives regarding listing prices
                               for next group of properties to sale (.2); study correspondence regarding
                               broker commissions on property sales (.1); study correspondence from city
                               official regarding liquidation plan and asset disposition (.2).

                               Asset Disposition

    2/12/2019 KBD         0.20 Study revised motion to approve sale of properties and study correspondence
                               regarding service of same.
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    Date      Indiv Hours Description


                               Asset Disposition

    2/13/2019 KBD         1.60 Draft and revise correspondence to city official regarding liquidation plan
                               (.6); meet with and review correspondence from M. Rachlis regarding
                               same (.2); study revise motion to approve sale of properties (.2); exchange
                               correspondence with N. Mirjanich regarding same (.1); telephone
                               conferences with real estate broker regarding sales and buyer criteria and
                               motion to approve sales (.4); study draft order approving sale of properties
                               (.1).

                               Asset Disposition

    2/14/2019 KBD         2.80 Study revised motion to approve sale of real estate and various
                               correspondence regarding same (.7); telephone conference with SEC and N.
                               Mirjanich (.3); telephone conference with A. Porter and N. Mirjanich
                               regarding motion to approve sale of real estate (.1); work through same and
                               additional motions being prepared for filing with N. Mirjanich (.5); telephone
                               conference with A. Porter regarding title company concerns and about
                               revisions to motion to approve sale of properties (.9); draft correspondence
                               to real estate broker regarding updated portfolio summary and study same
                               (.3).

                               Asset Disposition

    2/15/2019 KBD         3.80 Study and revise notice provisions to motion to approve sale of real estate
                               and proposed order (.4); telephone conference with SEC (.1); telephone
                               conference with title company representatives, A. Porter, and N. Mirjanich
                               regarding notice of motion to approve sale of real estate, claims process, and
                               court approval (.2); confer with A. Porter and N. Mirjanich regarding motion to
                               approve listing of second tranche of properties for sale (.2); study and revise
                               motion relating to same (.2); telephone conference with M. Rachlis and N.
                               Mirjanich regarding same and changes to sale process description and
                               presentment to court (.1); study and further revise several drafts of motion
                               and proposed draft order approving sale of real estate to address title
                               company comments and office conference with A. Porter regarding same
                               (.8); several lengthy discussions with A. Porter, M. Mirjanich, and A.
                               Watychowicz regarding three motions filed (1.7); review correspondence
                               from E. Duff to lenders counsel regarding motion to approve sale of
                               properties (.1).

                               Asset Disposition

    2/16/2019 KBD         0.20 Review plan for service of motion for approval of sale of real estate with N.
                               Mirjanich and A. Watychowicz.

                               Asset Disposition

    2/18/2019 KBD         2.60 Exchange correspondence with M. Rachlis regarding communications with
                               lenders counsel regarding second sale of properties (.4); conference with real
                               estate broker regarding portfolio analysis, pricing for second listing of
                               properties, prioritization of properties for sale (1.9); attention to
                               communications with lenders counsel regarding payoff letters with M.
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        Date       Indiv Hours Description

                                   Rachlis and A. Porter (.2); review correspondence regarding potential
                                   purchaser (.1).

                                   Asset Disposition

        2/19/2019 KBD         0.70 Study lender objections to second motion to approve sale of properties
                                   (.3); study another lender objections to second motion to approve sale
                                   of properties (.1); study defendants' objection to motion to approve sale
                                   properties (.2); exchange correspondence with potential purchaser
                                   regarding interest in properties and draft correspondence to real estate
                                   broker regarding same (.1).

                                   Asset Disposition

        2/21/2019 KBD         0.20 Discuss lender inquiry regarding anticipated property sales listing prices with
                                   M. Rachlis (.1); draft correspondence to A. Watychowicz and N. Mirjanich
                                   regarding investor communications regarding motion to approve sales (.1).

                                   Asset Disposition

        2/23/2019 KBD         0.20 Study revised representation agreement relating to single family home
                                   portfolio.

                                   Asset Disposition

        2/28/2019 KBD         0.60 Study and revise draft broker agreement for single-family home listing in draft
                                   correspondence to A. Porter regarding same.

                                   Asset Disposition


SUBTOTAL:                                                                                   [ 19.70         7683.00]

Business Operations

        2/1/2019      KBD     0.10 Review correspondence from K. Pritchard regarding property expense
                                   summary.

                                   Business Operations

        2/4/2019      KBD     0.20 Review correspondence from N. Mirjanich and property manager
                                   regarding scaffolding installation (7110 Cornell) (.1); telephone conference
                                   and exchange correspondence with bank representative regarding wire
                                   transfer for insurance payment (.1).

                                   Business Operations

        2/5/2019      KBD     0.50 Study correspondence from property manager regarding property revenue
                                   and expenses (.2); study correspondence from city official regarding vacate
                                   order (.1); study correspondence from N. Mirjanich regarding preparation for
                                   meeting with city officials and work to address code violations and life safety
                                   issues (.2).

                                   Business Operations
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    Date       Indiv Hours Description

    2/6/2019    KBD       1.70 Conference with city officials regarding property repairs and sales (1.0);
                               conferences with M. Rachlis and N. Mirjanich regarding same (.5); study
                               order from administrative court hearing and conference with N. Mirjanich
                               regarding same (.1); study correspondence from property manager
                               regarding expense issues (.1).

                               Business Operations

    2/7/2019    KBD       1.30 Review and plan for property expenses and transfer reconciliation issues with
                               N. Mirjanich (.4); office conference with E. Duff regarding lender
                               communications, sale process, and property roof lease issues (.2); study
                               correspondence from A. Porter and E. Duff regarding same (.1); exchange
                               correspondence with insurance broker regarding policy adjustment and
                               exchange correspondence with A. Porter regarding same (.2); exchange
                               correspondence with N. Mirjanich regarding communications with city official
                               regarding single family homes (.1); study information from A. Porter regarding
                               real estate taxes (.3).

                               Business Operations

    2/8/2019    KBD       0.70 Meet with N. Mirjanich regarding single family home portfolio and
                               communications with city officials (.2); study correspondence regarding real
                               estate taxes (.1); study motion to amend and clarify order appointing receiver
                               (.2); study correspondence from property manager and E. Duff regarding
                               financial reporting (.2).

                               Business Operations

    2/9/2019    KBD       0.20 Study records regarding entities in receivership.

                               Business Operations

    2/11/2019 KBD         0.60 Study correspondence from N. Mirjanich regarding violation notice (6160
                               MLK) (.1); study analysis of property sale projections and debt (.2); exchange
                               correspondence with E. Duff regarding real estate taxes (.1); attention to
                               communication from state tax authority (.1); review correspondence from M.
                               Rachlis regarding property related lease (2832 63rd) (.1).

                               Business Operations

    2/12/2019 KBD         0.60 Exchange correspondence with property manager regarding scaffolding cost
                               and installation (.2); exchange correspondence with Florida department of
                               revenue representative regarding receivership, SEC complaint, and
                               appointing order (.2); study correspondence to vendor regarding roof lease
                               (63rd/Mozart) and office conference with E. Duff regarding same (.2).

                               Business Operations

    2/13/2019 KBD         1.70 Study correspondence from property manager regarding December
                               portfolio performance and financial information (.2); study court order
                               regarding rent (.2); conference with M. Rachlis regarding same (.1);
                               telephone conference with M. Rachlis regarding same (.1); study
                               correspondence from M. Rachlis and E. Duff regarding same (.1); telephone
                               conference with property manager regarding same (.2); telephone
                               conference with broker representative regarding same (.1); study
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    Date      Indiv Hours Description

                               property manager financial reporting (.4); draft correspondence to asset
                               manager regarding same (.1); review correspondence from property
                               manager regarding contract for canopy installation (7110 Cornell) (.1);
                               exchange correspondence with M. Rachlis and A. Porter regarding real estate
                               tax payment issue (.1).

                               Business Operations

    2/14/2019 KBD         2.20 Discuss court order with E. Duff (.2); study and revise motion to clarify
                               appointing order relating to affiliate entities (.4); confer with N. Mirjanich
                               regarding same (.1); exchange correspondence with E. Duff regarding
                               insurance on properties in the portfolio and lender communication relating to
                               same (.2); telephone conference with accounting firm representative and N.
                               Mirjanich regarding accounting for real estate properties to comply with court
                               order (.8); exchange correspondence with lender’s counsel regarding
                               conference call planning (.1); draft correspondence to property managers
                               regarding communications with accounting firm representative (.1); further
                               telephone conference with A. Porter regarding title company and proposed
                               order on motion to approve real estate (.3).

                               Business Operations

    2/15/2019 KBD         0.80 Exchange correspondence with property manager regarding financial
                               reporting and net rental income (.1); study correspondence from N. Mirjanich
                               regarding heat cases (7933 Essex) (.1); study revised motion to amend
                               appointing order (.1); study property manager financial reporting (.5).

                               Business Operations

    2/18/2019 KBD         0.30 Draft correspondence to state tax authority representative regarding follow up
                               communication (.1); exchange correspondence with property manager
                               regarding financial reporting (.1); study correspondence from property
                               manager and N. Mirjanich regarding property repair work (414 Walnut,
                               Maywood) (.1).

                               Business Operations

    2/19/2019 KBD         0.60 Review property insurance issues with E. Duff (.2); exchange correspondence
                               with D. Weinberg regarding real estate taxes and office conference with M.
                               Rachlis regarding same (.2); exchange correspondence with state tax
                               authority regarding power of attorney form and request for information (.2).

                               Business Operations

    2/20/2019 KBD         0.90 Exchange correspondence with property manager and E. Duff regarding
                               housing authority documentation (.2); analysis of real estate taxes, payment
                               options, and timing and office conferences with E. Duff and M. Rachlis
                               regarding same (.4); study correspondence from A. Porter regarding
                               delinquent property taxes (.1); exchange correspondence with state tax
                               authority representative regarding power of attorney form and entity at issue
                               (.2).

                               Business Operations
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    Date      Indiv Hours Description

    2/21/2019 KBD         0.80 Review housing authority documentation from property manager (.1); study
                               correspondence from E. Duff regarding property manager financial
                               reporting (.1); office conferences and exchange correspondence with M.
                               Rachlis and E. Duff regarding real estate taxes and lender communications
                               (.6).

                               Business Operations

    2/22/2019 KBD         0.20 Draft correspondence to A. Porter regarding real estate taxes (.1); review
                               correspondence from E. Duff regarding property managers financial reporting
                               (.1).

                               Business Operations

    2/24/2019 KBD         0.30 Draft correspondence to asset manager regarding affordable housing contact
                               (.1); exchange correspondence with E. Duff regarding lease and exchange
                               correspondence with lender’s counsel (.1); draft correspondence to K.
                               Pritchard and E. Duff regarding real estate tax payments (7625 East End)
                               (.1).

                               Business Operations

    2/25/2019 KBD         5.80 Attention to bank records and available funds, insurance costs, and
                               accounting for property related expenses with K. Pritchard (.2); telephone
                               conference with government representative (.2); planning strategy with M.
                               Rachlis, E. Duff, and A. Porter regarding real estate tax payment (4.4); study
                               correspondence from E. Duff regarding same (.2); review correspondence
                               from A. Watychowicz regarding costs for maintaining electronic records (.1);
                               study correspondence from E. Duff and property manager regarding net
                               income information and financial reporting (.3); exchange correspondence
                               with K. Pritchard and insurance broker regarding policy term information and
                               renewal (.3); review correspondence from N. Mirjanich regarding engineering
                               reports (7160 Coles and 8107 Ellis) (.1).

                               Business Operations

    2/26/2019 KBD         7.50 Analysis of financial information and real estate tax obligations (3.9); study
                               various correspondence and several office conferences with M. Rachlis and
                               E. Duff regarding same (1.3); draft correspondence to M. Rachlis and E. Duff
                               regarding same (1.1); telephone conferences and exchange correspondence
                               with property managers regarding financial reporting, property reserves, and
                               real estate taxes (.4); review motion from state court plaintiffs to lift stay (.1);
                               study correspondence from investor regarding former property (8107 Coles)
                               and repair work and exchange correspondence with A. Porter regarding
                               same (.1); exchange correspondence with city official regarding impact of
                               court ruling on property maintenance and repairs (.1); study property
                               manager financial reporting (.4); study motion for relief from stay in state
                               court action and exchange correspondence regarding same (.1).

                               Business Operations
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         Date       Indiv Hours Description

         2/27/2019 KBD        7.20 Confer with N. Mirjanich regarding motion from state court plaintiffs to lift stay
                                   and potential resolution of same (.1); study various correspondence from M.
                                   Rachlis, E. Duff, and K. Pritchard regarding real estate tax planning (.3); study
                                   various financial reports and analyze tax payments, and office conferences
                                   with E. Duff and M. Rachlis regarding same and telephone conferences with
                                   asset managers and property managers regarding related calculations (6.5);
                                   draft correspondence to and study correspondence from former employee
                                   regarding communications with investors (.3).

                                   Business Operations

         2/28/2019 KBD        4.90 Exchange correspondence and telephone conference with property manager
                                   regarding real estate taxes (.3); telephone conference and exchange
                                   correspondence with SEC (.1); exchange correspondence and office
                                   conferences with M. Rachlis regarding communications with lenders'
                                   counsel relating to real estate taxes (.3); exchange communication and
                                   telephone conference with property manager representatives regarding real
                                   estate taxes and financial reporting (.4); study various financial reporting
                                   from property manager (.9); study, draft, and revise correspondence to
                                   lenders' counsel regarding real estate taxes (.5); numerous office
                                   conferences with M. Rachlis and E. Duff regarding analysis of real estate
                                   taxes (1.4); office conference with and draft correspondence to J. Rak
                                   regarding preparation of spreadsheets regarding real estate tax analysis and
                                   study same (.5); office conference with K. Pritchard regarding logistics and
                                   timing of real estate tax payments (.1); study financial reporting from property
                                   manager (.3); study correspondence from insurance broker and K. Pritchard
                                   regarding premium finance installment payments (.1).

                                   Business Operations


SUBTOTAL:                                                                                    [ 39.10        15249.00]

Claims Administration & Objections

         2/1/2019    KBD      7.30 Study revised claims form and motion to approve claims process (2.2); study
                                   mortgage loan summary (.2); prepare for meeting with lenders’ counsel and
                                   office conference with E. Duff and M. Rachlis regarding same (3.3); meet with
                                   lenders' counsel (1.4); study correspondence from E. Duff and M. Rachlis
                                   regarding property inspections and related costs (.2).

                                   Claims Administration & Objections

         2/2/2019    KBD      0.50 Study briefs regarding rent issue.

                                   Claims Administration & Objections

         2/3/2019    KBD      0.20 Study revised motion to approve claims process.

                                   Claims Administration & Objections
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    Date       Indiv Hours Description

    2/4/2019    KBD       1.60 Study and revise claims form and instructions, study further revisions, and
                               confer with N. Mirjanich regarding same.

                               Claims Administration & Objections

    2/8/2019    KBD       1.30 Telephone conference with SEC (.2); telephone conference with claims
                               process vendor regarding claim form (.3); review claim form and changes to
                               motion seeking approval of claim process with M. Rachlis (.3); study claims
                               motion and revisions to same and exchange correspondence regarding
                               same (.5).

                               Claims Administration & Objections

    2/9/2019    KBD       0.30 Study revised claims process motion (.2); draft correspondence to K.
                               Pritchard regarding creditors list (.1).

                               Claims Administration & Objections

    2/12/2019 KBD         0.30 Work with N. Mirjanich on motion to approve claims process and
                               communications with vendor regarding claim form (.2); study correspondence
                               from vendor representative regarding claims process (.1).

                               Claims Administration & Objections

    2/15/2019 KBD         0.50 Study correspondence from lenders counsel regarding property inspections
                               and appraisals (.1); various communications with E. Duff regarding same (.2);
                               study correspondence from E. Duff regarding financial reporting issues (.2).

                               Claims Administration & Objections

    2/19/2019 KBD         3.00 Study and revise motion to approve claims process and office conference
                               with N. Mirjanich regarding same (1.3); telephone conference with accounting
                               firm representative regarding accounting for property rent and reporting
                               planning (.2); confer with E. Duff regarding same and property manager
                               communications (.1); telephone conference with property manager and E.
                               Duff regarding segregation of rent and preparation of reporting (.3);
                               telephone conference with lenders counsel and M. Rachlis regarding various
                               property and loan issues (1.0); review correspondence regarding property
                               inspection and appraisals (.1).

                               Claims Administration & Objections

    2/20/2019 KBD         1.80 Study and revise proposed claims form (.3); study and revise motion for
                               approval of claims process and claim form (1.0); study correspondence
                               regarding financial reporting and accounting practices (.1); study
                               correspondence from lender's counsel regarding properties, certificates of
                               insurance, and loss payees (.1); study E. Duff lender summary and
                               exchange correspondence with E. Duff and M. Rachlis regarding same (.3).

                               Claims Administration & Objections

    2/21/2019 KBD         1.30 Work with M. Rachlis and N. Mirjanich on motion to approve claims process
                               and lender communications (.9); telephone conference with property manager
                               and E. Duff regarding rent accounting and reporting to comply
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    Kevin B. Duff, Receiver                                                                               Page 13



        Date        Indiv Hours Description

                                   with court order (.4).

                                   Claims Administration & Objections

        2/22/2019 KBD         0.60 Exchange correspondence and telephone conference with N. Mirjanich
                                   regarding claims process motion and affidavit (.2); study claims motion and
                                   affidavit (.3); study correspondence from E. Duff regarding various issues in
                                   lender communications (.1).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                  [ 18.70          7293.00]

Corporate Finance

        2/26/2019 KBD         0.40 Telephone conferences with bank representative regarding potential
                                   financing and interest bearing account.

                                   Corporate Finance


SUBTOTAL:                                                                                  [ 0.40            156.00]

Employee Issues

        2/6/2019     KBD      0.10 Exchange correspondence with former employee and K. Pritchard regarding
                                   Form W-2.

                                   Employee Issues

        2/7/2019     KBD      0.10 Draft correspondence to K. Pritchard regarding former employee.

                                   Employee Issues

        2/12/2019 KBD         0.10 Exchange correspondence with K. Pritchard regarding former employees
                                   and W2.

                                   Employee Issues


SUBTOTAL:                                                                                  [ 0.30            117.00]

Investor Communications

        2/1/2019     KBD      0.10 Exchange correspondence with investor regarding status and review voice
                                   message and email from another investor.

                                   Investor Communications

        2/4/2019     KBD      1.00 Telephone conferences with investor lender (.7); study investor emails
                                   requiring attention and review same with A. Watychowicz (.3).

                                   Investor Communications
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    Date       Indiv Hours Description

    2/5/2019    KBD       0.10 Review correspondence from A. Watychowicz regarding investor contact
                               information.

                               Investor Communications

    2/6/2019    KBD       0.10 Draft correspondence to A. Watychowicz regarding investor list.

                               Investor Communications

    2/7/2019    KBD       0.10 Draft correspondence to A. Watychowicz regarding investor communication
                               and investor list.

                               Investor Communications

    2/8/2019    KBD       0.10 Review voice message from investor regarding distributions and draft
                               correspondence to A. Watychowicz regarding same.

                               Investor Communications

    2/11/2019 KBD         0.40 Exchange correspondence with A. Watychowicz regarding responses to
                               investor inquiries regarding properties and custodial account issues (.3);
                               exchange correspondence with A. Porter regarding former EB property and
                               inquiry from investor (.1).

                               Investor Communications

    2/12/2019 KBD         0.20 Study correspondence from investor regarding investment and former
                               employee communications (.1); study same and office conferences with
                               A. Watychowicz regarding same (.1).

                               Investor Communications

    2/13/2019 KBD         0.30 Study correspondence from and office conference with A. Watychowicz
                               regarding communication with investors (.2); draft A. Watychowicz
                               regarding investor voice message and follow up (.1).

                               Investor Communications

    2/16/2019 KBD         0.10 Study correspondence from investor regarding various issues including
                               reporting, property sales, and taxes.

                               Investor Communications

    2/18/2019 KBD         0.30 Study various communications from investors regarding motion to approve
                               sale of properties, status of receivership, and various additional inquiries.

                               Investor Communications

    2/19/2019 KBD         0.10 Study correspondence from A. Watychowicz regarding communications with
                               investors.

                               Investor Communications
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        Date       Indiv Hours Description

        2/20/2019 KBD         0.30 Exchange correspondence and confer with N. Mirjanich and A. Watychowicz
                                   regarding investor communications (.2); exchange correspondence with
                                   investor regarding communication relating to former property (7616 S Phillips)
                                   (.1).

                                   Investor Communications

        2/21/2019 KBD         0.30 Exchange correspondence with A. Watychowicz and A. Porter regarding
                                   communications with investors regarding issue involving former property
                                   (.2); exchange correspondence with K. Pritchard and N. Mirjanich regarding
                                   investors voice message and follow up communication (.1).

                                   Investor Communications

        2/25/2019 KBD         0.60 Telephone conferences with investors regarding status and timing (.2);
                                   attention to investor voice message (.1); review correspondence from
                                   investor regarding tax and insurance inquiry and from other investors
                                   regarding investments (.3).

                                   Investor Communications

        2/26/2019 KBD         0.10 Review communication from investor.

                                   Investor Communications

        2/27/2019 KBD         0.20 Review communications from investors regarding various issue.

                                   Investor Communications

        2/28/2019 KBD         0.10 Attention to voice message from investor and draft
                                   correspondence to A. Watychowicz regarding same.

                                   Investor Communications


SUBTOTAL:                                                                                 [ 4.50            1755.00]

Status Reports

        2/5/2019    KBD       1.50 Conference with SEC.

                                   Status Reports

        2/7/2019    KBD       1.40 Prepare for and appear for status hearing before Judge Kim.

                                   Status Reports

        2/13/2019 KBD         0.10 Study correspondence from N. Mirjanich to accounting firm representative
                                   regarding status of tax preparation work for report to the Court.
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        Date       Indiv Hours Description


                                   Status Reports

        2/18/2019 KBD         0.80 Study and revise draft status report.

                                   Status Reports

        2/19/2019 KBD         0.40 Study and revise draft status report.

                                   Status Reports

        2/20/2019 KBD         0.30 Study correspondence from N. Mirjanich and accounting firm representative
                                   regarding summary of accounting firm work (.1); study revised status report
                                   (.2).

                                   Status Reports

        2/25/2019 KBD         2.40 Study and revise second status report (2.1); study correspondence from and
                                   confer with N. Mirjanich regarding same (.3).

                                   Status Reports

        2/26/2019 KBD         0.80 Study and revise draft status report and review same with N. Mirjanich.

                                   Status Reports

        2/27/2019 KBD         0.60 Various discussions with N. Mirjanich regarding revisions to status report (.1);
                                   study revised status report (.2); telephone conference with SEC (.3).



                                   Status Reports

        2/28/2019 KBD         1.70 Study, revise, and approve several drafts of status report (1.5); review same
                                   with N. Mirjanich and K. Pritchard (.2).

                                   Status Reports


SUBTOTAL:                                                                                   [ 10.00          3900.00]

Tax Issues

        2/1/2019    KBD       0.10 Study correspondence from K. Pritchard and accounting firm representative
                                   regarding former employee W-2s and tax payments.

                                   Tax Issues

        2/2/2019    KBD       0.10 Study correspondence from accounting firm representative regarding W-2s.


                                   Tax Issues

        2/8/2019    KBD       0.10 Study correspondence from accounting firm representative regarding
                                   employee W-2s.
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         Date     Indiv Hours Description


                                   Tax Issues

         2/11/2019 KBD        0.20 Review correspondence from K. Pritchard regarding status of tax return
                                   preparation (.1); review correspondence from K. Pritchard regarding interest
                                   reporting issue (.1).

                                   Tax Issues

         2/12/2019 KBD        0.20 Review taxes notices and reporting forms and correspondence regarding
                                   same.

                                   Tax Issues

         2/18/2019 KBD        0.20 Study correspondence from accounting firm representative regarding
                                   preparation of tax returns and request for additional information (.1); study
                                   notice from state tax authority and review correspondence from K. Pritchard
                                   and accounting firm representative regarding same (.1).


                                   Tax Issues

         2/20/2019 KBD        0.10 Study lender annual statement and W-9 forms.

                                   Tax Issues

         2/21/2019 KBD        0.10 Draft correspondence to state tax authority regarding power of attorney form
                                   and absence of in-state employees.

                                   Tax Issues

         2/27/2019 KBD        0.10 Review correspondence regarding information for tax preparation.

                                   Tax Issues

         2/28/2019 KBD        0.10 Study correspondence from accounting firm representative regarding 2018
                                   extensions.

                                   Tax Issues


SUBTOTAL:                                                                                  [ 1.30           507.00]




                                                                                           105.90       $41,301.00



                                                Summary of Activity
                                                                                   Hours       Rate
Kevin B. Duff                                                                     105.90     390.00    $41,301.00
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    Kevin B. Duff, Receiver                                                     Page 18




                                      SUMMARY


                  Legal Services                                  $41,301.00
                  Other Charges                                        $0.00

                     TOTAL DUE                                   $41,301.00




Balance due                                                                    $41,301.00
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                        Rachlis Duff Peel & Kaplan, LLC
                                     542 South Dearborn Street
                                                                                         tel (312) 733-3950
                                             Suite 900                                   fax (312) 733-3952
                                       Chicago, Illinois 60605




October 25, 2019

Kevin B. Duff, Receiver
c/o Rachlis Duff Peel & Kaplan LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                      Fed. I.D. No. XX-XXXXXXX
    Cohen, and Shaun D. Cohen                                                         Invoice No.6621101
    No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


Legal Fees for the period March 2019                                     $35,724.00

Expenses Disbursed                                                           $0.00


Due this Invoice                                                         $35,724.00

Previous Balance                                                              $0.00

Less payments and adjustments                                                 $0.00



TOTAL DUE                                                                $35,724.00
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    Kevin B. Duff, Receiver                                                                                Page 2




        Date          Indiv Hours Description

Accounting/Auditing

        3/14/2019 KBD         0.20 Study receiver's account information from K. Pritchard.

                                   Accounting/Auditing


SUBTOTAL:                                                                                    [ 0.20             78.00]

Asset Analysis & Recovery

        3/1/2019      KBD     1.40 Exchange correspondence with defendant regarding his request for
                                   discussion regarding potential settlement (.1); study and revise motion to
                                   identify specific receivership assets and review correspondence from N.
                                   Mirjanich regarding same (.4); telephone conference with defendant
                                   regarding potential settlement discussions (.7); telephone conference with
                                   SEC (.1); study correspondence regarding bank account issue and office
                                   conference with K. Pritchard regarding same (.1).

                                   Asset Analysis & Recovery

        3/3/2019      KBD     0.20 Study revised motion to amend or clarify order appointing receiver and review
                                   correspondence from M. Rachlis regarding same.

                                   Asset Analysis & Recovery

        3/4/2019      KBD     1.70 Revise draft agreement with defendant for recovery of assets and exchange
                                   correspondence with M. Rachlis and N. Mirjanich regarding same (1.0);
                                   office conference with N. Mirjanich regarding same (.1); conference with
                                   N. Mirjanich and exchange correspondence with M. Rachlis and A. Porter
                                   regarding potential claims (.1); study correspondence from A. Porter
                                   regarding subpoenas to title companies (.1); draft correspondence to
                                   defendant regarding request for financial and asset information (.4).

                                   Asset Analysis & Recovery

        3/5/2019      KBD     1.60 Exchange correspondence with defendant regarding potential resolution of
                                   disputes over assets and failure to provide requested information (.3); office
                                   conference and exchange correspondence with M. Rachlis and N. Mirjanich
                                   regarding same, response, and timing (.3); review correspondence from A.
                                   Porter and A. Watychowicz regarding subpoenas (.4); telephone conference
                                   with A. Porter regarding potential resolution of disputes with respect to former
                                   EquityBuild properties (6801 South East End and 7616 S Phillips) (.1); draft
                                   correspondence to A. Porter regarding service provider agreements (.1);
                                   review correspondence from A. Porter and A. Watychowicz regarding
                                   subpoenas (.1); study motion to clarify appointing order regarding assets,
                                   affidavit, and exhibits (.3).

                                   Asset Analysis & Recovery
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Kevin B. Duff, Receiver                                                                                 Page 3



    Date       Indiv Hours Description

    3/6/2019    KBD       1.60 Study correspondence from defendant regarding potential resolution of
                               assets dispute and draft correspondence to and office conferences with N.
                               Mirjanich regarding same (.6); telephone conference with counsel regarding
                               potential claims (.7); office conference with M. Rachlis and N. Mirjanich
                               regarding same (.3).

                               Asset Analysis & Recovery

    3/7/2019    KBD       0.50 Study and exchange correspondence with N. Mirjanich and M. Rachlis
                               regarding negotiations with defendant (.3); study correspondence from
                               investor regarding effort to resolve dispute involving former property (.1);
                               review correspondence from defendant regarding response to request for
                               documents and information (.1).

                               Asset Analysis & Recovery

    3/8/2019    KBD       0.50 Study correspondence from defendant regarding settlement of assets
                               dispute (.1); draft correspondence to and office conferences with N.
                               Mirjanich regarding same (.3); study revised potential agreement (.1).

                               Asset Analysis & Recovery

    3/9/2019 KBD      0.30 Draft correspondence to potential counsel (.2); exchange correspondence with
                             A. Porter regarding request for information (.1).

                               Asset Analysis & Recovery

    3/10/2019 KBD         0.30 Exchange correspondence with A. Porter regarding potential resolution of
                               dispute relating to former property (7616 S. Phillips) (.2); draft
                               correspondence to A. Watychowicz and N. Mirjanich regarding request for
                               documents (.1).

                               Asset Analysis & Recovery

    3/11/2019 KBD         3.30 Discuss with N. Mirjanich requested and defendants' device inspection (.2);
                               research relating to potential claim (.3); study same (.1); revise draft
                               agreement regarding asset dispute with defendant and exchange
                               correspondence with N. Mirjanich regarding same (.4); prepare with M.
                               Rachlis for meeting regarding potential claims (.8); telephone conference
                               with M. Rachlis and A. Porter regarding same (.9); exchange
                               correspondence with K. Pritchard regarding bank request for extension to
                               produce records (.1); review correspondence from defendant regarding
                               requested records and information (.1); study subpoenas and exchange
                               correspondence with A. Watychowicz regarding same (.2); study
                               correspondence from property manager and A. Porter regarding issues
                               relating to and efforts to resolve dispute over former property (7616 S
                               Phillips) (.2).

                               Asset Analysis & Recovery
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Kevin B. Duff, Receiver                                                                              Page 4



    Date      Indiv Hours Description

    3/12/2019 KBD         2.20 Study correspondence from defendant regarding asset dispute (.1); study
                               defendant's request for extension of time to respond to receiver's motion
                               and exchange correspondence with N. Mirjanich regarding same (.2);
                               analyze and strategize with M. Rachlis, A. Porter, and N. Mirjanich regarding
                               potential claims and potential resolution of dispute relating to former
                               EquityBuild property (1.7); study correspondence from A. Porter regarding
                               further effort to resolve property dispute (.2).

                               Asset Analysis & Recovery

    3/13/2019 KBD         0.30 Study correspondence from M. Rachlis regarding potential resolution of
                               dispute with defendant over assets and revise same (.2); draft
                               correspondence to N. Mirjanich regarding inspection of defendants' devices
                               (.1).

                               Asset Analysis & Recovery

    3/14/2019 KBD         2.00 Prepare for and meet with potential counsel (1.0); analysis and
                               evaluation with M. Rachlis regarding same (1.0).

                               Asset Analysis & Recovery

    3/19/2019 KBD         0.30 Confer with N. Mirjanich regarding approach to communications with
                               mortgage company relating to Florida property (.2); draft correspondence to
                               A. Porter regarding effort to resolve dispute over former property (.1).

                               Asset Analysis & Recovery

    3/20/2019 KBD         0.20 Prepare for communication with mortgage lender's counsel with N. Mirjanich
                               (.1); telephone conference with counsel for mortgage lender and N. Mirjanich
                               regarding Florida property (.1).

                               Asset Analysis & Recovery

    3/25/2019 KBD         0.50 Discuss with N. Mirjanich status of defendant's payment of mortgage and
                               negotiations regarding Naples property (.1); draft correspondence to M.
                               Rachlis regarding potential claim (.4).

                               Asset Analysis & Recovery

    3/28/2019 KBD         0.10 Telephone conference with bank representative regarding request for
                               extension of time to produce records.

                               Asset Analysis & Recovery

    3/29/2019 KBD         0.40 Draft correspondence regarding effort to resolve dispute over Naples property
                               and review correspondence from defendant regarding same (.3); study
                               defendant's response to motion relating to Naples property and bank account
                               (.1).

                               Asset Analysis & Recovery
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    Kevin B. Duff, Receiver                                                                                  Page 5



         Date       Indiv Hours Description


SUBTOTAL:                                                                                     [ 17.40         6786.00]

Asset Disposition

         3/1/2019    KBD      0.20 Telephone conference with A. Porter regarding competitive broker bids for
                                   single family home portfolio (.1); draft correspondence to A. Porter regarding
                                   potential agreement with broker regarding same (.1).

                                   Asset Disposition

         3/5/2019    KBD      0.30 Telephone conference with asset manager regarding court approval
                                   process and timing (.2); exchange correspondence with city official
                                   regarding local real estate firm (.1).

                                   Asset Disposition

         3/7/2019    KBD      0.80 Telephone conference with counsel for potential purchaser regarding future
                                   listings of properties for sale (.1); draft correspondence to broker same (.1);
                                   evaluation of options with M. Rachlis regarding single family home portfolio,
                                   broker agreement, commission structure, and competitive bidding (.2);
                                   discuss preparation of motion for approval of sale of single family home
                                   portfolio with N. Mirjanich (.1); office conference with M. Rachlis regarding
                                   communications with lenders' counsel regarding motion to approve sale of
                                   second tranche of properties, priority issues, and lenders' credit bid
                                   requests (.3).

                                   Asset Disposition

         3/8/2019    KBD      0.20 Exchange correspondence with A. Porter regarding communications with
                                   buyer of property (5001 Drexel) (.1); study order regarding motion to approve
                                   second sale and office conference with M. Rachlis regarding (.1).

                                   Asset Disposition

         3/11/2019 KBD        0.10 Exchange correspondence with A. Porter regarding single family home broker
                                   agreement.

                                   Asset Disposition

         3/12/2019 KBD        2.50 Prepare for meeting with asset manager and counsel regarding portfolio
                                   analysis and strategy (.4); conference with asset manager and counsel
                                   regarding properties sales, listings, strategy, valuation, and timing (1.8); study
                                   revised portfolio summary (.3).

                                   Asset Disposition

         3/13/2019 KBD        0.30 Study draft motion relating to single family home portfolio and
                                   correspondence from N. Mirjanich regarding same.

                                   Asset Disposition
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Kevin B. Duff, Receiver                                                                                 Page 6



    Date      Indiv Hours Description

    3/16/2019 KBD         0.20 Exchange correspondence with M. Rachlis and real estate broker regarding
                               lenders' objections as to efforts to sell properties.

                               Asset Disposition

    3/17/2019 KBD         0.60 Exchange further correspondence with M. Rachlis and real estate broker
                               regarding lenders' objections as to efforts to sell properties.

                               Asset Disposition

    3/18/2019 KBD         3.50 Prepare for hearing before Judge Kim regarding motions to approve listing
                               and sale of properties (.5); various discussions with M. Rachlis, real estate
                               broker, A. Porter regarding same (.5); appear for hearing before Judge Kim
                               regarding motions to approve listing and sale of properties (2.5).

                               Asset Disposition

    3/19/2019 KBD         0.30 Telephone conference with A. Porter regarding preparation for real estate
                               sale closings, timing, planning, and obtaining water certificates (.2); telephone
                               conference with SEC (.1).

                               Asset Disposition

    3/20/2019 KBD         1.60 Communicate with M. Rachlis and E. Duff regarding motion to approve sales,
                               sale proceeds, and property manager fees and expenses (.3); telephone
                               conferences with real estate broker, E. Duff, and N. Mirjanich regarding
                               communications with buyer relating to property affected by fire (7943 Essex)
                               and financial terms to close transaction (.4); office conferences with E. Duff
                               regarding communications with insurance broker relating to same (.2);
                               telephone conference with real estate broker, A. Porter, and E. Duff
                               regarding sale of property impacted by fire (7943 Essex), communications
                               and proposal from buyer, and insurance related considerations (.2); further
                               office conferences with E. Duff regarding same (.4); attention to
                               communication from potential insurance broker and exchange
                               correspondence with K. Pritchard regarding same (.1).

                               Asset Disposition

    3/22/2019 KBD         1.90 Draft correspondence regarding communications with property buyer,
                               insurance claim on fire impacted property, amended terms with buyers, and
                               property repair and preservation work (.5); office conferences and exchange
                               correspondence with E. Duff, M. Rachlis, and N. Mirjanich regarding same
                               (.4); telephone conference with asset manager, M. Rachlis, E. Duff, and N.
                               Mirjanich regarding communications with property buyer, insurance claim on
                               fire impacted property, amended terms with buyers, and property repair and
                               preservation work (.2); further office discussions with M. Rachlis, E. Duff,
                               and N. Mirjanich regarding same (.2); study correspondence from city official
                               regarding water bills and water certifications and confer with N. Mirjanich and
                               M. Rachlis regarding same (.2); study and amend draft letter agreement with
                               buyer's counsel regarding insurance and property repair and preservation
                               work (.2); telephone conference with A. Porter and E. Duff regarding same
                               (.2).

                               Asset Disposition
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    Date      Indiv Hours Description

    3/23/2019 KBD         0.10 Exchange correspondence with M. Rachlis regarding addendum agreement
                               for property impacted by fire (7943 Essex) and notice to the court.

                               Asset Disposition

    3/24/2019 KBD         0.30 Draft correspondence to M. Rachlis regarding approach to liquidating
                               properties (.1); study draft addendum to purchase and sale contract (7943
                               Essex) (.2).

                               Asset Disposition

    3/25/2019 KBD         0.70 Office conference with J. Rak regarding water certifications and
                               communications with city officials with respect to same (.1); study and revise
                               addendum to property sale agreement (7943 Essex), office conference with
                               E. Duff regarding same, and exchange correspondence with A. Porter and E.
                               Duff regarding same (.3); study and revise notice of amendment of sale
                               agreement for court filing and office conference with N. Mirjanich regarding
                               same (.3).

                               Asset Disposition

    3/26/2019 KBD         0.90 Study revised addendum to property sale agreement (7943 Essex) and office
                               conference with A. Porter regarding same (.2); exchange correspondence
                               with property manager regarding timing for approval of sales (.1); study single
                               family home listing agreement and exchange correspondence with A. Porter
                               regarding same (.2); office conference with and study correspondence from
                               N. Mirjanich and city official regarding efforts to vacate property (6160 MLK)
                               (.2); study further correspondence from A. Porter regarding addendum to
                               sale of property (7943 Essex) (.2).

                               Asset Disposition

    3/27/2019 KBD         1.60 Study and revise representation agreement for sale of single family homes
                               (.5); office conference with E. Duff and draft correspondence to and
                               telephone conference with A. Porter regarding same (.4); study and execute
                               addendum to sale contract (7943 Essex) and review correspondence relating
                               to same (.1); study notice to the court regarding addendum and office
                               conferences with N. Mirjanich and M. Rachlis regarding same (.4); telephone
                               conference with M. Rachlis, A. Porter, and J. Rak regarding property
                               manager liens and closing costs (.2).

                               Asset Disposition

    3/28/2019 KBD         0.60 Study representation agreement for single family home portfolio and
                               exchange correspondence with A. Porter regarding agreement for
                               single-family home portfolio (.3); study summary of next group of properties to
                               sell (.3).

                               Asset Disposition

    3/29/2019 KBD         0.20 Study and exchange correspondence regarding single family home listing
                               agreement.

                               Asset Disposition
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    Kevin B. Duff, Receiver                                                                                  Page 8



        Date       Indiv Hours Description


SUBTOTAL:                                                                                    [ 16.90          6591.00]

Business Operations

        3/1/2019      KBD     2.00 Study correspondence from and office conference with J. Rak regarding real
                                   estate tax payment issues and logistics (.1); telephone conference and office
                                   conference with N. Mirjanich regarding same (.1); study spreadsheet relating
                                   to real estate taxes (.2); telephone conference with A. Porter regarding
                                   potential resolution of dispute involving former EquityBuild property (.1); draft
                                   correspondence to property manager regarding accounting, reporting, and
                                   compliance with Court's order regarding rent (.8); office conference with M.
                                   Rachlis regarding same (.1); study draft correspondence relating to lenders
                                   counsel (.2); telephone conference with M. Rachlis regarding same (.1);
                                   study correspondence from insurance broker regarding insurance coverage,
                                   finance agreement, and payment history (.1); study correspondence relating
                                   to payment of deductible for covered claim (.1); telephone conference with
                                   bank representative regarding wire transfer or funds and review
                                   correspondence relating to same (.1).

                                   Business Operations

        3/2/2019      KBD     0.30 Exchange correspondence with M. Rachlis and E. Duff regarding
                                   communication with lender's counsel regarding real estate taxes.

                                   Business Operations

        3/4/2019      KBD     1.40 Office conference with N. Mirjanich regarding property repairs and
                                   engineering reports (8107 Ellis and Coles) and state court plaintiff's motion to
                                   lift stay (.2); study correspondence from property manager regarding
                                   engineering reports for property repair (7760 Coles and 8107 Ellis) (.1); study
                                   correspondence from property manager regarding unpaid taxes (Yates,
                                   Luella, Constance, Muskegon, Marquette, 8432 Essex) and CHA move-ins
                                   (7502 Eggleston) and draft correspondence to asset manager regarding
                                   same (.1); office conference with E. Duff and M. Rachlis regarding
                                   communications with lender's counsel (.2); office conference with
                                   E. Duff regarding property manager's accounting practices (.2); study
                                   correspondence from property manager regarding inquiries from property
                                   inspector (.1); study draft order to lift stay and review correspondence from
                                   N. Mirjanich and M. Rachlis regarding same (.3); study correspondence from
                                   N. Mirjanich regarding violation notices (.2).

                                   Business Operations

        3/5/2019      KBD     2.60 Exchange correspondence with property manager regarding real estate
                                   taxes and CHA move-in (.2); exchange correspondence with asset manager
                                   regarding same (.2); exchange correspondence with property manager
                                   regarding call to discuss accounting practices (.1); office conference with E.
                                   Duff regarding same (.1); telephone conference with and review
                                   correspondence from asset manager regarding real estate taxes and CHA
                                   tenant issue (7502 Eggleston) and exchange correspondence with property
                                   manager regarding same (.3); studying revise correspondence to state court
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Kevin B. Duff, Receiver                                                                                Page 9



    Date       Indiv Hours Description

                               lawsuit plaintiffs' counsel regarding state litigation and office conference with
                               N. Mirjanich regarding same (.2); telephone conference with property
                               manager and E. Duff regarding property financial information, expenses, and
                               accounting procedures (.9); telephone conference with A. Porter regarding
                               resolution of real estate tax issue (7502 Eggleston) (.1); draft correspondence
                               to property manager regarding same (.2); review correspondence from E.
                               Duff and B. Spagnola regarding property inspection (7109 Calumet) (.1);
                               study correspondence regarding payment of real estate taxes (5001 Drexel)
                               (.1); study correspondence from and conference with N. Mirjanich regarding
                               communication with former counsel relating to notices of property violations
                               (.1).

                               Business Operations

    3/6/2019    KBD       0.30 Exchange correspondence with property manager regarding payment of
                               real estate taxes (7502 Eggleston) (.1); study correspondence from E.
                               Duff and insurance broker regarding insurance premium payments (.2).

                               Business Operations

    3/7/2019    KBD       0.60 Address various housing court and sanitation violation notices with N.
                               Mirjanich (.4); study correspondence from E. Duff regarding outstanding real
                               estate taxes and communications with property manager (.2).

                               Business Operations

    3/8/2019    KBD       0.20 Study correspondence from lender's counsel regarding financials,
                               insurance, and property manager communications and office conference
                               with M. Rachlis regarding same (.1); study correspondence regarding
                               property manager financial reporting (.1).

                               Business Operations

    3/11/2019 KBD         0.70 Study correspondence from property manager regarding tenant move-ins
                               and unpaid real estate taxes (.1); office conference with and study
                               correspondence from E. Duff and draft correspondence to asset
                               management representative regarding evaluation of same (.2); preparation
                               for housing court hearings, property inspections, and communications with
                               property managers and city officials regarding same with N. Mirjanich (.3);
                               exchange correspondence with property manager and E. Duff regarding
                               rental payments (6250 Mozart) (.1).

                               Business Operations

    3/12/2019 KBD         0.60 Study property manager financial reports and profit and loss reporting (.2);
                               study information from property manager regarding real estate taxes and
                               exchange correspondence with property manager and E. Duff regarding
                               same (.2); study correspondence from property manager regarding cash
                               balances and cash flow (.2).

                               Business Operations
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Kevin B. Duff, Receiver                                                                                Page 10



    Date      Indiv Hours Description

    3/13/2019 KBD         0.60 Exchange correspondence with property manager regarding payment of real
                               estate taxes (4533 Calumet) (.1); conference with M. Rachlis regarding same
                               (.1); study correspondence from N. Mirjanich regarding property code
                               violations and evaluation of course of action (.2); exchange correspondence
                               with N. Mirjanich and former counsel regarding service of complaint (.1); draft
                               correspondence to property manager regarding cash flow and property
                               management issues and exchange correspondence with M. Rachlis
                               regarding same (.1).

                               Business Operations

    3/14/2019 KBD         0.40 Telephone conference with N. Mirjanich regarding property engineering
                               report, asset manager recommendations, and preparation for housing court
                               hearing and study correspondence from property manager regarding same
                               (.3); exchange correspondence with K. Pritchard regarding efforts for
                               insurance renewal (.1).

                               Business Operations

    3/15/2019 KBD         3.10 Exchange various correspondence with E. Duff, M. Rachlis, N. Mirjanich, A.
                               Porter, property manager representatives, and asset manager
                               representatives regarding fire at property (7943 Essex) (1.3); telephone
                               conference with and exchange correspondence with E. Duff, N. Mirjanich, A.
                               Porter, and asset manager representatives regarding same (.3); telephone
                               conference with SEC (.1); telephone conference with E. Duff regarding same
                               (.2); study property manager financial reporting (.3); exchange
                               correspondence with N. Mirjanich regarding communication with lender's
                               counsel regarding code violations (6751 Merrill, 7110 Cornell, 4520 Drexel)
                               (.2); study invoices from service agent and exchange correspondence with
                               N. Mirjanich regarding same (.1); exchange correspondence with N.
                               Mirjanich regarding background regarding insurance and incident at property
                               (11117 Longwood) (.1); review correspondence from insurance broker and
                               E. Duff regarding premium allocation (.1); study financial reporting from
                               property manager (.4).

                               Business Operations

    3/16/2019 KBD         0.20 Telephone conference with SEC (.1); exchange correspondence with
                               property manager regarding information about property fire (7943 Essex)
                               (.1).

                               Business Operations

    3/17/2019 KBD         0.10 Study correspondence from property manager regarding waterline
                               replacement cost and property fire (7943 Essex).

                               Business Operations

    3/18/2019 KBD         1.40 Review financial reporting regarding properties for lenders with M. Rachlis
                               and E. Duff (.8); confer with E. Duff regarding communications with insurance
                               broker regarding property fire (.2); exchange correspondence with N.
                               Mirjanich regarding utility bills (.1); study equipment modification request for
                               property (6250 Mozart) and exchange correspondence with E. Duff regarding
                               same (.2); exchange correspondence with asset manager regarding
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Kevin B. Duff, Receiver                                                                               Page 11



    Date      Indiv Hours Description

                               fire damage at property (7943 Essex) (.1).

                               Business Operations

    3/19/2019 KBD         2.00 Telephone conference with property manager regarding use of net operating
                               income to pay outstanding taxes or for other property repair or improvements
                               (.2); exchange correspondence with property manager regarding funds for
                               property use (.1); financial analysis of available funds with
                               K. Pritchard (.1); study analysis of receivership revenue, recoveries, and
                               expenses (.2); telephone conference with property manager and E. Duff
                               regarding property management, property financial analysis, proceeds from sale,
                               timing, court hearing on real estate sale motions, and property manager
                               receivable (.5); telephone conference with E. Duff regarding same (.1);
                               telephone conferences with and study correspondence from E. Duff regarding
                               financial reporting for lenders and study form of report (.6); draft correspondence
                               regarding properties with outstanding real estate taxes (.1); exchange
                               correspondence with property manager regarding confirmation of board up for
                               fire property (7943 Essex) (.1).

                               Business Operations

    3/20/2019 KBD         2.40 Discuss property manager work with M. Rachlis (.4); telephone conference
                               with G. Janes and N. Mirjanich regarding city potential motion to appoint
                               receiver in state court action over two properties (.5); work on receivership
                               financial reporting with E. Duff (.2); review property manager financial
                               reporting with E. Duff (.3); study lender billing statement and exchange
                               correspondence with A. Watychowicz regarding same (.1); confer and
                               exchange correspondence with J. Rak regarding water bill payments (.1);
                               study correspondence from property manager regarding outstanding taxes
                               and payment of same from property cash flows (.2); study bids for porch
                               repairs (7760 Coles and 8107 Ellis) and evaluate same with N. Mirjanich
                               (.3); exchange correspondence with property manager regarding repair and
                               remediation of property (7943 Essex) impacted by fire (.2).

                               Business Operations

    3/21/2019 KBD         2.40 Telephone conference with SEC (.1); discussions with and study
                               correspondence from E. Duff regarding financial reporting for lenders and
                               study draft report form (.3); attention to communications with lender
                               regarding utility lease consent, communications with separate lender
                               regarding city actions and court order relating to porch repairs, and
                               communications with property manager regarding accounting report for
                               cross-collateralized properties (.2); study property manager financial
                               reporting and draft correspondence to asset manager regarding same (.4);
                               study correspondence from property manager regarding CHA move-in (.1);
                               evaluation of cash reserves and payment of real estate taxes and exchange
                               correspondence with E. Duff regarding same (.3); attention to efforts to
                               relocate tenants and vacate property (6160 MLK) and various
                               communications with N. Mirjanich and city official regarding same (.2);
                               analysis of cash reserve, potential sources, and payment of real estate
                               taxes (1700 Juneway) and draft correspondence to E. Duff regarding
                               potential
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Kevin B. Duff, Receiver                                                                                Page 12



    Date      Indiv Hours Description

                               communication with lender's counsel regarding same (.2); study
                               correspondence from and office conference with N. Mirjanich regarding porch
                               repairs (8107 Ellis and 7760 S Coles), tenant relocations, and order
                               compliance (.2); exchange correspondence with A. Porter regarding
                               insurance claim and property sale (.2); study property repair and remediation
                               (7943 S Essex) (.2).

                               Business Operations

    3/22/2019 KBD         1.10 Telephone conference with city official, M. Rachlis, and N. Mirjanich
                               regarding property repair work, federal court proceedings and timing,
                               potential motion in state court for relief, and city concerns (.5) and exchange
                               correspondence regarding same (.1); telephone conference with accounting
                               firm representative and E. Duff regarding financial reporting by property (.2);
                               study profit and loss information from property manager (.2); telephone
                               conference and exchange correspondence with bank representative
                               regarding wire transfer for fire remediation funds (7943 Essex) (.1).

                               Business Operations

    3/26/2019 KBD         0.60 Study correspondence from property manager and exchange
                               correspondence with asset manager regarding property costs analysis and
                               planning (.4); office conference with and study correspondence from N.
                               Mirjanich regarding housing court case (2909 E 78th) (.2).

                               Business Operations

    3/27/2019 KBD         2.10 Exchange correspondence with N. Mirjanich, property manager, and city
                               counsel regarding porch replacement and steps to address safety concerns
                               (.3); exchange correspondence with property manager regarding CHA move-
                               ins and tax payments and office conferences with E. Duff regarding same
                               (1.1); office conference with, study correspondence from relating to
                               spreadsheet issues and property list, and draft correspondence to
                               E. Duff regarding financial reporting (.4); study correspondence from
                               property manager and E. Duff regarding tax payment and analysis of same
                               and cash position of various properties (.3).

                               Business Operations

    3/28/2019 KBD         5.40 Telephone conference and exchange correspondence with property manager
                               regarding unpaid expenses, payment concerns, and determining means of
                               continuing with property management (1.5); various discussions with E. Duff
                               and A. Porter regarding same (.7); exchange correspondence regarding
                               payment of water bill (701 5th Ave., 7616 S Phillips) (.2); evaluate property
                               repair plans and costs with N. Mirjanich (.4); study correspondence from
                               insurance broker regarding policy renewal information and estimate costs
                               (.2); exchange correspondence with M. Rachlis and E. Duff regarding
                               property manager and use of net operating income to cover property
                               expenses (.2); exchange correspondence with E. Duff regarding property
                               manager fund transfer (.2); study analysis of negative cash flow and
                               telephone conference with asset management representative regarding
                               same (.3); exchange correspondence with E. Duff and M. Rachlis regarding
                               proposal for addressing property management and cash flow (1.3); draft
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    Kevin B. Duff, Receiver                                                                              Page 13



         Date       Indiv Hours Description

                                   correspondence to property manager regarding same (.4).

                                   Business Operations

         3/29/2019 KBD        1.70 Exchange correspondence with N. Mirjanich regarding property repair issues
                                   and communications with property manager regarding same (.3); telephone
                                   conference with SEC (.2); study correspondence from property manager and
                                   N. Mirjanich regarding efforts to vacate property and coordination with police
                                   (.2); exchange correspondence with J. Rak regarding outstanding real estate
                                   taxes and study information relating to same (.2); confer and exchange
                                   correspondence with K. Pritchard regarding wire transfer to property
                                   manager for property repair costs (.2); telephone conference with bank
                                   representative regarding same (.1); draft correspondence to property
                                   manager regarding same (.1); study correspondence from property manager
                                   regarding proposal to resolve property management and expense issues (.3);
                                   study correspondence from asset manager regarding contract for porch
                                   repair (8107 Ellis) (.1).

                                   Business Operations


SUBTOTAL:                                                                                 [ 32.20        12558.00]

Case Administration

         3/13/2019 KBD        0.10 Exchange correspondence with K. Pritchard regarding receivers account
                                   balance, deposit, and expense information.

                                   Case Administration

         3/15/2019 KBD        0.10 Study information regarding receivers account information and exchange
                                   correspondence with K. Pritchard regarding same.

                                   Case Administration

         3/21/2019 KBD        0.10 Exchange correspondence and confer with A. Watychowicz regarding access
                                   to electronic records.

                                   Case Administration

         3/29/2019 KBD        0.10 Exchange correspondence with A. Porter regarding review and addressing
                                   mail from former EquityBuild office.

                                   Case Administration


SUBTOTAL:                                                                                 [ 0.40           156.00]

Claims Administration & Objections

         3/5/2019     KBD     1.70 Telephone conference with SEC (.6); work on claims process with M. Rachlis
                                   and N. Mirjanich (1.1)
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Kevin B. Duff, Receiver                                                                              Page 14



    Date       Indiv Hours Description

                               Claims Administration & Objections

    3/9/2019    KBD       0.20 Study correspondence from creditor regarding past relationship with
                               EquityBuild and unpaid invoice (.1); exchange correspondence with N.
                               Mirjanich regarding same (.1).

                               Claims Administration & Objections

    3/12/2019 KBD         0.10 Study records of loan allocation amounts.

                               Claims Administration & Objections

    3/13/2019 KBD         0.50 Study lenders' objections to claims process.

                               Claims Administration & Objections

    3/14/2019 KBD         1.80 Telephone conference with and exchange correspondence with E. Duff
                               regarding financial reporting for lenders (.3); study lenders objections to
                               claims process motion (.5); conferences with M. Rachlis regarding same (.8);
                               study property manager financial report (.2).

                               Claims Administration & Objections

    3/18/2019 KBD         0.10 Review correspondence from N. Mirjanich and plaintiff's counsel regarding
                               state court action, stay, and claims process.

                               Claims Administration & Objections

    3/21/2019 KBD         0.20 Exchange correspondence with A. Watychowicz regarding responses to
                               investors about status and claims process.

                               Claims Administration & Objections

    3/22/2019 KBD         0.10 Study correspondence from claims vendor regarding issues to address in
                               portal planning.

                               Claims Administration & Objections

    3/25/2019 KBD         1.40 Telephone conference with claims service provider team and E. Duff,
                               N. Mirjanich, and A. Watychowicz regarding claims form and process.

                               Claims Administration & Objections

    3/26/2019 KBD         0.60 Office conferences with and review and revise draft correspondence from S.
                               Zjalic regarding notice to creditors (.3); exchange correspondence with A.
                               Porter and A. Watychowicz regarding investor claim to interest in property
                               (7927 Essex) (.2); study correspondence from investor regarding claims
                               process and investor communications (.1).

                               Claims Administration & Objections

    3/27/2019 KBD         2.30 Telephone conference with SEC (.2); office conference with N. Mirjanich
                               regarding response to lenders' objections to claims process motion (.2); study
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    Kevin B. Duff, Receiver                                                                                Page 15



        Date        Indiv Hours Description

                                   and revise draft response to lenders' objections to claims process motion (.9);
                                   study lenders' objections (.5); analysis of same with M. Rachlis (.2); study
                                   investor records regarding claim to interest in property (.3).

                                   Claims Administration & Objections

        3/28/2019 KBD         4.00 Work on response to lenders objections to claims process motion with N.
                                   Mirjanich (.2); study correspondence from SEC (.2); further study and
                                   revise draft response to lenders' objections to claims process (3.6).

                                   Claims Administration & Objections

        3/29/2019 KBD         2.80 Study and revise response to lenders' objections to claims process (2.2);
                                   exchange correspondence and various office conferences with M. Rachlis
                                   and N. Mirjanich regarding same (.5); telephone conference with SEC
                                   (.1).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                   [ 15.80         6162.00]

Corporate Finance

        3/20/2019 KBD         0.10 Draft correspondence to E. Duff regarding financing options.

                                   Corporate Finance

        3/28/2019 KBD         0.20 Discussion with E. Duff and A. Porter regarding efforts to obtain financing.

                                   Corporate Finance

        3/29/2019 KBD         0.30 Exchange correspondence with A. Porter regarding potential financing (.2);
                                   study correspondence from and office conference with E. Duff regarding
                                   potential financing (.1).

                                   Corporate Finance

        3/30/2019 KBD         2.00 Telephone conference with E. Duff regarding property manager
                                   management and financial issues (.2); telephone conference with asset
                                   management representative and E. Duff regarding same (.3); additional
                                   telephone conference with asset manager and E. Duff regarding potential
                                   financing option (.2); telephone conference with M. Rachlis regarding same
                                   and property manager issues (.3); telephone conference with E. Duff
                                   regarding property sale documents (.1); telephone conference with asset
                                   manager and potential lender regarding potential financing terms (.2);
                                   telephone conference with E. Duff and finance professional regarding
                                   potential financing sources (.3); telephone conference with SEC (.2); study
                                   correspondence from M. Rachlis regarding financing (.2).

                                   Corporate Finance
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    Kevin B. Duff, Receiver                                                                             Page 16



        Date       Indiv Hours Description


SUBTOTAL:                                                                               [ 2.60           1014.00]

Employee Issues

        3/11/2019 KBD         0.10 Exchange correspondence with K. Pritchard regarding follow up with
                                   accounting firm representative regarding employees.

                                   Employee Issues


SUBTOTAL:                                                                               [ 0.10             39.00]

Investor Communications

        3/2/2019    KBD       0.10 Review investor voice messages and draft correspondence to A.
                                   Watychowicz regarding same.

                                   Investor Communications

        3/5/2019    KBD       0.10 Exchange correspondence with A. Watychowicz regarding communication
                                   with investor and follow up.

                                   Investor Communications

        3/6/2019    KBD       0.60 Telephone conference with and study correspondence from investor
                                   regarding status and communications. (.6)

                                   Investor Communications

        3/8/2019    KBD       0.30 Review various investor communications and exchange correspondence with
                                   A. Watychowicz regarding same.

                                   Investor Communications

        3/11/2019 KBD         0.20 Review voice messages from investor's relative and investor and
                                   communication with K. Pritchard regarding same (.1); draft correspondence
                                   to N. Mirjanich regarding follow up with investor (.1).

                                   Investor Communications

        3/13/2019 KBD         0.20 Study correspondence from investor and draft correspondence to regarding
                                   property.

                                   Investor Communications

        3/14/2019 KBD         0.10 Exchange correspondence with A. Watychowicz regarding communication
                                   with investor regarding funds.

                                   Investor Communications

        3/17/2019 KBD         0.10 Exchange correspondence with investor regarding investment and claim.
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    Kevin B. Duff, Receiver                                                                                   Page 17



        Date       Indiv Hours Description


                                   Investor Communications

        3/18/2019 KBD         0.10 Exchange correspondence with investor regarding investment and
                                   information regarding defendant.

                                   Investor Communications

        3/19/2019 KBD         0.40 Draft response to investor inquiry regarding property sales and expenses (.3);
                                   study correspondence from investor regarding claim (.1).


                                   Investor Communications

        3/21/2019 KBD         0.10 Review correspondence from investor regarding demand for payment.


                                   Investor Communications

        3/22/2019 KBD         0.10 Office conference with N. Mirjanich regarding communication with investor
                                   regarding investment history and potential issue relating to custodian.

                                   Investor Communications


SUBTOTAL:                                                                                   [ 2.40              936.00]

Status Reports

        3/29/2019 KBD         0.10 Draft correspondence to N. Mirjanich regarding potential information for
                                   status report.

                                   Status Reports


SUBTOTAL:                                                                                   [ 0.10               39.00]

Tax Issues

        3/1/2019    KBD       0.20 Study correspondence from accounting firm representative regarding
                                   extension for 2018 tax returns (.1); office conference with K. Pritchard
                                   regarding same and draft correspondence to accounting firm
                                   representative regarding 2017 tax returns and 2018 extensions (.1).

                                   Tax Issues

        3/4/2019    KBD       0.10 Review voice message from investors regarding tax form inquiries.

                                   Tax Issues

        3/5/2019    KBD       0.20 Review correspondence from former employee regarding W-2 and exchange
                                   correspondence with K. Pritchard regarding same (.1); review
                                   correspondence from accounting firm representative regarding state
                                   workforce commission account closure (.1).
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Kevin B. Duff, Receiver                                                                            Page 18



    Date       Indiv Hours Description


                               Tax Issues

    3/6/2019    KBD       0.10 Review notices from state department of revenue and review
                               correspondence from and office conference with K. Pritchard regarding same.
                               (.1)

                               Tax Issues

    3/7/2019    KBD       0.10 Study correspondence from accounting firm representative regarding entities
                               for which tax returns are being prepared.

                               Tax Issues

    3/8/2019    KBD       0.10 Review correspondence from accountant regarding tax filing extensions.


                               Tax Issues

    3/14/2019 KBD         0.10 Draft correspondence to accounting firm representative regarding issuance of
                               tax forms.

                               Tax Issues

    3/15/2019 KBD         0.20 Exchange correspondence with N. Mirjanich regarding additional entities for
                               tax return preparation (.1); draft correspondence to accounting firm
                               representative regarding potential tax issue (.1).


                               Tax Issues

    3/19/2019 KBD         0.90 Confer with K. Pritchard regarding issuance of 1099s and confirmation of
                               information from accounting firm (.2); telephone conferences with D.
                               Weinberg regarding receivership accounting and use of funds (.6); study
                               correspondence from accounting firm representative regarding state tax
                               payment and reporting (.1).

                               Tax Issues

    3/20/2019 KBD         0.10 Review correspondence from K. Pritchard and accounting firm representative
                               regarding EINs and 1099s.

                               Tax Issues

    3/21/2019 KBD         0.10 Exchange correspondence with accounting firm representatives regarding tax
                               return and form preparation.

                               Tax Issues

    3/22/2019 KBD         0.50 Study financial information from property manager regarding property funds
                               and payment of real estate taxes and draft correspondence to property
                               manager regarding same.

                               Tax Issues
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    Kevin B. Duff, Receiver                                                                            Page 19



         Date     Indiv Hours Description

         3/25/2019 KBD        0.40 Review notice from tax authority regarding taxes owed and office
                                   conference with A. Watychowicz regarding communications relating to same
                                   (.1); draft correspondence to accounting firm representatives regarding tax
                                   return preparation (.3).

                                   Tax Issues

         3/27/2019 KBD        0.30 Telephone conference with and draft correspondence to former EquityBuild
                                   independent contractor regarding Form 1099 and timing (.1); telephone
                                   conference with accounting firm representative and K. Pritchard regarding
                                   same (.1); draft correspondence to other accounting firm regarding
                                   previously requested information relating to same (.1).

                                   Tax Issues

         3/28/2019 KBD        0.10 Study correspondence from investor regarding tax inquiry and exchange
                                   correspondence with accounting firm representative regarding same.

                                   Tax Issues


SUBTOTAL:                                                                                 [ 3.50         1365.00]




                                                                                           91.60      $35,724.00



                                                Summary of Activity
                                                                                  Hours       Rate
Kevin B. Duff                                                                     91.60     390.00    $35,724.00
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    Kevin B. Duff, Receiver                                                     Page 20




                                      SUMMARY


                  Legal Services                                  $35,724.00
                  Other Charges                                        $0.00

                     TOTAL DUE                                   $35,724.00




Balance due                                                                    $35,724.00
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                          EXHIBIT E
 Case: 1:18-cv-05587 Document #: 569 Filed: 11/01/19 Page 89 of 221 PageID #:8389
                        Rachlis Duff Peel & Kaplan, LLC
                                     542 South Dearborn Street
                                                                                          tel (312) 733-3950
                                             Suite 900                                    fax (312) 733-3952
                                       Chicago, Illinois 60605




October 23, 2019

Kevin B. Duff, Receiver
c/o Rachlis Duff Peel & Kaplan LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605



Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                       Fed. I.D. No. XX-XXXXXXX
    Cohen, and Shaun D. Cohen                                                          Invoice No.6622101
    No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


Legal Fees for the period January 2019                                 $122,144.00

Expenses Disbursed                                                           $707.29


Due this Invoice                                                       $122,851.29

Previous Balance                                                               $0.00

Less payments and adjustments                                                  $0.00



TOTAL DUE                                                              $122,851.29
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    Kevin B. Duff, Receiver                                                                               Page 2




        Date        Indiv Hours Description

Asset Analysis & Recovery

        1/2/2019    NM        0.40 Revise motion to clarify receivership assets and correspond with M. Rachlis
                                   on same (.3); draft correspondence to Defendants regarding properties (.1).


                                   Asset Analysis & Recovery

                    AW        1.00 Attention to documents received in response to subpoena to broker.


                                   Asset Analysis & Recovery

                    AEP       1.30 Continue reviewing and reorganizing documents received from former
                                   EquityBuild counsel, analyzing underlying transactions.



                                   Asset Analysis & Recovery

        1/3/2019    NM        1.00 Revise motion to clarify receivership assets.


                                   Asset Analysis & Recovery

                    AEP       1.40 Cursory review of documents produced by real estate brokerage firm
                                   pursuant to subpoena (.2); continue reviewing and reorganizing documents
                                   received from former EquityBuild counsel, analyzing underlying transactions
                                   (1.2).


                                   Asset Analysis & Recovery

        1/4/2019    NM        0.30 Correspond with accountant regarding motion to clarify receivership assets
                                   and study correspondence from same.


                                   Asset Analysis & Recovery

        1/7/2019    AEP       7.00 Perform detailed analysis of all transaction documents associated with two
                                   selected properties (6949 S Merrill and 4533 S Calumet) and begin
                                   preparation of "money trail" spreadsheet for use with investigation into
                                   potential claims against law firm.

                                   Asset Analysis & Recovery

                    MR        0.30 Attention to various emails relating to Defendant, asset related issues and
                                   property disposition and upcoming meeting; attention to property/title issues.


                                   Asset Analysis & Recovery
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Kevin B. Duff, Receiver                                                                               Page 3



    Date       Indiv Hours Description

    1/8/2019    AEP       2.60 Continue reviewing and reorganizing documents received from former
                               EquityBuild counsel, analyzing underlying transactions.

                               Asset Analysis & Recovery

    1/9/2019 KMP          0.30 Conferences with K. Duff and N. Mirjanich regarding statements and other
                               account information still required from asset holder and best method to
                               obtain same.

                               Asset Analysis & Recovery

    1/10/2019 KMP         0.50 Conferences with S. Zjalic regarding review of statements and other account
                               documents received from asset holder and compilation of certain
                               information relating to same (.2); review spreadsheet prepared in
                               connection with same and determine additional categories of information
                               needed (.3).

                               Asset Analysis & Recovery

                SZ        4.20 Cross-referenced bank accounts to track payments associated with
                               EquityBuild defendants and affiliate entities (4.0); conference regarding the
                               above with K. Pritchard (.2).

                               Asset Analysis & Recovery

    1/11/2019 KMP         0.20 Communication from asset holder regarding account transfers and obtaining
                               online access to records, and conference with K. Duff regarding same.

                               Asset Analysis & Recovery

    1/14/2019 SZ          4.50 Continue to cross-referenced bank accounts to track payments associated
                               with EquityBuild defendants.

                               Asset Analysis & Recovery

                AEP       1.40 Continue reviewing and reorganizing documents received from former
                               EquityBuild counsel, analyzing underlying transactions.

                               Asset Analysis & Recovery

    1/15/2019 SZ          1.10 Obtained names of lenders from EB records for lenders invested in property
                               (8100 S. Essex) (.9); office conference with K. Pritchard about the same (.2).

                               Asset Analysis & Recovery
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Kevin B. Duff, Receiver                                                                                  Page 4



    Date        Indiv Hours Description

    1/15/2019 AEP         1.20 Continue reviewing and reorganizing documents received from former
                               EquityBuild counsel, analyzing underlying transactions.



                               Asset Analysis & Recovery

    1/16/2019 KMP         1.10 Review lender/investor records and compile those relating to specific EB
                               property for analysis.

                               Asset Analysis & Recovery

                AEP       1.70 Continue reviewing and reorganizing documents received from former
                               EquityBuild counsel, analyzing underlying transactions.



                               Asset Analysis & Recovery

    1/17/2019 KMP         1.30 Review lender/investor records and compile those relating to specific EB
                               property for analysis.

                               Asset Analysis & Recovery

                SZ        3.40 Obtained names of lenders from EquityBuild records for lenders invested in
                               properties (8100 S. Essex and 6160 S Martin Luther King).


                               Asset Analysis & Recovery

                MR        0.50 Attention to issues regarding appraisals and dealing with issues at properties
                               (.3); conferences with E. Duff regarding same (.2).

                               Asset Analysis & Recovery

    1/18/2019 AEP         1.50 Research files to obtain identities of all potentially applicable title companies
                               and prepare subpoena requesting documents potentially related to investor
                               claims.

                               Asset Analysis & Recovery

                MR        0.30 Attention to emails regarding subpoenas and issues on document collection.

                               Asset Analysis & Recovery

    1/21/2019 SZ          2.70 Obtained names of lenders from EB records for lenders invested in property
                               (6160 S Martin Luther King) and fund.


                               Asset Analysis & Recovery

                NM        0.60 Study correspondence from accountant and draft same in response and revise
                               motion to clarify receivership assets.
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Kevin B. Duff, Receiver                                                                                  Page 5



    Date      Indiv Hours Description


                               Asset Analysis & Recovery

    1/21/2019 MR          0.20 Attention to response from third party on requests for document and follow up
                               on same.

                               Asset Analysis & Recovery

    1/22/2019 AEP         0.50 Teleconference with chairman of law firm that previously served as counsel
                               for EquityBuild and affiliates regarding factual background of litigation and
                               status of the firm's response to receivership document subpoena.

                               Asset Analysis & Recovery

                NM        0.30 Draft response to Defendant’s offer and study revisions from K. Duff
                               regarding same.

                               Asset Analysis & Recovery

                SZ        3.00 Obtained names of lenders from EB records for lenders invested in fund and
                               cross-referenced with emails from investors.

                               Asset Analysis & Recovery

    1/23/2019 KMP         1.20 Further work on chart identifying lender/investors for each property in the EB
                               portfolio currently listed for sale, including review of records and revisions to
                               chart (1.1); communications with EB employee regarding shipment of
                               original loan documents to Receiver (.1).

                               Asset Analysis & Recovery

    1/24/2019 NM          1.00 Study correspondence from accountant and draft same in response and
                               revise motion to clarify receivership assets.

                               Asset Analysis & Recovery

                MR        0.30 Attention to issues on appraisals.

                               Asset Analysis & Recovery

                AEP       0.50 Continue reviewing and reorganizing documents received from former
                               EquityBuild counsel, analyzing underlying transactions.

                               Asset Analysis & Recovery

    1/25/2019 AW          0.20 Prepare comparison of documents regarding property negotiation.

                               Asset Analysis & Recovery
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Kevin B. Duff, Receiver                                                                                 Page 6



    Date      Indiv Hours Description

    1/25/2019 KMP         0.30 Conference with N. Mirjanich regarding notice issue for contractor (.1);
                               prepare notice letter and forward to N. Mirjanich for review (.2).

                               Asset Analysis & Recovery

                SZ        3.80 Reviewed records to prepare list of investors for properties (6160 S MLK Dr.,
                               5001 S. Drexel, 7927 S. Essex) and cross-referenced list against mortgage
                               documents issued for those properties (3.3); office conference with K.
                               Pritchard and N. Mirjanich regarding same (.5).

                               Asset Analysis & Recovery

                NM        1.80 Prepare for meeting with accountant relating to analysis of accounts (.3);
                               office conference with accountant regarding analysis (7); study detailed
                               analysis provided by same (.8).

                               Asset Analysis & Recovery

                MR        3.00 Attention to potential claims (1.5); review and revise document regarding
                               defendant and Court order (1.5).

                               Asset Analysis & Recovery

    1/27/2019 AEP         0.50 Research Illinois law regarding potential claims.

                               Asset Analysis & Recovery

                MR        0.50 Further attention to potential claim related issues and follow up on other
                               e-mails.

                               Asset Analysis & Recovery

    1/28/2019 MR          0.50 Further attention to issues on potential claims.

                               Asset Analysis & Recovery

                SZ        3.20 Continued review of records to prepare list of investors in properties
                               (3); office conference about the same with N. Mirjanich (.2).

                               Asset Analysis & Recovery

                NM        0.50 Study draft document relating to potential claims and exchange
                               correspondence with M. Rachlis, K. Duff, and A. Porter regarding same
                               (.3); revise motion to amend order appointing receiver to include all known
                               entities as Receivership Defendants and exchange correspondence with
                               A. Porter regarding same (.2).

                               Asset Analysis & Recovery

                AEP       1.20 Continue reviewing and reorganizing documents received from former
                               EquityBuild counsel, analyzing underlying transactions.
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    Kevin B. Duff, Receiver                                                                                Page 7



         Date       Indiv Hours Description


                                   Asset Analysis & Recovery

         1/29/2019 NM         0.40 Telephone conference with former EquityBuild employee about recent
                                   information (.3); correspond with K. Duff regarding same (.1).



                                   Asset Analysis & Recovery

                     AEP      2.00 Continue reviewing and reorganizing documents received from former
                                   EquityBuild counsel, analyzing underlying transactions.



                                   Asset Analysis & Recovery

                     KMP      0.30 Communication with accountant following up on request for historic tax
                                   returns (.1); review communication from asset holder regarding ACH issues,
                                   and conference with K. Duff regarding same (.2).


                                   Asset Analysis & Recovery

         1/30/2019 AEP        0.50 Continue reviewing and reorganizing documents received from former
                                   EquityBuild counsel, analyzing underlying transactions.



                                   Asset Analysis & Recovery

         1/31/2019 AEP        0.80 Continue reviewing and reorganizing documents received from former
                                   EquityBuild counsel, analyzing underlying transactions.



                                   Asset Analysis & Recovery

                     NM       0.10 Revise motion to amend order appointing receiver to include all known
                                   entities as Receivership Defendants.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                    [ 68.40       16992.00]

Asset Disposition

         1/2/2019    AEP      3.80 Meeting with title company underwriter regarding background of receivership
                                   litigation, preparation of title examinations in connection with upcoming sale of
                                   property (7927-49 S Essex), and procedures for clearing title on all
                                   forthcoming sales.

                                   Asset Disposition
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    Date       Indiv Hours Description

    1/3/2019    NM        0.90 Study document provided by real estate broker in advance of telephone
                               conference with same (.5); telephone conference with real estate broker and
                               K. Duff, M. Rachlis, and A. Porter regarding disposition of properties (.4).

                               Asset Disposition

                AEP       0.90 Respond to e-mail from counsel for prospective buyer regarding necessity
                               of proof-of-funds letter (.1); teleconference with receivership team regarding
                               selection of second tranche of properties for marketing and public sale (.4);
                               read and respond to latest correspondence from counsel for prospective
                               buyer (.4).

                               Asset Disposition

                AW        0.20 Attention to purchase and sale agreement (5001 S Drexel) and draft
                               correspondence to A. Porter regarding same.

                               Asset Disposition

                MR        0.40 Follow up on email regarding sales and conferences regarding same.

                               Asset Disposition

    1/4/2019    AEP       0.40 Read and reply to e-mails from counsel for prospective buyer.

                               Asset Disposition

    1/5/2019    AEP       7.40 Create or update closing checklists and create closing statements, and
                               assemble information needed to prepare closing documents and obtain
                               necessary governmental approvals for all properties in first sales tranche
                               (4.4); review and analyze title documents and prepare title examinations on
                               two properties (5001 S Drexel and 6160 S Martin Luther King) (3.0).

                               Asset Disposition

    1/6/2019    AEP       6.40 Review and analyze title documents and prepare title examinations on three
                               properties (7547 S Essex, 7500 S Eggleston, and 8100 S Essex).

                               Asset Disposition

    1/7/2019    AEP       3.60 Review files and complete title examination orders with legal descriptions,
                               PIN's, and current titleholders for all properties in second marketing tranche.

                               Asset Disposition

    1/8/2019    AEP       0.80 Teleconference with survey company regarding proposal to perform
                               surveys on properties in first marketing tranche (.2); compile list of
                               addresses, legal descriptions, and PINs for properties in first and second
                               marketing tranches and send to prospective surveyor (.6).

                               Asset Disposition
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    Date       Indiv Hours Description

    1/9/2019    NM        2.30 Draft motion to approve process for public sale and create spreadsheet
                               regarding outstanding water debt and code violations for same (1.7);
                               correspond with K. Duff and A. Porter regarding housing court issues as
                               related to property disposition, sale of properties in EB 1.0, and other property
                               resolutions (6801 South East End and 7616 S Phillips) (.6).

                               Asset Disposition

                AEP       2.00 Teleconference with title underwriter regarding completion of title
                               commitment for final property in first marketing tranche (6160 S Martin
                               Luther King), inclusion of special exceptions for EBF mortgagees, and
                               language of judicial orders necessary to secure waivers of selected
                               exceptions (1.4); teleconference with K. Duff and N. Mirjanich regarding
                               timing of closings of first tranche of properties and critical paths thereto,
                               issues regarding EBF loans on title commitments, and rooftop lease at
                               property being sold (8100 S Essex) (.6).

                               Asset Disposition

    1/10/2019 NM          2.30 Draft motion to approve sale of first set of properties (8100 S. Essex, 7549 S.
                               Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex)
                               (2.2); correspond with K. Duff and property manager regarding outstanding
                               water bills for same and revise spreadsheet to reflect same (.1).

                               Asset Disposition

                AEP       3.00 Prepare title order forms for all properties in second marketing tranche (1.5);
                               teleconference with receivership broker regarding financing contingency
                               language to be inserted into form purchase and sale agreements in second
                               round and other miscellaneous issues (.3); begin reviewing closing
                               checklists on all properties in first tranche, assembling litigation due diligence
                               documents, and transmitting same to counsel for corresponding sellers (1.2).

                               Asset Disposition

    1/11/2019 NM          3.70 Draft and revise motion to approve sale of first set of properties (8100 S.
                               Essex, 7549 S. Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and
                               7933 S. Essex) and correspond with K. Duff and A. Porter regarding same.

                               Asset Disposition

                AEP       1.10 Review closing checklists for all properties in first marketing tranche and
                               finalize all open issues, including due diligence productions, delivery of all
                               joint order escrow forms to title company, and research into current water
                               delinquencies.

                               Asset Disposition

    1/13/2019 AEP         0.60 Review revised charts of pending administrative actions and distribute latest
                               orders to buyers in first marketing tranche (.2); compile and submit all
                               building-specific and earnest money information requested by escrow
                               administrator at title company (.4).

                               Asset Disposition
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    Date      Indiv Hours Description

    1/14/2019 NM          1.70 Draft and revise motion to approve sale of first set of properties (8100 S.
                               Essex, 7549 S. Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and
                               7933 S. Essex) and correspond with K. Duff regarding same.

                               Asset Disposition

                AEP       0.60 Teleconference with receivership broker regarding status of closing process
                               for first marketing tranche and expectations regarding timing of
                               commencement of marketing of second tranche (.2); compile and transmit
                               prior title commitments associated with properties contained in first marketing
                               tranche to receivership surveyor and prepare e-mails introducing surveyor to
                               property managers for purpose of facilitating access (.4).

                               Asset Disposition

    1/15/2019 NM          0.60 Correspond with K. Duff regarding properties (7110 S. Cornell, 7760 S. Coles,
                               and 8107 S. Ellis) and sale of same (.3); correspond with real estate broker
                               regarding properties (7110 S. Cornell, 7760 S. Coles, and 8107 S. Ellis) and
                               sale of same (.2); correspond with both K. Duff and real estate broker
                               regarding properties (7110 S. Cornell, 7760 S. Coles, and 8107 S. Ellis) and
                               sale of same (.1).

                               Asset Disposition

    1/16/2019 NM          1.00 Revise motion to approve public sale process for second round of property
                               sales and revise motion for court approval of the sale of the first round of
                               properties and correspond with A. Porter regarding documents from title
                               company for same.

                               Asset Disposition

                ED        0.50 Confer with N. Mirjanich regarding procedures for distribution of sale
                               proceeds from properties with institutional debt.

                               Asset Disposition

    1/17/2019 NM          1.10 Draft and revise motion to approve sale of first set of properties (8100 S.
                               Essex, 7549 S. Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and
                               7933 S. Essex).

                               Asset Disposition

    1/18/2019 NM          0.30 Update spreadsheet to reflect code violations and other building issues at
                               properties being sold as part of the second property sale and revise motion
                               for sale of first round of properties.

                               Asset Disposition

    1/21/2019 NM          0.90 Study correspondence from real estate broker regarding next rounds of
                               property sales (7110 S. Cornell) (.2); revise motion to approve process for
                               public sale (.3); summarize status of properties in first round of public sale
                               with respect to updates in City litigation and outstanding utility bills (.4).
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    Date      Indiv Hours Description


                               Asset Disposition

    1/22/2019 AEP         1.60 Review and sign survey orders for properties in second marketing tranche
                               (.2); teleconference with survey company associate regarding pricing,
                               payment, and proofing of first batch of surveys (.1); teleconference with title
                               company regarding status of preparation of title commitments for first tranche
                               of properties, processing of title orders for second tranche, and going-forward
                               method for processing title commitments (.3); teleconference with title
                               company regarding itemization of all released or unreleased mortgagees on
                               title commitments for properties presently or previously encumbered by EBF
                               loans (.2); review first draft of surveys for property under contract of sale
                               (7927-49 S Essex), review first draft of title commitments for nearly all
                               properties in first marketing tranche, compare legal descriptions, and provide
                               suggested changes to surveyor and title insurer (.8).

                               Asset Disposition

                NM        1.00 Revise motion to approve process for public sale and study bid instructions
                               for mortgage contingency language (.2); correspond with real estate broker
                               regarding properties (2909 E. 78th Street, 7750 S. Muskegon, and 4520 S.
                               Drexel) and correspond with K. Duff regarding same (.3); correspond with K.
                               Duff regarding property sales (.5).

                               Asset Disposition

    1/23/2019 AEP         1.30 Communications with purchasers of property under contract of sale (5001 S
                               Drexel) regarding production of title commitment and deposit of additional
                               earnest money (.1); read all administrative orders entered in preceding two
                               weeks, make notes in corresponding building purchase and sale files, and
                               notify counsel of orders entered in actions affecting buildings in first marketing
                               tranche (.2); update closing checklists for all properties in first marketing
                               tranche (.3); review second draft of surveys for property under contract of
                               sale (7927-49 S Essex) and provide additional comments to surveyor (.3);
                               prepare title and survey orders for property (7110 S Cornell) to be included in
                               second marketing tranche (.4).

                               Asset Disposition

    1/24/2019 AEP         0.60 Review and approve final draft of survey for property under contract (7927-49
                               S Essex) (.2); teleconference with receivership broker regarding ripple
                               effects of government shutdown on marketing process and proposed
                               revisions to second tranche bid instructions (.3); review and approve survey
                               for property under contract (5001 S Drexel) (.1).

                               Asset Disposition

                ED        3.50 Review mortgage documents and other information regarding properties
                               proposed for sale (6161 S. MLK; 8100 S. Essex) (1.7); meeting with
                               Receiver, M. Rachlis, and N. Mirjanich to discuss handling and application of
                               proceeds of sale of properties (1.8).
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    Date      Indiv Hours Description


                               Asset Disposition

    1/24/2019 NM          5.10 Revise motion to approve the process for the sale of the second round of
                               properties (.2); revise motion to approve the sale of the first round of
                               properties and correspond with K. Pritchard regarding notice for same (2.8);
                               prepare for meeting with K. Duff, E. Duff, and M. Rachlis regarding sales
                               proceeds escrow amounts for the first round of property sales (.3); office
                               conference with K. Duff, E. Duff, and M. Rachlis regarding sales proceeds
                               escrow amounts for the first round of property sales (1.8).

                               Asset Disposition

                MR        3.50 Attention to various issues on property disposition and meetings regarding
                               same.

                               Asset Disposition

    1/25/2019 AEP         0.60 Teleconference with receiver and receivership broker on status of
                               preparation of closing of sales of properties in first marketing tranche
                               (.2); meeting with N. Mirjanich regarding title exceptions to be included in
                               proposed order approving sales of properties in first tranche, notice to
                               affected parties, and other related issues (.4).

                               Asset Disposition

                NM        3.00 Revise motion to approve the process for the sale of the second round of
                               properties and send to K. Duff, M. Rachlis, and A. Porter for comment (.4);
                               revise motion to approve the sale of the first round of properties and
                               correspond with A. Porter regarding title commitments and information
                               regarding same in order (2.1); correspond with K. Pritchard and S. Zjalic
                               regarding notice for the sale of the first round of properties (.5).

                               Asset Disposition

    1/27/2019 AEP         1.00 Review litigation files relating to property to be included in second marketing
                               tranche (7750 S Muskegon) for potential remaining clouds on title relating to
                               housing court and administrative actions (.3); review litigation files relating to
                               property to be included in second marketing tranche (4520 S Drexel) for
                               potential remaining clouds on title relating to housing court and administrative
                               actions (.3); finalize preparation of title examination for property under
                               contract of sale (6160 S Martin Luther King), including preparation of notes
                               regarding language of special exception relating to EBF mortgage (.4).

                               Asset Disposition

    1/28/2019 AEP         1.00 Conference call with N. Mirjanich regarding special exceptions on title
                               commitments relating to properties in first marketing tranche.

                               Asset Disposition

                NM 3.10 Revise motion to approve the sale of the first round of properties (2.1);
                           correspond with A. Porter regarding title commitments and information
                           regarding same in order (1.0).
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    Kevin B. Duff, Receiver                                                                                Page 13



        Date       Indiv Hours Description


                                   Asset Disposition

        1/29/2019 AEP         1.40 Review first drafts of surveys for properties under contract of sale (7500 S
                                   Eggleston, 7549 S Essex, and 8100 S Essex) and make appropriate changes
                                   (.5); update closing checklists for properties in first marketing tranche (.2);
                                   review title commitment for property under contract of sale (6160 S Martin
                                   Luther King) and provide title company with modifications (.1); conference
                                   with N. Mirjanich regarding preparation of motion relating to receivership
                                   properties (.3); research regarding liens (.3).

                                   Asset Disposition

                      NM      2.70 Revise motion to approve the sale of the first round of properties and
                                   correspond with A. Porter regarding title commitments, information regarding
                                   same in order, and filing of same and correspond with K. Duff regarding
                                   same.

                                   Asset Disposition

                      ED      0.40 Update notice information for counsel to lenders with respect to properties to
                                   be sold (6160 S MLK; 5001 S Drexel).

                                   Asset Disposition

        1/30/2019 AEP         1.60 Update closing checklists for all properties in first tranche (.2); review title
                                   commitments and begin preparation of notice list for all properties in first
                                   tranche (.2); continue researching sale issue (.4); begin preparation of motion
                                   to approve sales of properties in first tranche (.8).

                                   Asset Disposition


SUBTOTAL:                                                                                   [ 77.90        26470.00]

Business Operations

        1/2/2019      NM      4.30 Correspond with property manager and K. Duff regarding water bill at
                                   property (7838 S. South Shore Drive) (.1); prepare for administrative court
                                   hearing on the property (at 7959 S. Marquette) and draft correspondence to
                                   property manager regarding same (.3); prepare for and participate in office
                                   conference today with M. Rachlis, K. Duff, E. Duff, and A. Porter regarding
                                   motions to be filed including with respect to asset recovery, approval of sale
                                   of properties, the claims process, and correspond regarding former property
                                   dispute (6801 South East End and 7616 S Phillips) (3.9).

                                   Business Operations

                      AEP     1.50 Meeting with receivership team regarding briefing issues and potential
                                   resolution of disputes with owners of non-receivership properties (7616 S
                                   Phillips and 6801 S East End).
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    Date       Indiv Hours Description


                               Business Operations

    1/2/2019    ED        4.20 Review of loan documents relating to properties listed for sale (6160 S MLK)
                               (.3); meeting with Receiver, M. Rachlis, N. Mirjanich, and A. Porter to discuss
                               pending matters and schedule (3.9).

                               Business Operations

                KMP       0.40 Review notice from state agency regarding employee wage verification
                               statement, and communication with EB accountant requesting verification
                               of same (.2); review available information relating to workers compensation
                               insurance and conference with K. Duff regarding same (.2).

                               Business Operations

                MR        4.40 Participate in meeting and separate conferences regarding motion on Naples,
                               property sales, claims, and emails on same.

                               Business Operations

    1/3/2019    NM        0.90 Correspond with creditor regarding outstanding invoice at property (7635 S.
                               East End) (.1); correspond with property manager regarding court (7959 S.
                               Marquette) (.4); prepare for same (.4).

                               Business Operations

                AEP       1.10 Respond to inquiry from colleague regarding ownership of receivership
                               properties (4755 S St Lawrence) (.1); teleconference with receivership team
                               regarding property-specific issues and potential transfer of administrative
                               actions to housing court (1.0).

                               Business Operations

                ED        0.20 Email correspondence regarding inquiry from lenders’ counsel regarding
                               financial reporting.

                               Business Operations

                AW        0.50 Meeting with N. Mirjanich and K. Pritchard regarding status of case,
                               upcoming deadlines, and division of tasks.

                               Business Operations

    1/4/2019    NM        2.40 Prepare for administrative court for waste management at property (7957 S.
                               Marquette) (.1); appear for status conference for administrative court for
                               waste management at property (7957 S. Marquette) (1.0); correspond with K.
                               Duff, real estate broker, and property manager regarding same and
                               correspond with City attorney and K. Duff and M. Rachlis regarding other
                               property (7616 S. Phillips and 8100 S. Essex) and correspond with property
                               manager regarding property (8100 S. Essex) and revise spreadsheet to
                               reflect current City of Chicago litigation (1.3).
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    Date       Indiv Hours Description


                               Business Operations

    1/7/2019    ED        2.10 Review and reply to questions and requests from lenders and counsel (1.6);
                               review related loan documents (.3); confer with Receiver regarding same
                               (.2).

                               Business Operations

    1/8/2019    NM        1.20 Correspond with A. Watychowicz regarding search of emails for lease on
                               property (8100 S. Essex) and study correspondence relating to same (.2);
                               exchange correspondence with property manager regarding housing court
                               update and prepare for same (1.0).

                               Business Operations

                AEP       0.50 Read and reply to e-mails from parties to prospective purchase and sale of
                               non-receivership property (6801 S East End) (.2); conference call with all
                               parties to proposed purchase and sale of non-receivership property (6801
                               S East End) regarding timing on potential decision by receiver (.3).

                               Business Operations

                AW        1.10 Attention to email regarding investor that filed lis pendens against
                               EquityBuild (.1); locate original complaint against EquityBuild filed in Harris
                               County, Texas and email counsel regarding same (.2); attention to email
                               regarding 2010 lease (8100 Essex) (.1); search emails regarding that
                               transaction (.6); provide information to K. Duff and confer with N. Mirjanich
                               regarding same (.1).

                               Business Operations

    1/9/2019    NM        1.70 Study and respond to outstanding emails including those from property
                               managers and relating to lifting litigation stay (8100 S. Essex) (.6); prepare
                               for housing court and correspond with property manager regarding same
                               (.5); correspond with real estate broker regarding housing court (.3);
                               correspond with K. Duff regarding housing court (.2); correspond with K.
                               Pritchard regarding Wells Fargo bank statements (.1).

                               Business Operations

    1/10/2019 NM          3.20 Prepare for housing court today on properties (8100 S. Essex, 7508 S. Essex,
                               7237 S. Bennett, 7760 S. Coles, 8107 S. Ellis, 7933 S. Essex, 6751 S. Merrill,
                               and 7616 S. Phillips) (.4); appear for status in housing court on properties
                               (8100 S. Essex, 7508 S. Essex, 7237 S. Bennett, 7760 S. Coles, 8107 S.
                               Ellis, 7933 S. Essex, 6751 S. Merrill, and 7616 S. Phillips) (2.4); correspond
                               with K. Duff regarding same (.4).

                               Business Operations

                AEP       1.90 Conference with receivership team regarding analysis of and strategy
                               relating to lender issues (.5); meeting with counsel for
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    Date      Indiv Hours Description

                               non-receivership property (7616 S Phillips) regarding current obstacles to
                               resolution of claims against receivership estate and potential basis for
                               settlement (1.4).

                               Business Operations

    1/10/2019 ED          3.90 Review loan documents for multiple properties pending sale (6160 MLK, 5001
                               Drexel, 4520 Drexel) (2.1); review of documents and information regarding
                               loan reserves in preparation for discussion with Receiver (1.2); confer with
                               Receiver, M. Rachlis, and A. Porter regarding potential resolution of disputes
                               (.6).

                               Business Operations

                MR        1.00 Conferences and follow up regarding various strategic issues and other
                               issues relating to properties and lenders.

                               Business Operations

    1/11/2019 NM          1.60 Correspond with property managers following housing court and revise
                               spreadsheet to reflect status of same (1.2); correspond with E. Duff
                               regarding disposition of properties, statement of receivership assets filed by
                               lenders, and claims (.3); correspond with K. Duff regarding claims, status
                               report, and filing of motion to approve sale of properties (.1).

                               Business Operations

                ED        3.80 Review loan documents relating to additional properties being considered for
                               sale (7625 East End, 1635 East End, 7750 S. Muskegon, 6749 S. Merrill,
                               7600 S. Kingston, 7748 S. Essex, 8326 S. Ellis) (.9); confer with N. Mirjanich
                               regarding statements of receivership assets filed by lenders (.1); continue
                               preparation of summary of loan terms relating to properties to be sold (1.0);
                               confer with Receiver, M. Rachlis, and A. Porter regarding proceeds from
                               sale of properties (1.8).

                               Business Operations

                KMP       0.10 Review proposed request for records to account and conference
                               with K. Duff regarding same.

                               Business Operations

                AEP       1.00 Conference with receivership team to discuss sales proceeds and
                               lenders.

                               Business Operations

    1/14/2019 NM          1.60 Revise spreadsheet to reflect upcoming administrative court matters,
                               correspond with property managers and City attorney regarding same,
                               and prepare for same.
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                               Business Operations

    1/14/2019 ED          0.40 Review and reply to correspondence from lender’s counsel.

                               Business Operations

    1/15/2019 NM          1.30 Prepare for administrative court on January 17th, correspond with property
                               managers regarding same, correspond with City attorney, and attention to
                               new violation (7110 S. Cornell).

                               Business Operations

                KMP       0.40 Review online bank records for Receivership Estate account, and prepare
                               wire transfer request for payment of property insurance premium (.2);
                               conference with K. Duff and communications with bank representative
                               regarding same (.2).

                               Business Operations

                MR        0.30 Attention to issues related to property and City.

                               Business Operations

    1/16/2019 NM          2.70 Draft motion to amend order appointing receiver to include all known affiliate
                               entities (.2); prepare for administrative court and attention to new complaints
                               on properties (7110 S. Cornell and 7933 S. Essex) by corresponding with
                               property managers, exchanging correspondence with K. Duff, and updating
                               spreadsheet to reflect same (2.5).

                               Business Operations

                KMP       0.30 Review online transaction history for Receivership Estate account to confirm
                               receipt of gross rents for December (.1); prepare wire transfer request for
                               funds to property manager for property expense shortfalls for December
                               and communications with K. Duff regarding same (.2).

                               Business Operations

                ED        2.20 Review email correspondence and related documents regarding requests
                               from lenders and counsel for additional financial reporting (.6) and access
                               to properties (.8); draft replies to requests, and email correspondence with
                               Receiver and M. Rachlis regarding same (.8).

                               Business Operations

    1/17/2019 NM          3.50 Prepare for administrative court on 11 matters (.2); appear for administrative
                               court for 1 streets and sanitation violation and 10 buildings court violations
                               (3.3).

                               Business Operations
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    Date      Indiv Hours Description

    1/17/2019 ED          2.00 Email correspondence regarding arrangements for lender property
                               inspections (.4); email correspondence regarding requests for access to
                               properties for duplicative inspections (.8); email correspondence regarding
                               requests for financial reporting and additional related information (.2); review
                               of notes and information relating to prior inspections (.2); confer with and
                               exchange of emails with Receiver and M. Rachlis regarding the foregoing
                               (.4).

                               Business Operations

                KMP       0.40 Attention to communications with EB employee regarding original loan
                               records (.1); review and reconcile Receivership Estate account to online
                               banking records (.3).

                               Business Operations

                AW        1.40 Create list and research regarding Receivership entities’ status with
                               respective states (1.3); email N. Mirjanich regarding same (.1).

                               Business Operations

    1/18/2019 ED          0.40 Email correspondence with Receiver, M. Rachlis, and property manager
                               regarding delivery of financial reporting information in response to
                               lenders’ questions.

                               Business Operations

                NM        2.00 Draft memorandum regarding information from former EquityBuild employee
                               (.9); attention to City litigation matters including updating spreadsheet
                               following administrative court yesterday and exchange correspondence with
                               K. Duff and property manager regarding same (1.1).

                               Business Operations

    1/21/2019 NM          1.00 Study email correspondence in EquityBuild account (.2); study email
                               correspondence from Defendant and correspond with K. Duff regarding
                               response to same (.2); summarize status of outstanding City litigation
                               and further revise spreadsheet for same (.6).

                               Business Operations

    1/22/2019 AEP         1.00 Teleconference with putative mortgagee regarding factual background of
                               acquisition, financing, and sale of former EquityBuild property (6801 S East
                               End) and potential resolution scenarios (.6); work to organize closing
                               statements from refinances of properties in first two marketing tranches
                               (.4).

                               Business Operations

                ED        1.40 Review and reply to email correspondence from inspectors seeking
                               property access for lender’s inspections (1.2); confer with M. Rachlis
                               regarding same (.2).
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    Date      Indiv Hours Description


                               Business Operations

    1/22/2019 KMP         0.30 Prepare wire transfer request for payment of December rent expenses to
                               property manager, and conferences with K. Duff and communications
                               with bank representative relating to same.

                               Business Operations

                NM        3.20 Correspond with K. Pritchard regarding complete entity list from accountant
                               (.1); address pending City litigation matters by drafting correspondence
                               providing and seeking updates from property managers regarding all
                               administrative matters and certain housing matters, correspond with City
                               attorney regarding continuing status tomorrow on property (7109 S.
                               Calumet), draft follow-up email to City attorney, and revise spreadsheet to
                               reflect status of current matters (2.5); correspond with K. Duff regarding
                               outstanding code violations and update from administrative court regarding
                               same (.6).

                               Business Operations

                AW        0.10 Attention to email exchanges regarding third parties’ subpoenas and confer
                               with N. Mirjanich regarding same.

                               Business Operations

                MR        1.10 Attention to issues regarding EquityBuild property (.3); attention to
                               subpoenas to third parties (.3); attention to property inspections and other
                               property-related issues (.5).

                               Business Operations

    1/23/2019 ED          3.10 Review financial reporting to institutional lenders and related messages (.6);
                               review email correspondence and documents regarding investor loans and/or
                               equity interests in certain properties with institutional loans (6951 S Merrill)
                               (2.5).

                               Business Operations

                NM        1.50 Study and respond to outstanding emails relating to subpoenas and in
                               EquityBuild email account (.5); attention to outstanding City litigation matters
                               including exchanging correspondence with City attorney and property
                               manager regarding properties (7109 S. Calumet and 2909 E. 78th Street)
                               (.6); draft correspondence to lenders' counsel regarding complaint on
                               property (7110 S. Cornell) and correspond with K. Duff and M. Rachlis
                               regarding same (.4).

                               Business Operations

                MR        0.40 Attention to various communications on property issues and communicate
                               with N. Mirjanich regarding same.

                               Business Operations
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Kevin B. Duff, Receiver                                                                                   Page 20



    Date      Indiv Hours Description

    1/24/2019 AEP         1.10 Teleconference with owner of former Equity-Build property (6801 S East End)
                               regarding existence and effect of newly-discovered mortgage release,
                               potential avenues to negotiation of settlement, and jurisdictional issues (.8);
                               begin assembling and organizing representative exhibits in anticipation of
                               meeting with assorted lenders' counsel (.3).

                               Business Operations

                ED        0.80 Email correspondence with lender’s counsel regarding access to properties
                               (.1); confer with Receiver, M. Rachlis, and N. Mirjanich regarding agenda for
                               meeting with lender’s counsel to discuss questions for Receiver (.4); email
                               correspondence regarding arrangements for lender property inspections (.3).

                               Business Operations

                NM        0.50 Correspond with K. Duff, M. Rachlis, and E. Duff regarding meeting with
                               lenders, offer to Defendant, and meeting regarding City and code violations
                               (.5).

                               Business Operations

    1/25/2019 ED          1.70 Emails with inspectors and property managers to arrange access to
                               properties by lender representatives (1.3); update information regarding
                               financial reporting and property visits for each property manager (.4).

                               Business Operations

                KMP       0.10 Attention to communication with insurance broker regarding property
                               insurance issues.

                               Business Operations

                NM 0.70 Exchange correspondence with property managers regarding outstanding City
                           litigation and coordinate meeting regarding code violations and property
                           repairs.

                               Business Operations

                AW        0.20 Identify TIN for investors for S. Zjalic (.1); attention to email regarding survey
                                for property (7110-16 S Cornell) and email K. Duff executed proposal (.1).

                               Business Operations

    1/28/2019 KMP         1.90 Compile and organize briefs, exhibits, cited opinions and statutes in
                               connection with upcoming hearing on lender’s motion for rents, and several
                               conferences with A. Watychowicz regarding same (1.8); communication with
                               former EB employee regarding additional original EB documents (.1).

                               Business Operations

                AW        0.20 Attention to order entered by Judge Kim resetting institutional lender's
                               motion for rents hearing and docket update (.1); attention to email from M.
                               Rachlis regarding preparation for hearing (.1).
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Kevin B. Duff, Receiver                                                                                  Page 21



    Date      Indiv Hours Description


                               Business Operations

    1/28/2019 MR          1.00 Prepare for upcoming hearing and follow up regarding same.

                               Business Operations

                ED        1.20 Review files regarding acquisition and financing of properties (.5); review
                               proposals from vendor regarding replacement of equipment on building
                               (6250 S Mozart) (.7).

                               Business Operations

    1/29/2019 AEP         0.20 Conference with M. Rachlis regarding issues to be addressed with lenders at
                               02/01/19 meeting.

                               Business Operations

                NM        1.90 Study EquityBuild documents from former EquityBuild employee (1.3);
                               exchange correspondence with M. Rachlis regarding question from
                               lender (.6).

                               Business Operations

                AW        1.80 Work on preparation of materials for 1/31 hearing regarding institutional
                               lender's motion for rents hearing.

                               Business Operations

               MR         6.20 Preparation for upcoming hearing on issues regarding rent assignments
                               and study various related exhibits and materials regarding same (4.6);
                               conference with A. Porter regarding same (.2); telephone conference with
                               E. Duff regarding property and lender related issues (.7); further confer
                               with E. Duff regarding same (.7).

                               Business Operations

                KMP       0.10 Communication with M. Rachlis regarding account register for Receivership
                               Estate account.

                               Business Operations

                ED        3.80 Call with property manager regarding vendor installation on building roof (3.);
                               review loan documents regarding updates to lease for rooftop equipment
                               (.3); email correspondence with Receiver regarding the foregoing (.1);
                               telephone conference with M. Rachlis regarding information and issues
                               relating to property insurance, real estate taxes, and lender questions, in
                               preparation for meeting with lenders’ counsel (.7); review list of questions
                               and issues raised by lenders' counsel to develop agenda for February 1
                               meeting (.9); draft email to M. Rachlis regarding same (.2); review reply brief
                               in support of motion regarding rents (.6); confer with M. Rachlis regarding
                               same (.7).

                               Business Operations

    1/30/2019 AEP         0.40 Research first installment property tax liability associated with properties in
                               preparation for 02/01/19 meeting.
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Kevin B. Duff, Receiver                                                                               Page 22



    Date      Indiv Hours Description


                               Business Operations

    1/30/2019 ED          3.30 Provide lists of properties by lender to N. Mirjanich to answer inquiries
                               regarding city violation proceedings (.1); review information regarding
                               insurance coverage for mortgaged properties and email to M. Rachlis
                               regarding same (.2); emails relating to property inspection (.1); review and
                               reply to email correspondence from lenders counsel regarding status of
                               property sale (.1) financial reporting questions (.7); review email
                               correspondence from lender regarding financial reporting questions and
                               correspondence with property managers requesting information regarding
                               same (.8); review email correspondence from lender’s counsel regarding
                               property access for second visits (.4); analysis of lender issue and email
                               correspondence with M. Rachlis regarding same (.9).

                               Business Operations

                KMP       1.10 Legal research relating to motion for rents and forward to M. Rachlis for
                               review (.8); review online banking records for Receivership Estate account,
                               compile transaction report for duration of account, and forward to M.
                               Rachlis for review (.3).

                               Business Operations

                NM        2.10 Tend to City violation issues at properties (7110 S. Cornell, 7109 S. Calumet,
                               7933 S. Essex) and exchange correspondence with City attorney, property
                               managers, and draft correspondence to lender regarding property (7110 S.
                               Cornell) (1.6); correspond with A. Watychowicz regarding correspondence
                               sent to investors (.3); revise motion to expand receivership to include all
                               known entities (.2).

                               Business Operations

                MR        8.00 Legal research regarding various issues for upcoming hearing and preparation
                               for hearing, including detailed review of exhibits and related documents, regarding
                               issues on rent assignment and leases (7.8); review correspondence from E. Duff
                               regarding insurance and lender issues (.2).

                               Business Operations

    1/31/2019 NM          0.60 Address outstanding City violations at properties (7110 S. Cornell, 7933 S.
                               Essex, and 7109 S. Calumet) and correspond with property manager and
                               lender regarding same.

                               Business Operations

                AEP       2.20 Teleconference with M. Rachlis to review documents submitted to court in
                               connection with lenders' motion to enforce assignment of rents and leases
                               (1.7); teleconference with team regarding results of hearing on lenders'
                               motion to enforce assignment of rents and leases, related issues, and
                               preparation for 02/01/19 meeting with lenders (.5).
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         Date       Indiv Hours Description


                                   Business Operations

         1/31/2019 ED         2.20 Email correspondence with property manage and counsel regarding financial
                                   reporting questions (.2); draft reply to lender’s counsel regarding access to
                                   properties for second visits and confer with M. Rachlis regarding same (.8);
                                   email correspondence regarding property access for lender's appraisals (.2);
                                   review existing site lease with vendor (6250 S Mozart) (.3); confer with
                                   Receiver and M. Rachlis regarding hearing and preparation for February 1
                                   meeting with lenders' counsel (.7).

                                   Business Operations

                      MR      7.70 Further prepare for and attend hearing and follow up meetings regarding
                                   same (6.0); conferences with A. Porter about hearing and issues
                                   regarding same (1.7).

                                   Business Operations

SUBTOTAL:                                                                                    1[26.00     41613.00]
Case Administration

         1/2/2019     NM      0.50 Re-prioritize task lists for 2019 following office conference.

                                   Case Administration

         1/3/2019     KMP     0.20 Conference with N. Mirjanich and A. Watychowicz regarding status of various
                                   current projects, upcoming assignments and deadlines, and related issues.

                                   Case Administration

         1/18/2019 AW         0.50 Prepare pleadings for website update (.4); email IT vendor regarding same
                                   (.1).

                                   Case Administration

         1/23/2019 AEP        0.20 Read through all EquityBuild e-mail received during preceding week and
                                   respond as necessary.

                                   Case Administration

         1/28/2019 NM         0.10 Study outstanding emails in the EquityBuild account for information and
                                   responses.

                                   Case Administration


SUBTOTAL:                                                                                    [ 1.50          332.00]

Claims Administration & Objections

         1/1/2019     AEP     3.20 Review and analyze current draft of proof of claim form and begin revising
                                   same.
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    Date       Indiv Hours Description


                               Claims Administration & Objections

    1/2/2019    NM        1.50 Address matters with respect to the claims process including a telephone
                               conference with vendor regarding the claims portal, correspond with E. Duff
                               and K. Duff regarding same, correspond with E. Duff regarding sale proceeds
                               and claims form.

                               Claims Administration & Objections

                ED        1.10 Telephone conference with claims vendor regarding electronic claims form
                               (.4); preparation for same (.5); confer with N. Mirjanich regarding claims form
                               (.2).

                               Claims Administration & Objections

                KMP       0.70 Teleconference with bank IT representative, E. Duff and N. Mirjanich
                               regarding additional information relating to claims database and
                               mechanics of platform for claimants' submission of claims information (.5);
                               brief follow-up conference with E. Duff and N. Mirjanich (.2).

                               Claims Administration & Objections

    1/3/2019    NM        1.10 Correspond with K. Duff, E. Duff, M. Rachlis, and A. Porter regarding the
                               claims motion and form (.4); correspond with E. Duff regarding claims form
                               (.7).

                               Claims Administration & Objections

                AEP       0.40 Teleconference with receivership team regarding issues associated with
                               preparation of proof of claim form.

                               Claims Administration & Objections

                ED        8.80 Review and revise draft of claims form (7.6); conferences with Receiver, N.
                               Mirjanich, and A. Porter regarding same (1.2).

                               Claims Administration & Objections

                MR        0.40 Discussions on claims issues.

                               Claims Administration & Objections

    1/4/2019    NM        5.30 Revise motion to approve claims process and claims forms, study comments
                               from E. Duff and A. Porter regarding same, and correspond with K. Duff
                               regarding same.

                               Claims Administration & Objections

                AW        1.40 Meeting with N. Mirjanich regarding claims process form and additional
                               information necessary to complete form (.3); research regarding same (.9);
                               confer with N. Mirjanich regarding results (.2).

                               Claims Administration & Objections
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    Date        Indiv Hours Description

    1/5/2019    NM        2.60 Revise claims form and motion for same and draft correspondence regarding
                               same and proposed timeline.

                               Claims Administration & Objections

    1/7/2019    ED        2.80 Review and revise draft of claims form.

                               Claims Administration & Objections

    1/9/2019    NM        0.20 Study E. Duff comments on draft claims form.

                               Claims Administration & Objections

                AEP       0.20 Teleconference with K. Duff and N. Mirjanich regarding claims form process.

                               Claims Administration & Objections

                KMP       1.30 Participate in meeting with accountant, K. Duff, M. Rachlis, and
                               N. Mirjanich regarding issues relating to claims forms and review and analysis
                               of information to be submitted by claimants, and discussing various
                               accounting and legal issues relating to same.

                               Claims Administration & Objections

    1/13/2019 AEP         2.50 Study, edit and revise latest draft of proposed proof of claim form.

                               Claims Administration & Objections

    1/14/2019 NM          6.30 Prepare for meeting regarding claims form by studying latest draft of same
                               (.2); office conference with K. Duff, M. Rachlis, E. Duff, and A. Porter to work
                               through claims form and claims process (5.9); revise claims form (.2).

                               Claims Administration & Objections

                AEP       5.90 Meeting with receivership team to discuss modifications to proof of claim form
                               and claims process.

                               Claims Administration & Objections

                ED        4.50 Confer with Receiver, M. Rachlis, A. Porter, and N. Mirjanich regarding claims
                               process and revisions to proof of claim form.

                               Claims Administration & Objections

                MR        6.00 Attention to emails regarding various receivership issues (.1); review draft
                               claims form and work on various aspects of claims form with K. Duff, E. Duff,
                               N. Mirjanich, and A. Porter (5.9).
                               Claims Administration & Objections

    1/15/2019 NM          4.60 Revise claims form and correspond with K. Duff and M. Rachlis regarding
                               same.

                               Claims Administration & Objections

    1/16/2019 NM          2.20 Revise claims form and motion for approval of same, and correspond with E.
                               Duff and A. Watychowicz regarding same.
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    Date      Indiv Hours Description


                               Claims Administration & Objections

    1/16/2019 ED          0.40 Confer with N. Mirjanich regarding revisions to proof of claim form.

                               Claims Administration & Objections

                AW        0.70 Meeting with N. Mirjanich regarding revisions to claim form (.2); apply
                               requested revisions (.4); email N. Mirjanich regarding same (.1).

                               Claims Administration & Objections

                MR        0.40 Attention to email to lenders and follow up regarding same with E. Duff.

                               Claims Administration & Objections

    1/17/2019 NM          0.40 Study comments from A. Watychowicz on draft claims form and draft
                               questions to claims portal vendor regarding claims form.

                               Claims Administration & Objections

                AW        1.10 Study claims form and email N. Mirjanich regarding same.

                               Claims Administration & Objections

    1/18/2019 ED          1.30 Draft language for proof of claims form relating to claims by institutional
                               lenders.

                               Claims Administration & Objections

                KMP       0.30 Prepare notice letter and transmittal to attorneys for potential claimant and
                               conference with N. Mirjanich regarding same.

                               Claims Administration & Objections

                NM        0.70 Study comments from E. Duff on draft claims form and draft questions to
                               claims portal vendor regarding claims form (.5); correspond with K.
                               Pritchard regarding creditor and study emails and other documents to
                               determine status and if notice was sent (.2).

                               Claims Administration & Objections

                AW        0.10 Attention to email from creditor and follow up with N. Mirjanich regarding
                               same.

                               Claims Administration & Objections

    1/21/2019 KMP         0.20 Conference with K. Duff regarding insurer's inquiry as to claim, and
                               prepare email response to inquiry.

                               Claims Administration & Objections

                NM        0.70 Study comments on claims form from A. Watychowicz and E. Duff and study
                               list of all LLC entities in connection with motion for same (.3); correspond
                               with property manager regarding creditor and services at property (7635 S.
                               East End) (.2);
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    Date      Indiv Hours Description

                               correspond with property manager regarding creditor and services at
                               property (7836 S. South Shore Drive) (.2).

                               Claims Administration & Objections

    1/22/2019 NM          0.80 Revise claims form and send to K. Duff, E. Duff, M. Rachlis, and A. Porter for
                               comment (.6); correspond with K. Duff regarding claims process (.2).

                               Claims Administration & Objections

                MR        0.40 Follow up on issues with institutional lenders and meetings with same (.2);
                               conferences on issues with claims process (.2).

                               Claims Administration & Objections

    1/24/2019 NM          0.20 Correspond with K. Duff and K. Pritchard regarding notice to creditor
                               and outstanding invoice from same.

                               Claims Administration & Objections

    1/25/2019 NM          0.10 Correspond with creditor regarding outstanding invoice.

                               Claims Administration & Objections

                KMP       0.40 Conference with N. Mirjanich and S. Zjalic regarding preparation of
                               spreadsheet identifying investors, lenders, and others having potential claims
                               to any of the EB properties currently for sale for notice purposes.

                               Claims Administration & Objections

    1/26/2019 MR          1.00 Attention to revised claims process issue (.5); communication on upcoming
                               meeting and begin review of questions raised by lenders for meeting with
                               lenders (.5).

                               Claims Administration & Objections

    1/29/2019 MR          1.30 Further attention to question from lenders in preparation for meeting (1.0);
                               follow up and attention to claims process related issues (.3).

                               Claims Administration & Objections

                SZ        3.50 Continued to work on notice list for claims process (3.2); office conference
                               with Nicole Mirjanich about the same (.3).

                               Claims Administration & Objections

    1/30/2019 ED          2.50 Conference call with K. Duff, M. Rachlis, A. Porter, and N. Mirjanich regarding
                               claims form and claims process (2.3); preparation for same (.2).

                               Claims Administration & Objections

                NM        4.70 Telephone conference with K. Duff, M. Rachlis, A. Porter, and E. Duff
                               regarding claims form (2.3); revise claims form (2.1); revise claims motion
                               (.3).
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        Date       Indiv Hours Description


                                   Claims Administration & Objections

        1/30/2019 AEP         1.50 Teleconference with receivership team regarding latest draft of proposed
                                   claims form.

                                   Claims Administration & Objections

                    MR        1.80 Follow up and attention to issues on claims process, work on various issues
                                   regarding meeting with lenders and attention to various issues and e-mails
                                   regarding upcoming meeting with lenders.

                                   Claims Administration & Objections

        1/31/2019 NM          0.40 Study A. Porter and E. Duff revisions and comments on claims form.

                                   Claims Administration & Objections

                    AEP       3.30 Read, edit, and revise latest draft of proof of claim form.

                                   Claims Administration & Objections

                    ED        1.80 Review and revise updated draft of proof of claim form.

                                   Claims Administration & Objections

                    AW        1.60 Confirm exact names of entities listed on exhibit A of claims form (1.4); confer
                                   with N. Mirjanich regarding progress, estimated time to complete, issues with
                                   Ill. Secretary of State website (.2).

                                   Claims Administration & Objections

                    MR        2.90 Attention to revised claims process pleadings (.2); preparation for discussion
                                   with investors and work on issues for meeting with lenders (2.0); conferences
                                   with E. Duff, A. Porter and K. Duff regarding same (.7).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                    [ 97.50      30961.00]

Investor Communications

        1/2/2019    AW        0.20 Attention to emails from investors that require response.

                                   Investor Communications

        1/3/2019    AW        0.60 Attention to email regarding investor’s TIN and search for same (.2); reach
                                   out to investor and request to provide TIN (.2); respond to emails from
                                   investors (.2).

                                   Investor Communications

        1/8/2019    AW        1.10 Attention to emails from investors and email responses from K. Duff (.2);
                                   respond to investors on K. Duff’s behalf (.9).
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    Date       Indiv Hours Description


                               Investor Communications

    1/9/2019    AW        0.40 Attention to emails from investors and draft response for K. Duff's review.

                               Investor Communications

    1/10/2019 AW          1.00 Attention to emails from investors (.2); respond to investors on K. Duff's
                               behalf (.8).

                               Investor Communications

    1/17/2019 AW          0.70 Respond to emails from investors on behalf of K. Duff.

                               Investor Communications

    1/18/2019 AW          0.70 Attention to voicemail from investor and respond via email (.1); attention to
                               emails from investors and respond to same (.6).

                               Investor Communications

    1/21/2019 NM          0.30 Correspond with investor and his attorney regarding status and in response
                               to email received (.2); correspond with A. Watychowicz regarding email
                               correspondence to investor (.1).

                               Investor Communications

    1/22/2019 AW          0.50 Respond to emails from investors.

                               Investor Communications

    1/25/2019 AW          0.20 Monitor EB Receiver email for inquiries from investors and confer with K. Duff
                               regarding appropriate responses.

                               Investor Communications

    1/29/2019 AW          0.10 Email K. Duff regarding issues raised by investors and request feedback on
                               proposed response.

                               Investor Communications

    1/30/2019 AW          2.00 Attention to emails from investors (.2); respond to various investors' inquiries
                               on behalf of K. Duff (1.8).

                               Investor Communications

    1/31/2019 NM          0.10 Correspond with A. Watychowicz regarding correspondence to investor.


                               Investor Communications

                AW        0.70 Call investor with status update (.5); confer with N. Mirjanich regarding same
                               (.1); email K. Duff regarding issues mentioned by investor (.1).
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        Date       Indiv Hours Description


                                   Investor Communications


SUBTOTAL:                                                                                  [ 8.60          1252.00]

Status Reports

        1/5/2019    NM        0.50 Draft second status report.

                                   Status Reports

        1/17/2019 AW          0.70 Attention to email from N. Mirjanich regarding request to create updated list of
                                   entities (.1); meeting with N. Mirjanich regarding Receivership entities listed
                                   on Status Report (.2); create list of entities listed in Status Report excluding
                                   Receivership entities (.4).

                                   Status Reports

        1/28/2019 NM          2.40 Draft second status report.

                                   Status Reports


SUBTOTAL:                                                                                  [ 3.60            852.00]

Tax Issues

        1/2/2019    KMP       0.40 Review documents received from EB accountant regarding third quarter
                                   wage and tax reports, and conference with K. Duff regarding same (.2);
                                   forward documents to receivership estate accountant for review (.2).

                                   Tax Issues

        1/3/2019    AEP       0.20 Respond to inquiries from EquityBuild accountants regarding tax
                                   identification numbers of various EquityBuild affiliates.

                                   Tax Issues

                    NM        1.20 Correspond with K. Pritchard and A. Watychowicz regarding information
                                   accountant needs in order to file tax returns (.8); exchange
                                   correspondence with property managers regarding same (.4).

                                   Tax Issues

                    KMP       0.60 Telephone conference with K. Duff and EB tax accountant regarding status
                                   of preparation and information still needed for 2016 and 2017 entity tax
                                   returns (.3); follow-up conferences with K. Duff, N. Mirjanich and A.
                                   Watychowicz regarding same (.2); communications with A. Porter regarding
                                   same (.1).

                                   Tax Issues
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    Date       Indiv Hours Description

    1/7/2019    KMP       0.30 Prepare email correspondence to accountant regarding responses to
                               certain questions relating to tax return preparation for property entities.

                               Tax Issues

    1/9/2019    KMP       1.70 Participate in meeting with accountant, K. Duff, M. Rachlis, and
                               M. Mirjanich regarding preparation of various 2018 tax returns and filings
                               (1.1); prepare email correspondence to accountant regarding tax form (.2);
                               review communication from N. Mirjanich regarding additional information
                               obtained in response to accountant’s list of open items for preparation of
                               2016-2017 tax returns, and forward responses to accountant (.3); prepare
                               email correspondence to A. Porter regarding additional open items (.1).

                               Tax Issues

                NM        2.10 Correspond with property managers and K. Pritchard regarding
                               information needed by accountant (.2); office conference with K. Duff, K.
                               Pritchard, M. Rachlis, and accountant regarding analysis needed relating
                               to tax return and questions regarding same (1.9).

                               Tax Issues

    1/10/2019 NM          0.10 Correspond with K. Pritchard regarding LLC information needed for
                               accountant.

                               Tax Issues

                KMP       1.80 Participate in telephone conference with K. Duff and accountants regarding
                               tax issues relating to the qualified settlement fund and the various LLCs
                               (1.1); communications with accountants regarding scheduling conference
                               call to discuss documentation required for filing of 2018 1099s (.2);
                               conferences with K. Duff, N. Mirjanich and A. Porter regarding LLC tax issue
                               on open items list, and review various documents and spreadsheets to
                               obtain information relating to same (.4); communications with counsel for
                               investor/lender requesting member information for LLC tax return (.1).

                               Tax Issues

    1/11/2019 KMP         0.20 Review communication from accountant regarding additional information
                               required for preparation of 2017 tax returns, and forward same to A. Porter
                               for comment (.1); prepare email communication to investor/lender's counsel
                               requesting entity member information in connection with same (.1).

                               Tax Issues

    1/15/2019 KMP         0.80 Email communications and telephone conference with accountants
                               regarding materials for preparation of Forms 1099 (.4); prepare
                               correspondence to EB employee requesting
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Kevin B. Duff, Receiver                                                                              Page 32



    Date      Indiv Hours Description

                               assistance in preparing report relating to same and follow-up conference with
                               K. Duff (.2); communication with accountant regarding preparation of W-2s
                               for EB employees for 2018 (.1); review communication from accountants
                               identifying records for past tax filings (.1).

                               Tax Issues

    1/17/2019 AEP         0.80 Research acquisition of property (1139 E 79th Street) and provide transaction
                               information to accountants.

                               Tax Issues

                KMP       0.40 Review information received from investor/lender’s counsel providing
                               information for tax return preparation, and forward same to accountant (.2);
                               review documentation and efforts to gain online access to payroll records for
                               purposes of preparing 2018 forms 1099 (.2).

                               Tax Issues

    1/18/2019 NM 0.60 Exchange correspondence with property managers regarding information for
                          tax return preparation.

                               Tax Issues

                KMP       0.70 Telephone conference with accountant regarding issues relating to
                               preparation of forms 1099 for 2018 and accountant's comments on 3Q2018
                               wage reports (.3); communications with payroll vendor regarding efforts to
                               gain online access to payroll records for purposes of preparing 2018 forms
                               1099 (.2); communication with accountant forwarding additional information
                               for preparation of 2017 tax returns (.2).

                               Tax Issues

    1/21/2019 NM          0.10 Correspond with property manager regarding information needed for
                               accountant and study same.

                               Tax Issues

                KMP       1.70 Telephone conference with accountant and K. Duff regarding issues relating
                               to preparation of forms 1099 and W-2 for 2018 (.6); finalize and prepare
                               transmittals for 3Q2018 wage reports (.6); communications with payroll
                               vendor requesting payroll records for purposes of preparing 2018 forms W-2
                               (.2); download payroll documentation and communications with D. Weinberg
                               regarding same (.1); review notice from state agency regarding past due
                               withholding taxes (.1); communication with accountant requesting copies of
                               all available tax returns they prepared (.1).

                               Tax Issues

    1/22/2019 KMP         2.40 Participate in telephone conference with accountants and K. Duff
                               regarding issues relating to preparation of various tax forms (.4);
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Kevin B. Duff, Receiver                                                                             Page 33



    Date      Indiv Hours Description

                               review and compile documents and information and prepare spreadsheet
                               providing payroll details for Receiver's payments to EB employees for
                               purposes of issuing forms W-2 (1.7); prepare email correspondence to
                               accountant requesting additional information for same (.1); communications
                               with K. Duff and accountants regarding tax filing status of entity (.2).

                               Tax Issues

    1/23/2019 NM          0.50 Correspond with K. Pritchard and property managers regarding
                               information needed by accountant.

                               Tax Issues

                KMP       0.40 Further communications with K. Duff and accountants regarding tax filing
                               status of entity and filing of 2017 tax return (.1); review information from
                               property manager regarding rental information requested by accountant and
                               discuss same with N. Mirjanich (.2); prepare email communication to
                               accountant forwarding information (.1).

                               Tax Issues

    1/24/2019 KMP         1.30 Review information from accountant regarding breakdown of taxes paid in
                               connection with payroll for EB employees (.1); complete spreadsheet for
                               Receiver’s payments to EB salaried employees for 2018 and forward to
                               accountant (1.1); forward form 1099-Int received from asset holder to
                               account for tax preparation (.1).

                               Tax Issues

    1/25/2019 KMP         0.90 Communication with accountant requesting additional reporting information
                               for specific payroll periods for EB employees (.1); several communications
                               with accountant regarding various issues relating to her preparation of
                               forms 1099s for EB salaried employees in 2018, and forward certain
                               additional reports and information (.8).

                               Tax Issues

    1/26/2019 KMP         0.20 Further communications with accountant and K. Duff regarding various issues
                               relating to preparation of forms 1099s for EB salaried employees in 2018.

                               Tax Issues

    1/28/2019 KMP         0.60 Communication with payroll vendor regarding their response to request for
                               additional reporting information for specific payroll periods for EB
                               employees (.1); review received forms and forward to accountant
                               preparation of forms 1099s for EB salaried employees in 2018 (.3); compile
                               recent bank statements for Receivership Estate and forward to tax
                               administrator (.2).
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   Kevin B. Duff, Receiver                                                                           Page 34



       Date      Indiv Hours Description


                                  Tax Issues

       1/29/2019 KMP         0.30 Review documents received from property manager relating to rental income
                                  for 2017, and forward same to tax accountant for preparation of entity tax
                                  returns for 2017 (.2); conference with N. Mirjanich regarding same (.1).


                                  Tax Issues

       1/31/2019 KMP         0.20 Communications with K. Duff and accountant regarding status of completion
                                  and method of transmitting forms W-2 for former EB employees.


                                  Tax Issues


SUBTOTAL:                                                                              [ 20.50        3672.00]




                                                                                       404.00     $122,144.00
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    Kevin B. Duff, Receiver                                                                Page 35




Other Charges

                                      Description

Asset Analysis & Recovery

                                      Postage for January 2019                                 5.81


SUBTOTAL:                                                                             [        5.81]

Business Operations

                                      Online research for January 2019                       267.08

                                      Software licenses for Google, InSynq (January          188.00
                                      2019)

                                      Photocopies for January 2019                           246.40


SUBTOTAL:                                                                             [      701.48]


Total Other Charges                                                                         $707.29




                                     Summary of Activity
                                                                      Hours       Rate
Nicole Mirjanich                                                     114.30     260.00    $29,718.00
Ania Watychowicz                                                      21.00     140.00     $2,940.00
Kathleen M. Pritchard                                                 28.30     140.00     $3,962.00
Stoja Zjalic                                                          29.40     110.00     $3,234.00
Andrew E. Porter                                                      92.90     390.00    $36,231.00
Ellen Duff                                                            64.30     390.00    $25,077.00
Michael Rachlis                                                       53.80     390.00    $20,982.00
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    Kevin B. Duff, Receiver                                                     Page 36




                                     SUMMARY


                  Legal Services                                $122,144.00
                  Other Charges                                    $707.29

                     TOTAL DUE                                  $122,851.29




Balance due                                                                   $122,851.29
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                         Rachlis Duff Peel & Kaplan, LLC
                                         542 South Dearborn Street
                                                                                            tel (312) 733-3950
                                                 Suite 900                                   fax (312) 733-3952
                                           Chicago, Illinois 60605




October 24, 2019

Kevin B. Duff, Receiver
c/o Rachlis Duff Peel & Kaplan LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
    Cohen, and Shaun D. Cohen                                                            Invoice No.6622101
    No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



Legal Fees for the period February 2019                                 $146,231.00

Expenses Disbursed                                                           $1,086.18


Due this Invoice                                                        $147,317.18

Previous Balance                                                                $0.00

Less payments and adjustments                                                   $0.00



TOTAL DUE                                                               $147,317.18
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    Kevin B. Duff, Receiver                                                                             Page 2




        Date        Indiv Hours Description

Asset Analysis & Recovery

        2/1/2019    MR        0.50 Attention to issues on Defendants' related motions and negotiations regarding
                                   receivership assets (.2); issues on potential claims (.3).


                                   Asset Analysis & Recovery

                    AEP       0.30 Meeting with receiver to discuss status of subpoenas and potential claims.


                                   Asset Analysis & Recovery

        2/2/2019    MR        0.20 Issues on potential claims.

                                   Asset Analysis & Recovery

        2/3/2019    MR        0.40 Issues on motion to amend to add additional entities.

                                   Asset Analysis & Recovery

        2/4/2019    AEP       0.60 Continue reorganizing, reviewing, and analyzing transaction documentation
                                   and recording all relevant events in chronology.

                                   Asset Analysis & Recovery

                    MR        0.10 Issues on potential claims and third parties.

                                   Asset Analysis & Recovery

                    NM        0.70 Correspond with A. Watychowicz regarding EquityBuild documents from
                                   former counsel (.6); correspond with A. Watychowicz regarding device
                                   imaging (.1).

                                   Asset Analysis & Recovery

        2/5/2019    AW        0.70 Review records received from EB's former counsel (.6); confer with N.
                                   Mirjanich regarding same (.1).

                                   Asset Analysis & Recovery

                    AEP       1.40 Continue reorganizing, reviewing, and analyzing transaction documentation
                                   and recording all relevant events in chronology.

                                   Asset Analysis & Recovery

                    MR        0.30 Issues on Defendants' motions and negotiations.

                                   Asset Analysis & Recovery

        2/6/2019    AEP       0.90 Continue reorganizing, reviewing, and analyzing transaction documentation
                                   and recording all relevant events in chronology.
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Kevin B. Duff, Receiver                                                                                Page 3



    Date       Indiv Hours Description


                               Asset Analysis & Recovery

    2/7/2019    AEP       0.70 Continue reorganizing, reviewing, and analyzing transaction documentation
                               and recording all relevant events in chronology.

                               Asset Analysis & Recovery

    2/11/2019 NM          0.90 Study and respond to correspondence regarding accountant's analysis of
                               Defendants' assets (.2); revise motion to clarify receivership assets (.5); study
                               draft agreement sent by K. Duff with respect to offer to Defendant and draft
                               correspondence to same (.2).


                               Asset Analysis & Recovery

                AEP       2.10 Review and analyze documents regarding methods by which EquityBuild
                               acquired single-family homes, generated rehabilitation fees, and created
                               partnership agreements governing distribution of profits following successful
                               flips.

                               Asset Analysis & Recovery

    2/12/2019 NM          1.20 Study correspondence from accountant regarding analysis and revise
                               motion accordingly.


                               Asset Analysis & Recovery

                AEP       1.60 Begin using public records to review and analyze transactions relating to
                               EquityBuild acquisition, financing, and sale of single-family homes and
                               supplement chronology of events accordingly.

                               Asset Analysis & Recovery

                MR        0.30 Work on Naples motion.

                               Asset Analysis & Recovery

    2/13/2019 AEP         0.70 Use available public records to review and analyze transactions relating to
                               EquityBuild acquisition and financing of single-family homes and supplement
                               chronology of events accordingly.

                               Asset Analysis & Recovery

                MR        0.60 Work on Naples motion and affidavit supporting same.

                               Asset Analysis & Recovery

                NM        0.10 exchange correspondence with Defendant regarding the Receiver's offer
                               and correspond with K. Duff regarding same.

                               Asset Analysis & Recovery
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    Date        Indiv     Hours Description

    2/14/2019 NM           0.80 Revise motion to amend order to include specific assets.


                                Asset Analysis & Recovery

                AEP        0.70 Use available public records to review and analyze transactions relating to
                                EquityBuild acquisition and financing of single-family homes and supplement
                                chronology of events accordingly.

                                Asset Analysis & Recovery

    2/18/2019 AEP          2.10 Review and analyze documents pertaining to EquityBuild transactions with
                                outside investor and update chronology of events.

                                Asset Analysis & Recovery

                MR         0.20 Attention to potential claims issues.

                                Asset Analysis & Recovery

                NM         0.70 Correspond with K. Duff, M. Rachlis, and A. Porter regarding potential claims
                                and documents relating to same (.1); correspond with K. Duff regarding offer
                                to Defendant and response to same (.1); correspond with K. Duff, M. Rachlis,
                                and A. Porter regarding resolution on other properties (.5).



                                Asset Analysis & Recovery

    2/19/2019 NM           2.60 Telephone conference with accountant regarding motion to amend receivership
                                to specifically include assets and accountant's revisions to affidavit for same
                                (.2); correspond with K. Duff regarding same (.2); revise same following
                                comments from M. Rachlis and K. Duff and office conferences regarding same
                                (2.0); study correspondence from Defendant regarding request to continue
                                motion and correspond with K. Duff regarding the same (.2).


                                Asset Analysis & Recovery

                AEP        2.30 Use available public records to review and analyze transactions relating to
                                EquityBuild acquisition and financing of single-family homes and supplement
                                chronology of events accordingly (2.1); read and respond to e-mails from
                                investors regarding status of potential resolution of claims involving former
                                EquityBuild property (.2).
                                .

                                Asset Analysis & Recovery

                KMP        0.20 Conference with N. Mirjanich regarding request for balance information for
                                defendants' frozen accounts (.1); communication with asset holder to request
                                same (.1).

                                Asset Analysis & Recovery
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    Date      Indiv Hours Description

    2/19/2019 MR          0.80 Conferences on Naples motion and review of same.

                               Asset Analysis & Recovery

    2/20/2019 MR          0.80 Work on further edits to the Naples property motion (.6); conferences with N.
                               Mirjanich regarding affidavit (.2).

                               Asset Analysis & Recovery

                NM        1.80 Study comments from M. Rachlis and K. Duff on the motion to amend
                               receivership to specifically include assets and revise the same (.9);
                               telephone conference with accountant regarding the same (.2); study detail
                               sent by accountant to be used as summary exhibit to affidavit (.2);
                               correspond with accountant regarding same (.2); correspond with K. Duff
                               and M. Rachlis regarding same (.3).

                               Asset Analysis & Recovery

                AEP       2.00 Use available public records to review and analyze transactions relating to
                               EquityBuild acquisition and financing of single-family homes and supplement
                               chronology of events accordingly (1.4); prepare and send e-mail to all
                               mortgagees of record on former EB property (.6).

                               Asset Analysis & Recovery

                KMP 0.30       Prepare and transmit notice of receivership to state agency and
                               conference with N. Mirjanich to confirm no receivership entities reside in
                               that state.

                               Asset Analysis & Recovery

    2/21/2019 NM          1.70 Study detail sent by accountant to be used as summary exhibit to affidavit
                               and correspond with accountant regarding same.

                               Asset Analysis & Recovery

                AEP       1.00 Use available public records to review and analyze transactions relating to
                               EquityBuild acquisition and financing of single-family homes and supplement
                               chronology of events accordingly (.8); read and respond to e-mail from owner
                               of former EquityBuild property (6801 S East End) regarding status of
                               communications with mortgagees (.2).

                               Asset Analysis & Recovery

                MR        0.30 Attention to Naples filing.

                               Asset Analysis & Recovery

    2/22/2019 AEP         0.10 Prepare correspondence to former EquityBuild counsel regarding filing of
                               anticipated rule to show cause.
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Kevin B. Duff, Receiver                                                                               Page 6



    Date      Indiv Hours Description


                               Asset Analysis & Recovery

    2/23/2019 AEP         0.30 Review and analyze documents pertaining to status of former EquityBuild
                               property (8107 S Coles) in connection with claim by former EquityBuild
                               investor.

                               Asset Analysis & Recovery

    2/25/2019 AEP         2.80 Review and analyze documents pertaining to early EquityBuild transactions
                               relating to single-family homes and add information to property-specific
                               chronologies.

                               Asset Analysis & Recovery

                KMP       0.30 Communications with asset holder requesting updated list of balances with
                               respect to accounts restricted per temporary restraining order (.2);
                               communications with N. Mirjanich regarding response to same (.1).

                               Asset Analysis & Recovery

                NM        1.10 Correspond with accountant regarding summary detail to be used as
                               summary exhibit to affidavit and study and revise same and motion
                               accordingly.

                               Asset Analysis & Recovery

    2/26/2019 MR          0.20 Attention to email from Defendant regarding settlement related issues (.1);
                               conference with N. Mirjanich regarding Naples related motion (.1).

                               Asset Analysis & Recovery

                KMP       1.90 Review communications from asset holder regarding current account
                               balances and compare lists of same to previously received list, annotating
                               differences (.7); draft correspondence to asset holder requesting explanation
                               and documentation regarding differing account balances and prepare
                               annotated chart regarding same (1.2).

                               Asset Analysis & Recovery

                AEP       2.70 Review and analyze documents pertaining to early EquityBuild transactions
                               relating to single-family homes and add information to property-specific
                               chronologies.

                               Asset Analysis & Recovery

    2/27/2019 AEP         2.10 Review and analyze documents pertaining to early EquityBuild transactions
                               relating to single-family homes and add information to property-specific
                               chronologies.
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    Kevin B. Duff, Receiver                                                                                 Page 7



         Date       Indiv Hours Description


                                   Asset Analysis & Recovery

         2/27/2019 KMP        1.60 Review further communications from asset holder regarding current account
                                   balances and compare lists of same to previously received list, annotating
                                   differences (.8); revise draft correspondence to asset holder requesting
                                   explanation and documentation regarding differing account balances and
                                   prepare annotated chart regarding same (.8).

                                   Asset Analysis & Recovery

                     NM       1.20 Correspond with accountant regarding summary detail to be used as
                                   summary exhibit to affidavit and study (.5); study and comment on same for
                                   review by accountant (.7).

                                   Asset Analysis & Recovery

         2/28/2019 NM         1.10 Study and revise motion to amend order and exhibits thereto.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                    [ 48.00        15663.00]

Asset Disposition

         2/1/2019    NM       3.60 Prepare for meeting with title company (.2); appear for meeting with title
                                   company attorney and A. Porter regarding title commitments for the first sale
                                   of properties (2.5); study and exchange email correspondence with attorney
                                   for title company following meeting (.1); correspond with K. Duff, A. Porter,
                                   and M. Rachlis regarding the sale of the first round of properties (.4);
                                   correspond with E. Duff regarding sale of first and second round of
                                   properties and lenders for same (.4).

                                   Asset Disposition

                     AEP      2.90 Meeting with N. Mirjanich and title company underwriter regarding waiver
                                   of specific title exceptions from commitments issued on properties in first
                                   tranche, preparation of title invoices for properties in first tranche, and
                                   language of judicial order necessary to ensure waiver of remaining title
                                   exceptions (2.5); preparation of motion to approve sales of properties in
                                   first marketing tranche, and preparation for and timing of closings of
                                   sales of properties in first marketing tranche (.4).

                                   Asset Disposition

         2/2/2019    AEP      0.90 Review newly-received administrative and housing court complaints relating
                                   to properties in second marketing tranche (.1); study and correct first draft of
                                   survey for property in first marketing tranche (6160 S Martin Luther King) (.2);
                                   complete title reinsurance underwriting form in connection with sale of
                                   property in first marketing tranche (5001 S Drexel) (.3); read and analyze
                                   regulatory agreement identified as special exception on title commitment for
                                   property in first marketing tranche (7500 S Eggleston) and instruct title insurer
                                   regarding same (.3).
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Kevin B. Duff, Receiver                                                                                  Page 8



    Date       Indiv Hours Description


                               Asset Disposition

    2/3/2019    MR        0.70 Issues on motion on sales process.

                               Asset Disposition

    2/4/2019    NM        1.00 Correspond with S. Zjalic regarding notice for the motion to approve the sale
                               of the first round of properties and legal research on same and provide
                               information for same (.4); correspond with E. Duff regarding sale of first and
                               second round of properties and lender issues for same (.5); study comments
                               from M. Rachlis on motion to approve process of second sale of properties
                               (.1).

                               Asset Disposition

                AEP       5.10 Edit, revise, and continue preparation of motion to approve sales of
                               properties contained in first marketing tranche.

                               Asset Disposition

                ED        1.00 Review correspondence and documents from broker (.6); begin
                               review of loan documents relating to properties proposed for sale (.4).

                               Asset Disposition

    2/6/2019    AEP       0.30 Review final draft of all surveys in first marketing tranche and request
                               authorization to distribute to buyers' counsel (.2); assemble and provide
                               information relating to single-family homes in receivership estate to K. Duff
                               (.1).

                               Asset Disposition

    2/8/2019    NM        0.10 Correspond with A. Porter and K. Duff regarding status of filing motion to
                               approve first tranche of property sales.

                               Asset Disposition

                AEP       1.50 Review latest drafts of all title commitments and distribute title commitments,
                               title invoices, and surveys to counsel for all buyers in first marketing tranche
                               (.4); teleconference with title underwriter regarding waiver of corporate
                               authority special exceptions from title commitments (.2); update all closing
                               checklists (.1); research title history of receivership property (6250 S Mozart)
                               and report findings to E. Duff (.2); conference call with receivership broker
                               regarding status of motions to approve sales of properties in first and second
                               marketing tranches and related issues (.2); communications with counsel for
                               purchaser of receivership property (7927-49 S Essex) regarding attempts to
                               split transaction into five separate title commitments and closings (.2);
                               assemble copies of recorded documents listed as special exceptions on title
                               commitments to properties being sold in first marketing tranche (6160 S
                               Martin Luther King and 8100 S Essex) (.2).
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Kevin B. Duff, Receiver                                                                                 Page 9



    Date       Indiv Hours Description


                               Asset Disposition

    2/9/2019    AEP       9.40 Review title commitments, title invoices, purchase and sale contracts, water
                               bills, property tax bills, listing agreement and other materials, prepare closing
                               figures, and begin preparation of motion to approve sales of certain
                               receivership properties (7500-08 S Eggleston, 7549-59 S Essex, and 7927-49
                               S Essex).

                               Asset Disposition

    2/10/2019 AEP         7.10 Review title commitments, title invoices, purchase and sale contracts, water
                               bills, property tax bills, and other materials, prepare closing figures, and
                               continue preparation of motion to approve sales of certain receivership
                               properties (5001-05 S Drexel, 6160-6212 S Martin Luther King, and 8100 S
                               Essex); study, edit, and revise consolidated motion and transmit to team with
                               explanation of remaining issues to be resolved prior to filing.

                               Asset Disposition

    2/11/2019 AW          0.30 Meeting with N. Mirjanich and K. Pritchard regarding EB 1.0 and notice to
                               investors, creditors, and interested parties.

                               Asset Disposition

                NM        7.10 Correspond with K. Duff, M. Rachlis, K. Pritchard, and A. Watychowicz
                               regarding notice for the motion to approve the sale of the first tranche of
                               properties (.4); revise notice for same (.6); correspond with A. Porter
                               regarding status of motion for same and revisions to same (.1); study motion
                               to approve sale of the first tranche of properties from A. Porter, revise motion
                               to approve the first tranche of property sales, and correspond with K. Duff, M.
                               Rachlis, A. Porter, and real estate broker regarding same (5.9); correspond
                               with K. Duff, M. Rachlis, and real estate broker regarding sale prices for the
                               second sale of properties (.1).

                               Asset Disposition

                AEP 0.20       Review and analyze water bills relating to properties in first marketing tranche
                               (7927-49 S Essex), then update closing figures and modify motion to approve
                               sales accordingly.

                               Asset Disposition

    2/12/2019 NM          1.50 Study and respond to correspondence from A. Porter regarding motion to
                               approve the sale of the first property tranche (.1); study same and correspond
                               with M. Rachlis, E. Duff, and K. Duff regarding same (.9); study comments on
                               same from E. Duff, M. Rachlis, and K. Duff (.5).

                               Asset Disposition

                AEP       5.90 Study, edit, and revise latest draft of motion to approve sales of properties in
                               first marketing tranche (3.3); review updated title commitments and invoices
                               and revise closing statements to incorporate comments from team (1.1);
                               research regarding proposed order and finalize and circulate first draft of
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    Date      Indiv Hours Description

                               same (1.5).

                               Asset Disposition

    2/12/2019 MR          1.60 Conferences and review of e-mails regarding sale of properties and review of
                               draft motion and order regarding same.

                               Asset Disposition

    2/13/2019 NM          2.60 Revise motion to approve the first tranche of property sales incorporating
                               comments from E. Duff and M. Rachlis and correspond with A. Porter and K.
                               Duff regarding same.

                               Asset Disposition

                AEP       4.50 Review updated title commitments on various properties in first marketing
                               tranche and revise motion to approve sale accordingly (.5); teleconference
                               with N. Mirjanich regarding suggested modifications to motion to approve sale
                               (.2); perform final reconciliation of litigation information and title commitments
                               and prepare e-mails to title company questioning non-inclusion of various
                               administrative actions from special exceptions (.5); study, edit, and revise
                               provisionally final draft of proposed motion to approve sale (1.2);
                               correspondence and communications with title company regarding proposed
                               changes to proposed judicial order authorizing sale and prepare proposed
                               revised order (1.3); revise appendix of exhibits to correspond to changes in
                               structure of brief (.2); additional communications with title company regarding
                               proposed order authorizing sale (.2); revise proposed order to incorporate
                               latest comments received from title company (.4).

                               Asset Disposition

                MR        0.70 Conferences and review of e-mails regarding sale of properties and review of
                               draft motion and order regarding same.

                               Asset Disposition

    2/14/2019 NM          2.50 Correspond with K. Duff and A. Porter regarding motion to approve the sale
                               of the first tranche of properties and motion to approve the process for the
                               second sale (1.8); draft notice section for motion to approve the sale of the
                               first round of properties (.5); study and exchange email correspondence with
                               A. Porter and title company regarding sale of first tranche of properties (.2).

                               Asset Disposition

                AEP       2.00 Teleconference with title company underwriters regarding form of proposed
                               order accompanying motion to approve sale and associated notice issues
                               (.6); teleconference with K. Duff and N. Mirjanich regarding title company
                               position regarding form of proposed order and potential avenues to resolving
                               impasse and additional revisions to motion to approve sale (.9);
                               teleconference with K. Duff regarding title company issues with proposed
                               order (.5).

                               Asset Disposition
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Kevin B. Duff, Receiver                                                                                  Page 11



    Date      Indiv Hours Description

    2/15/2019 AW          4.60 Confer with N. Mirjanich and K. Duff regarding notice relating to properties
                               listed for sale and every investor (.3); study and confirm that certificate of
                               service to motion for sale is accurate (1.6); confer with A. Porter regarding
                               same and provide additional explanation as to specific registrations (.2); draft
                               notices of motions and confirm presentment date (.4); attention to exchanges
                               regarding multiple revisions to motions and exhibits (.5); work on filing of
                               motions, accompanying exhibits, and notices (1.6).

                               Asset Disposition

                NM        6.70 Revise motion for court approval of the sale of the first tranche of properties
                               and correspond with K. Duff, A. Watychowicz, A. Porter regarding the same
                               and filing and service of the same (5.0); telephone conference with title
                               company and with A. Porter and K. Duff regarding same (.2); revise motion
                               to approve the process for the second sale and correspond with K. Duff, A.
                               Porter, and A. Watychowicz regarding filing of same (1.5).

                               Asset Disposition

                AEP       5.50 Teleconference with title company underwriters regarding proposed resolution
                               to impasse over title clearing issues (.3); telephone conference with title
                               company underwriters, K. Duff, and N. Mirjanich regarding resolution of
                               impasse regarding waiver of certain special exceptions (.2); legal research
                               regarding issue relating to sale of properties (.8); revise proposed order
                               approving sale to incorporate title company comments (1.3); study, edit, and
                               revise motion for approval of sale (1.9); analyze, edit, and revise service list,
                               comparing same to recorded mortgages (.6); edit and revise proposed order
                               to incorporate second sets of comments from title underwriters (.4).

                               Asset Disposition

    2/16/2019 AW          4.50 Service of motion to approve sale of first tranche of properties.

                               Asset Disposition

    2/17/2019 MR          0.30 Conferences regarding terms for motion and follow up on e-mails regarding
                               motion for second motion for sale.

                               Asset Disposition

    2/18/2019 JR          3.60 Office conference with brokers and attorneys, K. Duff, N. Mirjanich, A.
                               Porter and M. Rachlis regarding the portfolio disposition (1.9);
                               continue office conference regarding further discussion on the
                               portfolio disposition (1.7).

                               Asset Disposition

                MR 2.40 Follow up on various e-mails and issues raised regarding sale of second
                            tranche of properties (.4); further meetings regarding issues on same
                            (2.0).

                               Asset Disposition
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    Date      Indiv Hours Description

    2/18/2019 NM          4.30 Study email correspondence from investors regarding notice of motion for the
                               first sale of properties and correspond with A. Watychowicz regarding
                               responses to same (1.2); study email correspondence from M. Rachlis, E.
                               Duff and K. Duff regarding same from lenders' counsel (.2); study
                               spreadsheet from real estate broker with updated property disposition
                               analysis in advance of meeting for same (.2); strategy and planning with real
                               estate broker and K. Duff, M. Rachlis, and A. Porter regarding disposition of
                               second tranche, third tranche, and possible other properties to dispose of
                               (1.9); further correspond with K. Duff, M. Rachlis, and A. Porter regarding
                               same (.5); update spreadsheet for code violations for the second tranche of
                               properties for A. Porter (.3).

                               Asset Disposition

                AEP       2.00 Participate in receivership team meeting with outside broker regarding
                               properties proposed to be included in third marketing tranche (1.0);
                               participate in receivership team meeting regarding potential resolution of
                               claims involving non-receivership properties (6801 S East End and 7616 S
                               Phillips) and case coordination matters (1.0).

                               Asset Disposition

    2/19/2019 JR          4.60 Prepare for closing process with A. Porter (.5); review and further prepare
                               closing checklist and create various closing documents and templates for all
                               properties (1.8); begin preparation of closing documents for same (2.3).

                               Asset Disposition

                NM        2.20 Study objections to the motion to approve the sale of the first tranche and to
                               approve the process for the second tranche and correspond (.9); correspond
                               with M. Rachlis regarding same (.1); office conference with A. Porter and J.
                               Rak regarding closing information for the first tranche of property sales (.9);
                               correspond with E. Duff regarding the second tranche of property sales (.2);
                               study EquityBuild email account for responses relating to motion to approve
                               sale of the first tranche of properties (.1).

                               Asset Disposition

                AEP       6.00 Lengthy meeting with J. Rak to review the entire asset disposition process
                               from initial motion for leave to closing of sale, update closing checklists for
                               properties in first marketing tranche, create closing checklists for properties in
                               second marketing tranche, analyze title history for property in second
                               marketing tranche (638 N Avers), prepare initial drafts of various closing
                               documents, and contact property managers requesting information needed
                               for closings.

                               Asset Disposition

                MR        1.80 Attention to preparation for upcoming hearing on various motions (1.2);
                               conferences and follow up regarding objections to motion to approve sales
                               with lender's counsel, A. Porter and K. Duff (.6).

                               Asset Disposition
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Kevin B. Duff, Receiver                                                                                 Page 13



    Date      Indiv Hours Description

    2/20/2019 AW          1.40 Prepare service list as per A. Porter's request and email him regarding same.

                               Asset Disposition

                JR        4.10 Further drafting of closing documents (1.9); research of same needed for
                               closing of all properties (2.2).

                               Asset Disposition

                NM        0.30 Study and exchange correspondence regarding properties in the second
                               tranche of sale (.1); study draft email responses from A. Watychowicz in
                               response to questions from investors and creditors resulting from the filing of
                               the motion to approve the sale of the first tranche (.2).

                               Asset Disposition

                AEP       1.50 Study, edit, and revise proposed e-mail from J. Rak to buyers of properties in
                               first marketing tranche regarding information needed to complete preparation
                               of closing documents (.1); review updated title history for property in first
                               marketing tranche (7927-49 S Essex), revise title commitment accordingly,
                               and return to title company with revisions (.5); review updated title history for
                               property in first marketing tranche (7500 S Eggleston), revise title
                               commitment accordingly, and return to title company with revisions (.3).

                               Asset Disposition

    2/21/2019 JR          6.60 Continue drafting closing documents for all properties in the first tranche
                               (5.1); confirm delinquent 2017 Real Estate Taxes and 1st installment
                               payment for 2018 Real Estate Taxes along with the proration percentage
                               (1.2); exchange correspondence with buyer's counsel regarding buyer
                               information in preparation for closing (.3).

                               Asset Disposition

                AEP       1.20 Review updated title history for remaining properties in first marketing tranche
                               (7549-59 S Essex, 5001 S Drexel, 6160 S Martin Luther King, and 8100 S
                               Essex), revise title commitment accordingly, and return to title company with
                               revisions.

                               Asset Disposition

    2/22/2019 JR          4.80 Preparation of closing documents (7927-49 S. Essex).

                               Asset Disposition

                AEP       0.40 Review special exceptions on updated title commitments to ensure all
                               modifications were properly made.

                               Asset Disposition
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Kevin B. Duff, Receiver                                                                               Page 14



    Date      Indiv Hours Description

    2/23/2019 AEP         0.70 Finalize revisions to proposed single-family home representation agreement
                               and circulate to team.

                               Asset Disposition

    2/25/2019 JR          3.50 Exchange correspondence with A. Porter regarding the second tranche
                               checklist update (.1); exchange correspondence with A. Porter sending
                               deed for review (.1); office conference with A. Porter reviewing closing
                               documents and title documents that need to be sent to title company for the
                               first tranche (1.3); prepare closing documents for property (638-40 N.
                               Avers) (1.8); exchange correspondence with buyer counsel regarding buyer
                               information in preparation for closing (6160 Martin Luther King and 8100
                               Essex) (.2).

                               Asset Disposition

                AEP       2.40 Meeting with J. Rak regarding all presently outstanding closing-related tasks
                               associated with sales of properties in first marketing tranche and information
                               to be assembled and populated into closing checklists for properties in
                               second marketing tranche (1.3); review updated title commitments and
                               responses received from buyers' counsel and revise closing checklists
                               accordingly (1.1).

                               Asset Disposition

    2/26/2019 JR          3.50 Exchange correspondence with A. Porter requesting a review of lien and for
                               signature to broker (.1); exchange correspondence to management company
                               requesting closing document information in preparation for closing (.1);
                               exchange correspondence with other management company requesting
                               same (.2); exchange correspondence with broker requesting an updated
                               commission statement and request waiver of lien for signature (.2); exchange
                               correspondence with title company attorney to inquire about closing
                               documents (.1); update closing checklists with new buyer information that
                               was provided by buyer's counsel (2.8).

                               Asset Disposition

    2/27/2019 JR          4.70 Complete and email broker waiver of liens to A. Porter for the first tranche
                               (.2); updated all checklists with updated closing documents (1.8); exchange
                               correspondence with updates received from buyer counsel and added on all
                               closing documents for the first tranche (2.7).

                               Asset Disposition

    2/28/2019 JR          4.00 Telephone communication regarding payment of delinquent taxes (.5);
                               created an excel spreadsheet regarding 2017 and 2018 taxes, proofread
                               and finalize (2.5); exchange correspondence with buyer counsel
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    Kevin B. Duff, Receiver                                                                              Page 15



        Date       Indiv Hours Description

                                   regarding sale of property and requesting information for closing (7927-49 S.
                                   Essex) and review buyer counsel's email with requested information for same
                                   (.4); review spreadsheets for lender regarding taxes that have been paid for
                                   applicable properties (.5). exchange correspondence with attorney from the
                                   title company regarding approval of closing documents (.1).

                                   Asset Disposition

SUBTOTAL:                                                                                   1[50.10      41842.00]
Business Operations


        2/1/2019      AW      0.50 Preparation to meeting with institutional lenders' counsel.

                                   Business Operations

                      ED      6.50 Meeting with lenders' counsel to discuss various questions and issues
                                   regarding receivership (1.4); meet with K. Duff and M. Rachlis to prepare for
                                   same (3.3); discussion and email correspondence with lender's counsel
                                   regarding proposal to minimize costs to receivership of providing access to
                                   certain properties on multiple dates (1.4); email correspondence with lender's
                                   counsel and property manager regarding financial reporting and evidence of
                                   insurance (.4).

                                   Business Operations

                      KMP     0.30 Review bank and property records to determine payments made to property
                                   manager for property expenses, and communicate same to K. Duff (.2);
                                   conference with K. Duff regarding upcoming payment for property
                                   insurance (.1).

                                   Business Operations

                      NM      0.20 Revise motion to amend order appointing receiver to include all known
                                   entities as Receivership Defendants (.1); draft correspondence to M. Rachlis
                                   and K. Duff with drafts of motions to file next week (.1).

                                   Business Operations

        2/4/2019      AW      1.00 Attention to email regarding lawsuit against EquityBuild and request
                                   supporting documents (.1); continue and complete work on confirming
                                   receivership defendants (.7); communicate with N. Mirjanich regarding
                                   new entity that surfaced during searches (.1); email to K. Duff et al.
                                   regarding same and attention to responses (.1).

                                   Business Operations
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    Date       Indiv Hours Description

    2/4/2019    NM        2.90 Prepare for housing court tomorrow on properties (7933 S. Essex and 7110
                               S. Cornell), administrative court on Wednesday on property (7109 S.
                               Calumet), and correspond with property managers regarding same (.9);
                               prepare for meeting with City of Chicago regarding property repairs and
                               code compliance (1.7); correspond with EquityBuild's counsel regarding
                               lawsuit (.3).

                               Business Operations

                 ED       0.60 Review and reply to email questions from lender's counsel regarding financial
                               reporting and evidence of insurance (.3); email correspondence regarding access
                               to properties for lender appraisals (.3).

                               Business Operations

                KMP       0.20 Prepare wire transfer request form for insurance premium payment and
                               communications with bank regarding processing of wire transfer.

                               Business Operations

    2/5/2019    MR        0.30 Prepare for City meeting.

                               Business Operations

                NM        5.10 Prepare for housing court today on property (7933 S. Essex) and
                               administrative court tomorrow on property (7109 S. Calument) and
                               correspond with property manager regarding same (.4); appear for housing
                               court on property (7933 S. Essex) and correspond with City attorney
                               regarding other properties and matters (1.3); correspond with M. Rachlis and
                               K. Duff following housing court (.2); update spreadsheet to reflect same and
                               correspond with property manager regarding same (.3); prepare for meeting
                               with City of Chicago regarding property repairs and code compliance and
                               correspond with K. Duff and M. Rachlis regarding same (.8); prepare for and
                               participate in meeting with SEC (2.1).

                               Business Operations

                ED        1.10 Email correspondence regarding visits to property by lender's appraisers
                               (.4), and financial reporting (.5); telephone call with M. Rachlis regarding
                               contracts for sale (.2).

                               Business Operations
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Kevin B. Duff, Receiver                                                                               Page 17



    Date       Indiv Hours Description

    2/6/2019    AW        0.60 Assist counsel with preparation for meeting with City of Chicago counsel.

                               Business Operations

                MR        2.20 Prepare for and participate in meeting with City officials and follow up
                               discussion regarding same (2.0); issues regarding upcoming status and third
                               parties (.2).

                               Business Operations

                NM        3.80 Prepare for meeting regarding property repairs and code compliance and
                               revise and print spreadsheet highlighting efforts to address code issues for
                               same (.6); attend meeting with City, M. Rachlis and K. Duff and correspond
                               with M. Rachlis and K. Duff regarding same (1.5); prepare for administrative
                               court on property (7109 S. Calumet) (.2); appear for administrative court on
                               property (7109 S. Calumet) (1.2); correspond with property manager
                               regarding same and update spreadsheet to reflect same (.1); revise motion
                               to amend and clarify appointing order to include all know entities and study
                               comments from M. Rachlis on same (.2).

                               Business Operations

                ED        2.60 Email correspondence to property manager regarding updated financial
                               reporting information (.1); confer with M. Rachlis regarding lenders'
                               questions (.3) and results of meetings with City building department and
                               with SEC (.2); legal research regarding corporate issue (.8); review and
                               reply to email correspondence from property manager regarding site lease
                               (.4); review questions from lender regarding financial reporting, and related
                               information from property managers (.3); email correspondence with replies
                               to requests for information (.5).

                               Business Operations

    2/7/2019    NM        0.80 Correspond with K. Duff and A. Watychowicz regarding status conference
                               today and updates as to filings from same (.2); draft correspondence to
                               former EB attorneys regarding documents sent and notices of violation (.2);
                               telephone call with former EB employee regarding information relating to
                               Defendant (.1); correspond with K. Duff and City of Chicago commissioner
                               secretary following meeting yesterday and study list of single-family home
                               portfolio to send to same (.2); study email correspondence in EB email
                               account relating to understanding investor issues and status (.1).

                               Business Operations

                ED        4.40 Review correspondence and documents regarding site lease (.4); review
                               documents regarding transfer of property title (.9); email correspondence with
                               A. Porter regarding same (.2); review multiple emails regarding financial
                               reporting questions from lender (.4); calls and email correspondence with
                               property managers regarding same (.3) and review of reports and related
                               documents to begin drafting replies (1.6); review notes and documents
                               regarding outstanding inquiries from various lenders and counsel regarding
                               mortgaged properties (.6).

                               Business Operations
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Kevin B. Duff, Receiver                                                                                Page 18
    2/8/2019 NM         0.90 Study and respond to correspondence with the City of Chicago following
                             meeting regarding property repairs and code compliance and correspond
                             with A. Porter, K. Duff, and real estate broker regarding a list of single-family
                             home portfolio to send to same.

                              Business Operations

                AEP      2.10 Research ownership of former EB property and insurance issue (.2); research
                              and record first installment 2018 Cook County property tax liability for all
                              properties in receivership portfolio (1.9).

                              Business Operations

                ED       5.10 Call with property manager regarding cancellation by inspector of
                              scheduled visit, and emails to inspector and property manager to
                              reschedule (.2); email correspondence with property manager regarding
                              financial reporting requests from lender (.1); review financial reporting
                              documents sent to lenders (.5); begin draft of reply to lender regarding
                              financial reporting questions (.9) and email correspondence to K. Duff
                              and M. Rachlis regarding same (.2); review files regarding site lease
                              and assignment and assumption upon property acquisitions (1.4); review
                              email correspondence from lessee regarding steps required to approve
                              requested changes to lease (.1) and email correspondence and
                              telephone conferences with K. Pritchard and property manager
                              regarding same (.4); review documents relating to loans and other
                              claims on properties being considered for sale (1.3).

                              Business Operations

    2/11/2019 AW         1.40 Attention to email regarding entities included as receivership defendants (.2);
                              analysis of notice to all creditors, investors, and others and confer with N.
                              Mirjanich regarding same (.5); attention to email regarding online vendor (.1);
                              meeting with K. Duff regarding steps to take relating to same (.1); draft email
                              to former EB employee regarding technology issue (.2); meeting with K. Duff
                              regarding EB website (.1); draft language for revision to website to inform
                              investors regarding necessity to whitelist emails and email team regarding
                              same (.2)

                              Business Operations

                NM       0.40 Study and respond to outstanding emails including those from K. Duff
                              regarding status of device imaging, records, and other creditors and requests.


                              Business Operations
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    Date      Indiv Hours Description


    2/11/2019 KMP         0.30 Conference with N. Mirjanich and A. Watychowicz regarding method and
                               timing for providing notice of upcoming listing of additional receivership
                               properties for sale, and further conferences with A. Watychowicz regarding
                               form of notice.

                               Business Operations

                ED        4.00 Review comments on draft correspondence to lender regarding financial
                               reporting (.2); review of related financial reporting documents from
                               September through November (2.9); confer with M. Rachlis and N.
                               Mirjanich regarding same (.6); emails to property managers and inspectors
                               regarding scheduling property access (.2); confer with N. Mirjanich
                               regarding difference between loan balance and recorded lien on property
                               held for sale (.1).

                               Business Operations

    2/12/2019 MR          0.40 Attention to issues raised by City (.1); attention to motion for reappointment
                               and provide edited copy (.3).

                               Business Operations

                NM        1.10 Study and respond to outstanding emails relating to meeting with City of
                               Chicago official, a former property (7616 S. Phillips), and from the EB email
                               account (.1); revise the motion amend and clarify the order appointing
                               receiver with respect to receivership defendants, study comments from M.
                               Rachlis regarding same (.4); correspond with K. Duff regarding same and
                               regarding property installation of scaffolding (7110 S. Cornell) (.2); draft
                               correspondence to lender regarding updates for code violations on lender
                               properties (.4).

                               Business Operations

                ED        4.00 Draft email to tenant regarding transfers of property for building related to
                               site lease (.6); review of documents and correspondence relating to such
                               property (.8); review of site lease terms (.4); review draft of Receiver's
                               motion to approve sale (1.5); review and organize notes and documents
                               relating to various pending issues and questions from institutional lenders
                               (.7).

                               Business Operations

                AEP       1.00 Meeting with counsel for owner of former EquityBuild property (7616 S
                               Phillips) regarding potential path to resolution of impasse.

                               Business Operations

    2/13/2019 MR          1.60 Attention to issues raised by City and conferences regarding same (.3);
                               conferences (.3) and attention to ruling from court on segregation of rents
                               (.7); follow up e-mails regarding same (.3).
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    Date      Indiv Hours Description


                               Business Operations

    2/13/2019 NM          0.30 Exchange correspondence with EB counsel and K. Duff regarding
                               matter in state court litigation and study email correspondence
                               relating to same.

                               Business Operations

                KMP       0.10 Review communication from property manager regarding gross rents for
                               January 2019 and related building expenses.

                               Business Operations

    2/14/2019 NM          2.60 Study emails including response from Defendant and correspondence
                               relating to court's order on the rents motions (.2); appear for motion to lift stay
                               and correspond with EB counsel regarding (8100 S. Essex) state court
                               litigation and discovery for same (1.2); telephone conference with K. Duff and
                               accountant regarding accounting on property by property basis pursuant to
                               court's ruling on the rents motion (.8); revise motion to amend order
                               appointing receiver with respect to affiliate entities (.4).

                               Business Operations

                ED        4.40 Review loan documents and documents from prior counsel regarding
                               properties proposed for sale (638 N Avers, 4520 S Drexel, 7600 S Kingston,
                               7748 S Essex) (1.9); review 2/13/19 Order and consider issues and
                               mechanics regarding reporting allocation of rents by property (1.9); revise
                               draft of message to lender regarding answers to financial reporting questions
                               (.6).

                               Business Operations

                MR        0.40 Follow up regarding issues and rulings by the court and e-mails regarding
                               same.

                               Business Operations

    2/15/2019 NM          1.00 Correspond with A. Watychowicz regarding motions to file today (.1); revise
                               motion to amend order appointing receiver and correspond with A.
                               Watychowicz and K. Duff regarding same (.7); exchange correspondence
                               with City attorney regarding properties (7933 S. Essex and 7110
                               S. Cornell) (.2).

                               Business Operations

                ED        2.30 Email correspondence with M. Rachlis and K. Duff regarding replies to
                               lender's financial reporting questions (.2); email correspondence with lender's
                               counsel and property manager regarding financial reporting (.3); review email
                               correspondence from lender's counsel and related notes regarding access to
                               properties for inspection and appraisal, and draft correspondence regarding
                               same to Receiver and M. Rachlis (.7); follow up on lender requests for
                               second inspections (.4); draft and send email messages to lenders' counsel
                               regarding motion for sale of properties (.7).

                               Business Operations
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Kevin B. Duff, Receiver                                                                                 Page 21

    2/15/2019 KMP         0.60 Review and comment on draft motion to amend Order Appointing Receiver,
                               and conference with A. Watychowicz regarding same (.3); conferences with
                               K. Duff, N. Mirjanich and A. Watychowicz regarding coordination of upcoming
                               additional court filings (.2); attention to communications with property
                               manager regarding posting of January rents (.1).

                               Business Operations

    2/17/2019 AEP         0.90 Review and analyze files of former EquityBuild counsel to understand
                               background of transaction involving purchase and sale of former
                               EquityBuild property and respond to e-mail from title company regarding
                               status of reconveyance escrow established at time of original purchase
                               (.4); review latest housing court orders associated with property being sold
                               in first marketing tranche (7933 S Essex) and transmit same to buyer's
                               counsel (.1); read e-mail received from lender-investor regarding issue in
                               most recent status report, research corresponding investments, and
                               prepare reply (.4).

                               Business Operations

    2/18/2019 NM          0.10 Study and respond to emails with property manager and City attorney
                               regarding property (7110 S. Cornell).

                               Business Operations

    2/19/2019 ED          3.60 Call with accountant regarding monthly reporting to lenders by property
                               (.5); call with property manager and K. Duff regarding segregation of rents
                               for properties and related reporting issues (.4); email correspondence with
                               property managers regarding same (.5); review and draft reply to inquiry
                               from lender's counsel regarding financial reporting (.9); calls and email
                               correspondence with property manager regarding same (.3); email
                               correspondence with lenders' counsel regarding access to properties for
                               appraisals (.6); review insurance coverage for properties portfolio and
                               emails to broker, K. Duff and K. Pritchard regarding same (.3); discussion
                               with K. Duff for property taxes and insurance (.1).

                               Business Operations

                KMP       0.40 Conference with K. Duff regarding state agency request for execution of
                               power of attorney form, briefly review form, and attention to correspondence
                               relating to same (.2); conference with K. Duff and E. Duff regarding
                               confirmation of property insurance coverage for single-family properties
                               currently listed for sale, review communications from insurer relating to list of
                               insured properties (.2).
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Kevin B. Duff, Receiver                                                                                  Page 22



    Date      Indiv Hours Description


                               Business Operations

    2/20/2019 JR          1.90 Worked on portfolio spreadsheet, added escrow and reserve amounts for all
                               applicable properties.

                               Business Operations

                NM        0.30 Study and respond to email correspondence relating to real estate taxes,
                               property (7616 S. Phillips), EquityBuild documents, and email noticing with
                               potential creditor.

                               Business Operations

                AEP       0.20 Research receivership properties with delinquent 2017 property taxes and
                               identify same for K. Duff, specifying date of upcoming tax sale.

                               Business Operations

                ED        3.50 Email correspondence with lender's inspectors and property managers
                               regarding access to property for lender appraisals (.5); send email to lender's
                               counsel in response to query regarding financial reporting (.4); review CHA
                               management authorization form and related email correspondence with
                               property manager and K. Duff (.2); confer and email correspondence with K.
                               Duff (.2), A Porter (.1) and M. Rachlis (.2) regarding gathering information
                               about funds; prepare report for K. Duff regarding real estate tax liabilities (.9)
                               and confer with J. Rak (.4) and property managers (.2) regarding same;
                               review updated document regarding potentially available funds from J. Rak
                               and email correspondence with K. Duff and M. Rachlis regarding same (.4).

                               Business Operations

    2/21/2019 JR          0.50 Continue working on excel escrow and reserve spreadsheet for all applicable
                               properties.

                               Business Operations

                ED        3.50 Call with property manager and K. Duff regarding accounting procedures (.6);
                               review and reply to email from lender's counsel and follow up with property
                               manager regarding financial reporting (.6); call and email correspondence
                               with A. Porter regarding operating expenses (.2); confer with J. Rak regarding
                               property financial information chart (.1); email correspondence with property
                               managers regarding lender access for inspections (1.1); organize information
                               for follow up on pending issues and questions from lenders and counsel (.7);
                               review and reply to new email correspondence from lender regarding
                               financial reporting question (.2).
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Kevin B. Duff, Receiver                                                                                Page 23



    Date      Indiv Hours Description


                               Business Operations

    2/21/2019 MR          0.60 Attention to various issues on property taxes and other expense.

                               Business Operations

    2/22/2019 AEP         0.20 Research EquityBuild files for existence of cross-collateralized receivership
                               property (6759 S Indiana) and report findings to E. Duff.

                               Business Operations

                ED        4.60 Email correspondence with lender's counsel and insurance broker regarding
                               provision of proof of insurance (.3); email correspondence with appraisers
                               and counsel (.4) and with property managers (.5) regarding access to
                               properties and requests for related documents; revise and send reply to
                               lender regarding multiple financial reporting questions (.7); prepare financial
                               analysis in preparation for meeting (2.3); confer with M. Rachlis regarding
                               same (.2); email correspondence with property managers regarding financial
                               information (.2).

                               Business Operations

    2/24/2019 ED          0.20 Email correspondence with K. Duff regarding authorization to provide
                               information to lender's appraiser (.1); email to property manager requesting
                               financial report on properties (.1).

                               Business Operations

    2/25/2019 AW          0.30 Revise and assemble income statement breakdown provided by E. Duff.

                               Business Operations

                ED        8.60 Email correspondence with property managers and appraisers regarding
                               property inspections (.8); email correspondence with property managers
                               regarding preparation of net income and loss information for properties (.1);
                               review financial reporting information requested by lender's counsel, and email to
                               counsel re-sending same (.2); review property financial information in preparation
                               for meeting with Receiver and counsel (.7); update and revise financial analysis
                               for meeting with K. Duff (.8); meet with K. Duff, M. Rachlis, and A. Porter
                               regarding planning and payment of real estate taxes (4.4); preparation for same
                               (.8); calls with M. Rachlis to lenders' counsel regarding payment of real estate
                               taxes (.8).

                               Business Operations
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    Date      Indiv Hours Description

    2/25/2019 AEP         4.40 Participate in receivership team meeting regarding potential solutions for
                               payment of property taxes.

                               Business Operations

                KMP       0.70 Review property manager's records relating to accounting for property taxes
                               for certain property (7625 East End), and communications with K. Duff and E.
                               Duff regarding same (.2); conference with K. Duff regarding property by
                               property accounting of expenses to comply with court order and issues
                               relating to same (.2); communication with accountant to forward record of
                               insurance expenses identified by property (.1); communications with
                               insurance broker regarding property liability insurance expiration dates and
                               related expiration of premium finance agreement, and discuss same with K.
                               Duff (.2).

                               Business Operations

                NM        0.60 Correspond with E. Duff, M. Rachlis, K. Duff, and A. Porter regarding property
                               tax issues (.4); study and respond to emails regarding City complaints, email
                               notice for creditor, and former EB counsel (.2).

                               Business Operations

               MR         5.20 Attention to analysis of and matters involving property taxes and work through
                               same with E. Duff, K. Duff, and A. Porter (4.4); telephone conferences with
                               lenders counsel and E. Duff regarding same (.8).

    2/26/2019 JR          1.10 Spreadsheet relating to insurance.

                               Business Operations

                ED        8.50 Analysis regarding available sources of funds for property tax payments for
                               each property (6.5); confer with J. Rak regarding same (.3); confer with M.
                               Rachlis regarding sources of funds and replies to queries from lenders'
                               counsel (.7); confer with K. Duff regarding tax information for properties
                               managed by each property manager, and preparation of document reflecting
                               same (.4); calls to property manager and asset manager regarding financial
                               information related to tax analysis (.3); emails to property managers and
                               inspectors regarding property access (.3).

                               Business Operations

                MR        4.50 Attention to property tax related issues.

                               Business Operations

    2/27/2019 MR          6.70 Participate in meeting with K. Duff and E. Duff regarding various issues on
                               tax related submissions and payments (1.3); review charts regarding same
                               (.3); attention to issues on motion to lift stay and other motions (.1);
                               continued work analyzing various investor related issues for property taxes
                               and meetings with K. Duff and E. Duff regarding same (5.0).

                               Business Operations
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    Date      Indiv Hours Description

    2/27/2019 ED           8.30 Review email correspondence and file documentation regarding real estate
                                tax payments due and sources of funds (.2); confer with N. Mirjanich
                                regarding funds expended by receivership to address code violations relating
                                to certain properties (.2); meet with K. Duff, M. Rachlis regarding information
                                and property by property analysis of same to determine available funds for
                                payment of property taxes (6.5); update report regarding resources available
                                for payment of real estate taxes (.3); calls with asset manager regarding
                                property net income information (.3); review email correspondence from
                                lender's counsel requesting insurance information and related provisions of
                                loan agreements (.8).

                                Business Operations

                NM         1.30 Study creditors' motion to extend time to object to claims motion (.2); study
                                motion to lift stay in state court matter and correspond with K. Duff regarding
                                same and regarding strategy for same (.2); exchange email correspondence
                                regarding same (.2); telephone conference with EB counsel regarding same
                                and regarding discovery in additional state court matter (.2); study email
                                correspondence relating to property tax payments and proposals from
                                lenders with respect to escrow amounts (.3); correspond with E. Duff
                                regarding same and spreadsheet for same to add figures relating to costs to
                                cure code violations (.2).

                                Business Operations

    2/28/2019 KMP          0.50 Communications with K. Duff and insurance broker regarding terms of
                                premium finance installment agreement on property insurance and issues
                                relating to payments and payoff (.2); communications with K. Duff, N.
                                Mirjanich and J. Rak regarding payment of 2018 delinquent property taxes for
                                certain receivership properties and related issues (.3).

                                Business Operations

                MR         6.00 Work on property tax related matters and issues for payment, including
                                studying at length various financial and property documents, along with
                                several conferences with E. Duff and K. Duff (5.5); review and comment
                                on communications regarding same (.5).

                                Business Operations

                ED        10.30 Email correspondence with appraisers, counsel, and property managers
                                regarding property access and related questions (.3); email correspondence
                                with property managers regarding disbursements for real estate taxes and
                                review and analysis of documentation provided (1.8); review and revise
                                spreadsheets to send to property managers regarding payment of real estate
                                taxes (.5); review and analysis of information regarding real estate tax
                                payments due and sources of funds available therefor, preparation of
                                documentation to provide to lenders regarding each property, preparation
                                and revision of related communications to lenders, and consultation with M.
                                Rachlis, K. Duff, N. Mirjanich, A. Watychowicz and J. Rak regarding the
                                foregoing (7.7).

                                Business Operations
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    Kevin B. Duff, Receiver                                                                                Page 26



        Date       Indiv Hours Description

        2/28/2019 AW          1.50 Attention to email from E. Duff and confer with her regarding PIN numbers of
                                   properties in receivership (.1); proofread spreadsheets with attention to PINs
                                   accuracy (.8); confer with K. Duff and K. Pritchard regarding additional work
                                   that needs to be completed before tax payment deadline (.2); work on
                                   reconciliation of property manager payments of 2018 taxes (.4).

                                   Business Operations

                      NM      3.10 Study email correspondence relating to property tax payments internally and
                                   with lenders' counsel (.2); study email correspondence in EquityBuild account
                                   to determine if any service of process was sent recently (.2); study
                                   spreadsheets prepared by E. Duff for property tax payments amounts by
                                   lender or property and correspond with E. Duff, M. Rachlis, and K. Duff to
                                   finalize and send same to institutional lenders (2.7).

                                   Business Operations

SUBTOTAL:                                                                                   1[59.20        55928.00]
Case Administration


        2/4/2019      AW      3.10 Review and organize documents received from EquityBuild former counsel
                                   (1.4); confer with N. Mirjanich regarding same (.6); review inventory provided
                                   by former counsel (.3); review and organize documents received from
                                   EquityBuild former employee (.6); review and organize devices received from
                                   defendant (.2).

                                   Case Administration

        2/8/2019      AW      0.30 Attention to entered order and docket update.

                                   Case Administration

        2/14/2019 ED          0.40 Update list of issues for decision by Receiver.

                                   Case Administration

        2/15/2019 AW          0.70 Attention to defendants' motion for extension of time and email counsel
                                   regarding same (.1); confer with N. Mirjanich regarding motions to amend
                                   Order Appointing Receiver, for approval of sale process, and for approval of
                                   sale that are being prepared and plan to file by the end of day (.3); reach out
                                   to IT team and request posting to website of recent motions and orders
                                   entered previously (.3).

                                   Case Administration
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         Date       Indiv Hours Description

         2/21/2019 SZ         3.50 Document preparation for filing of motion to approve claims process.

                                   Case Administration

         2/25/2019 KMP        0.20 Conferences with A. Watychowicz regarding accountant's for reinstatement
                                   of access to accounting platform and status of same, and review previous
                                   correspondence relating to same.

                                   Case Administration

         2/26/2019 AW         0.40 Attention to entered orders referring claims motion to Judge Kim (.2);
                                   attention to appearance filed for third party and communicate with counsel
                                   regarding same (.1); attention to institutional lender's motion for extension
                                   of time and docket update (.1).

                                   Case Administration

         2/28/2019 KMP        0.30 Telephone conference with bank representative regarding check writing
                                   issues for disbursements from receivership estate account.

                                   Case Administration

                     AW       1.40 Attention to various pleadings and docket updates, order entered by Judge
                                   Kim regarding extension motion, and motion and corrected motion filed by
                                   defendants requesting extension of time to respond to SEC's fees motion
                                   (.6); prepare pleadings to post to website and contact IT team regarding
                                   same (.5); prepare updated list of postings team and request removal of
                                   outdated pleadings from EB website (.3).

                                   Case Administration


SUBTOTAL:                                                                                    [ 10.30         1437.00]

Claims Administration & Objections

         2/1/2019    MR       7.00 Attention to issues on claims process (.5); prepare for meeting with lenders
                                   representatives (1.8); further work on issues regarding lender questions
                                   with K. Duff and E. Duff (3.3); attend meeting with lenders representatives
                                   (1.4).

                                   Claims Administration & Objections

         2/3/2019    MR       1.30 Issues on motion for claims process.

                                   Claims Administration & Objections

         2/4/2019    MR       2.60 Issues on claims process form (2.2); issues in preparation for upcoming
                                    meetings (.3); issues regarding secured creditors and follow up from meeting
                                    and hearing (.1).

                                   Claims Administration & Objections
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    Date        Indiv Hours Description

    2/4/2019    ED        0.50 Review documents and email correspondence regarding investor claims
                               regarding property offered for sale (5001 S. Drexel, 7625 S East End
                               Ave.).

                               Claims Administration & Objections

                NM        2.60 Revise claims form (1.8); correspond with K. Duff regarding claims form (.2);
                               correspond with E. Duff regarding claims form (.3); study comments from M.
                               Rachlis on claims form and motion for same (.3).

                               Claims Administration & Objections

                SZ        3.40 Continued to work on notice list for investors by searching email
                               communication with creditors (3.2); office conference about the same with
                               N. Mirjanich (.2).

                               Claims Administration & Objections

    2/5/2019    AW        0.70 Confirm that investor who filed lawsuit is on our list of investors (.1); respond
                               to emails from investors on behalf of K. Duff. (.6).

                               Claims Administration & Objections

                KMP       0.20 Briefly review draft claims form and related requests for additional information
                               from bank regarding online claims platform and procedures.

                               Claims Administration & Objections

                MR        2.60 Issues on claims process and conferences regarding same (.3); prepare for
                               and participate in meetings relating to same (2.0); issues regarding secured
                               creditors and follow up on sales process (.3).

                               Claims Administration & Objections

                NM        0.40 Revise claims form (.1); send draft claims form and questions to claims
                               vendor (.3).

                               Claims Administration & Objections

                SZ        3.70 Continued to work on notice list for investors by including institutional lenders
                               for properties (6160 S MLK and 5001 S. Drexel), City of Chicago Corporate
                               Counsel, and parties involved in (8100 S. Essex) state court lawsuit.

                               Claims Administration & Objections

    2/6/2019    NM        0.30 Revise motion to approve claims.

                               Claims Administration & Objections

                KMP       0.30 Further review and comment on draft claims form.

                               Claims Administration & Objections
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    Date        Indiv     Hours Description

    2/6/2019    MR         0.40 Issues regarding secured creditors and follow up on sales process.

                                Claims Administration & Objections

    2/7/2019    NM         0.90 Correspond with K. Duff regarding claims process and property accounting
                                (.3); correspond with A. Watychowicz regarding claims process and investor
                                status for same (.1); revise claims motion (.5).

                                Claims Administration & Objections

    2/8/2019    NM         0.80 Revise claims motion (.3); review claims form (.5).

                                Claims Administration & Objections

    2/9/2019    MR         5.50 Work on various motions and briefs including claims motion and claims form,
                                motions adding additional parties, claims form and approval for first round of
                                sales, and follow up on several e-mails regarding same.

                                Claims Administration & Objections

    2/11/2019 MR           1.50 Attention to follow up with institutional lenders and review and revise
                                communications regarding same.

                                Claims Administration & Objections

                NM         0.30 Study M. Rachlis revisions to the claims motion.

                                Claims Administration & Objections

    2/12/2019 NM           1.00 Study comments from claims vendor and answers to questions from same
                                and revise claims form accordingly for K. Duff review.

                                Claims Administration & Objections

    2/13/2019 KMP          1.00 Review communications from creditors and prepare notice letters advising of
                                receivership and providing order appointing receiver (.7); discuss same with
                                K. Duff and N. Mirjanich (.1); finalize letters and prepare transmittals (.2).

                                Claims Administration & Objections

                NM         0.30 Study court order on lenders' motion concerning rents and correspond with K.
                                Duff and M. Rachlis regarding same.

                                Claims Administration & Objections

    2/18/2019 NM           0.50 Correspond with K. Duff, M. Rachlis, A. Porter regarding claims and providing
                                same to institutional lenders prior to filing pursuant to request.

                                Claims Administration & Objections
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    Date      Indiv Hours Description

    2/18/2019 MR          0.20 Attention to claims process motion and claims form.

                               Claims Administration & Objections

    2/19/2019 MR          2.10 Review various objections filed to various motions (.6); conferences regarding
                               properties with lender's counsel and K. Duff (1.0); follow up conferences on
                               various issues raised by lenders with K. Duff (.3); conferences with E. Duff on
                               various lender issues (.2); conference with lender (.1); attention to various e-
                               mails on lender issues (.2).

                               Claims Administration & Objections

    2/20/2019 NM          2.90 Study comments from K. Duff to claims motion and form and revise
                               accordingly and correspond with K. Duff regarding same (2.3); revise claims
                               form and send to vendor along with request for telephone conference (.3);
                               study background information and leave voicemail for creditor (.1); study
                               background information and telephone call with investor regarding motion to
                               approve the sale of the first tranche and claims (.2).

                               Claims Administration & Objections

                MR        0.80 Attention to e-mails from investors and issues on expenses and taxes (.5);
                               attention to issues on claims process (.3).

                               Claims Administration & Objections

    2/21/2019 MR          1.10 Attention to investor related issues on properties and conferences regarding
                               same (.8); attention to claims motion (.3).

                               Claims Administration & Objections

                NM        0.70 Exchange various correspondence and drafts relating to claims form.

                               Claims Administration & Objections

    2/22/2019 KMP         0.20 Further communications and planning with N. Mirjanich regarding status and
                               timing of filing motion to approve claims process.

                               Claims Administration & Objections

                NM        4.00 Study and revise motion to approve claims process and correspond with K.
                               Duff regarding same and finalize same for filing and correspond with S. Zjalic
                               regarding same (3.2); file and serve motion to approve claims process (.8).

                               Claims Administration & Objections

                MR        0.40 Conferences and attention to claims motion and issues regarding same.

                               Claims Administration & Objections

    2/25/2019 KMP         0.20 Conference with N. Mirjanich regarding updating and finalizing creditors' list
                               for notices relating to claims process.

                MR        0.10 Attention to claims issues.
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        Date       Indiv Hours Description


                                   Claims Administration & Objections


SUBTOTAL:                                                                                  [ 50.50        15146.00]

Employee Issues

        2/1/2019    AW        0.20 Contact former EB employee regarding his inquiry about W-2 (.1); confer with
                                   K. Pritchard regarding updated information for accountant regarding former
                                   employee contact information (.1).

                                   Employee Issues

        2/7/2019    KMP       0.10 Telephone conference with former EB employee regarding status of delivery
                                   of form W-2 and information regarding EB operations.


                                   Employee Issues

        2/12/2019 AW          0.10 Attention to email from former EB employee regarding W-2 form and
                                   forward to K. Pritchard.

                                   Employee Issues

        2/13/2019 KMP         0.30 Review and provide payroll records for August-September 2018 to former EB
                                   employee at her request.

                                   Employee Issues


SUBTOTAL:                                                                                  [ 0.70              98.00]

Investor Communications

        2/4/2019    AW        0.60 Attention to inquiries from investors and respond to same on behalf of K. Duff
                                   (.5); communicate with K. Duff regarding inquiries requiring further
                                   explanations (.1).

                                   Investor Communications

        2/6/2019    AW        0.20 Attention to voicemail from investor (.1); draft response and communicate
                                   with N. Mirjanich regarding same (.1).

                                   Investor Communications

        2/7/2019    NM        0.40 Correspond with A. Watychowicz regarding investor correspondence (.2);
                                   draft correspondence to investor (.1); telephone call with investor regarding
                                   status of receivership (.1).

                                   Investor Communications

        2/11/2019 AW          1.80 Reach out to counsel regarding his representation of investor (.1); phone
                                   call with counsel regarding issue that investor already has representation
                                   (.1); respond to email inquiries from investors on behalf of K. Duff (1.6).
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    Date        Indiv     Hours Description



                                Investor Communications

    2/12/2019 AW           0.20 Attention to email from investor regarding former EB employee (.1); confer with
                                K. Duff regarding same (.1).


                                Investor Communications

                MR         0.20 Conferences with investor regarding status.

                                Investor Communications

    2/13/2019 AW           0.20 Phone call with investor's counsel regarding representation issues.


                                Investor Communications

    2/14/2019 AW           0.50 Respond to emails from investors on behalf of K. Duff.

                                Investor Communications

    2/20/2019 NM           0.10 Study background information and leave voicemail for investor in response to
                                previous voicemail.

                                Investor Communications

    2/21/2019 AEP          0.30 Read and respond to e-mails from investors regarding status of potential
                                resolution of claims involving former EquityBuild property (7616 S Phillips).

                                Investor Communications

    2/22/2019 AW           0.20 Communicate with K. Duff regarding proposed responses to emails from
                                investors.

                                Investor Communications

                MR         0.40 Conferences regarding tax issues with E. Duff and other investor
                                communications.

                                Investor Communications

    2/25/2019 AW           3.70 Attention to emails from investors and respond to same on behalf of K. Duff.


                                Investor Communications

                NM         1.00 Correspond with A. Watychowicz regarding investor correspondence and
                                draft responses to same in EquityBuild email account.

                                Investor Communications
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         Date       Indiv     Hours Description

        2/26/2019 AW           1.30 Attention to responses from investors (.1); continue responding to emails
                                    from investors (1.2).

                                    Investor Communications

        2/27/2019 AW           2.00 Meeting with N. Mirjanich and respond to emails from investors (1.6); draft
                                    emails for K. Duff's review (.4).

                                    Investor Communications

                    NM         1.40 Correspond with A. Watychowicz regarding investor correspondence and
                                    draft responses to same in EquityBuild email account.

                                    Investor Communications

        2/28/2019 AW           1.30 Phone calls with investors (.5); and follow up emails to same (.3); evaluate
                                    communications with investors (.4); prepare draft letter to investors (.1).


                                    Investor Communications


SUBTOTAL:                                                                                    [ 15.80         2785.00]

Status Reports

        2/5/2019    NM         0.30 Draft second status report.

                                    Status Reports

        2/6/2019    AW         0.20 Confer with N. Mirjanich regarding information necessary for submission of
                                    next status report (.1); meeting with K. Duff and N. Mirjanich regarding status
                                    hearing (.1).

                                    Status Reports

        2/7/2019    MR         1.50 Prepare for and attend hearing; several conferences regarding same.

                                    Status Reports

                    NM         3.80 Draft second status report.


                                    Status Reports

        2/8/2019    NM         2.00 Revise second status report and correspond with K. Pritchard regarding
                                    information for same.

                                    Status Reports

        2/11/2019 AW           0.50 Prepare break down of costs (.1); prepare list of devices received from former
                                    EB employees (.2); email N. Mirjanich regarding same (.1); contact forensic
                                    consultant regarding updated summary of work (.1).
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    Date      Indiv Hours Description


                               Status Reports

    2/12/2019 KMP         1.40 Review bank and other records and compile draft exhibits for fourth quarter
                               status report (1.3); conferences with N. Mirjanich regarding same (.1).

                               Status Reports

    2/13/2019 NM          3.20 Revise second status report and exhibits to same and correspond with K.
                               Pritchard and accountant regarding same.

                               Status Reports

                KMP       0.30 Conferences with N. Mirjanich regarding issues relating to exhibits to fourth
                               quarter status report.

                               Status Reports

    2/14/2019 NM          1.20 Revise status report and correspond with E. Duff on same.

                               Status Reports

                ED        0.90 Confer with N. Mirjanich regarding information for status report.

                               Status Reports

    2/15/2019 NM          0.30 Revise second status report.

                               Status Reports

    2/16/2019 NM          1.50 Revise second status report.

                               Status Reports

    2/18/2019 NM          1.20 Revise status report and send to receivership team for review.

                               Status Reports

    2/20/2019 NM          0.30 Revise status report to include information from accountant and correspond
                               with K. Duff regarding same.

                               Status Reports

    2/22/2019 ED          1.70 Review draft of Receiver's Second Status Report (1.4); confer with N.
                               Mirjanich regarding comments on same (.3).

                               Status Reports

                NM        0.50 Correspond with E. Duff regarding status report and study comments to
                               same.

                               Status Reports
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    Date        Indiv     Hours Description

    2/25/2019 KMP          0.20 Conference with N. Mirjanich regarding status and filing issues in connection
                                with second status report.

                                Status Reports

                NM         4.10 Revise status report (3.4); correspond with M. Rachlis regarding same and
                                incorporate comments from same (.7).

                                Status Reports

                MR         2.10 Attention to status report.

                                Status Reports

    2/26/2019 AW           1.30 Study and revise status report.

                                Status Reports

                AEP        2.50 Study, edit, and revise latest draft of receiver's second status report.

                                Status Reports

                KMP        1.40 Review draft fourth quarter status report, review financial records to update
                                facts and figures regarding account reconciliations and income and
                                expenditures for receivership estate.

                                Status Reports

                NM         2.60 Study comments from A. Porter on second status report (.2); revise second
                                status report (1.9); study comments from K. Pritchard and A. Watychowicz on
                                second status report (.2); study comments from K. Duff on second status
                                report and revise accordingly (.3).

                                Status Reports

                MR         0.30 Attention to status report.

                                Status Reports

    2/27/2019 KMP          0.80 Conference with N. Mirjanich regarding additional information needed for
                                fourth quarter status report (.3); continue editing of retained professionals'
                                invoices (.5).

                                Status Reports

                NM         2.70 Correspond with SEC (.2); revise second status report (2.5).



                                Status Reports

    2/28/2019 KMP          0.90 Further conference with N. Mirjanich and K. Duff regarding additional
                                information needed for fourth quarter status report (.5); revise exhibits for
                                status report (.4).
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        Date       Indiv Hours Description


                                   Status Reports

        2/28/2019 ED          0.10 Review draft language for status report and confer with N. Mirjanich regarding
                                   same.

                                   Status Reports

                    NM        5.80 Revise status report and finalize for filing (5.4); correspond with M. Rachlis, K.
                                   Duff, K. Pritchard, and A. Watychowicz regarding same (.4).

                                   Status Reports

                    AW        1.40 Work with N. Mirjanich to revise, finalize, and serve Receiver's second status
                                   report.

                                   Status Reports


SUBTOTAL:                                                                                    [ 47.00         12395.00]

Tax Issues

        2/1/2019    KMP       0.30 Communications with accountant regarding address change for former EB
                                   employee, and information regarding employment tax payments in
                                   connection with preparation of forms W2.

                                   Tax Issues

        2/4/2019    KMP       0.20 Communications with accountant regarding preparation of forms W2 for
                                   former EB employees, and registration of Receivership as Illinois
                                   employment taxpayer.

                                   Tax Issues

        2/6/2019    KMP       0.60 Telephone conference with accountant regarding information required for
                                   registration with state agency to file employment tax returns and status of
                                   preparation of forms W2 for former EB employees (.3); review and complete
                                   registration form and return to accountant (.3).

                                   Tax Issues

        2/8/2019    KMP       0.20 Conference with N. Mirjanich regarding status of various tax-related issues
                                   and forward communications with accountants to N. Mirjanich for review.

                                   Tax Issues

        2/11/2019 KMP         0.20 Review form 1098-INT received from institutional lender and forward to K.
                                   Duff for review (.1); communication with K. Duff regarding status of
                                   preparation of 2016-17 entity tax forms (.1).
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    Date      Indiv Hours Description


                               Tax Issues

    2/12/2019 KMP         1.20 Review third and fourth quarter employment tax returns received from
                               accountant and conference with K. Duff regarding same (.2); prepare
                               checks and transmittals of returns and payments (.5); forward
                               1098-INT form from institutional lender and unemployment tax materials
                               from state agency to accountant for review, and attention to follow up on
                               same (.2); review EB employee W2 forms to confirm mailing addresses for
                               certain employees, and communications with accountant and K. Duff
                               regarding reissuance of same to new address (.3).

                               Tax Issues

    2/18/2019 KMP         1.00 Prepare email correspondence to defendants requesting updated address
                               information for delivery of their form W-2s (.2); review communication from
                               accountant regarding follow up on additional information necessary to
                               complete preparation of 2016-17 tax returns, review documentation and prior
                               communications to determine status, and communicate with N. Mirjanich
                               regarding same (.5); review notice from state agency relating to third quarter
                               employment taxes, review reports filed in connection with same, and
                               communications with accountant regarding same (.3).

                               Tax Issues

    2/19/2019 KMP         0.50 Attention to correspondence to defendants providing address information for
                               delivery of their form W-2s, and prepare transmittals of same (.2); review
                               notice from state agency relating to third quarter employment taxes (.1);
                               prepare transmittal of payment to state agency for third quarter employment
                               taxes and conference with K. Duff regarding same (.2).

                               Tax Issues

    2/20/2019 NM          0.30 Exchange correspondence with K. Pritchard, accountant, property
                               manager, and A. Porter regarding information requested by accountant
                               complete tax returns.

                               Tax Issues

                KMP       0.50 Attention to further communications with state agency regarding their request
                               for power of attorney, and conference with K. Duff regarding same (.2);
                               attention to communications with accountant regarding status of preparation
                               of tax returns (.1); telephonically submit fourth quarter 2018 excise tax return
                               to state agency and conference with representative regarding closing tax
                               account (.2).

                               Tax Issues

                AEP       0.30 Research files pertaining to receivership property in effort to locate
                               information responsive to inquiry from receivership accountant.
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   Kevin B. Duff, Receiver                                                                            Page 38



       Date      Indiv Hours Description


                                  Tax Issues

       2/27/2019 KMP         0.60 Communications with accountant regarding notice from state agency about
                                  delinquent employment tax filing (.2); communications with K. Duff and E.
                                  Duff to provide summary of property taxes paid by receiver (.2);
                                  communication with accountant to provide requested additional information
                                  for preparation of 2016-17 tax returns (.2).

                                  Tax Issues


SUBTOTAL:                                                                               [ 5.90          937.00]




                                                                                        487.50     $146,553.00
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    Kevin B. Duff, Receiver                                                                Page 39




Other Charges

                                      Description

Business Operations

                                      Online research for February 2019                      350.39

                                      Postage for February 2019                               83.90

                                      FedEx/UPS charges for February 2019                    122.89

                                      Photocopies for February 2019                          341.00

                                      Other - monthly charges for software licenses          188.00
                                      (InSynq, Google)



SUBTOTAL:                                                                             [    1,086.18]


Total Other Charges                                                                       $1,086.18




                                     Summary of Activity
                                                                       Hours       Rate
Nicole Mirjanich                                                      117.70     260.00   $30,602.00
Ania Watychowicz                                                       39.10     140.00    $5,474.00
Justyna Rak                                                            42.90     140.00    $6,006.00
Kathleen M. Pritchard                                                  20.50     140.00    $2,870.00
Stoja Zjalic                                                           10.60     110.00    $1,166.00
Andrew E. Porter                                                       95.80     390.00   $37,362.00
Ellen Duff                                                             90.70     390.00   $35,373.00
Michael Rachlis                                                        70.20     390.00   $27,378.00
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    Kevin B. Duff, Receiver                                                      Page 40




                                      SUMMARY


                  Legal Services                                 $146,231.00
                  Other Charges                                    $1,086.18

                     TOTAL DUE                                   $147,317.18




Balance due                                                                    $147,317.18
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                        Rachlis Duff Peel & Kaplan, LLC
                                     542 South Dearborn Street
                                                                                            tel (312) 733-3950
                                             Suite 900                                      fax (312) 733-3952
                                       Chicago, Illinois 60605




October 24, 2019

Kevin B. Duff, Receiver
c/o Rachlis Duff Peel & Kaplan LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
    Cohen, and Shaun D. Cohen                                                            Invoice No.6622101
    No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



Legal Fees for the period March 2019                                   $147,293.00

Expenses Disbursed                                                           $1,211.90


Due this Invoice                                                       $148,504.90

Previous Balance                                                                $0.00

Less payments and adjustments                                                   $0.00



TOTAL DUE                                                              $148,504.90
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    Kevin B. Duff, Receiver                                                                              Page 2




        Date          Indiv Hours Description

Accounting/Auditing

        3/13/2019 KMP         1.20 Begin preparation of spreadsheet detailing income and expenses for
                                   receivership estate account and communications with K. Duff regarding same.

                                   Accounting/Auditing

        3/14/2019 KMP         2.10 Preparation of spreadsheet detailing income and expenses for receivership
                                   estate account and communications with K. Duff regarding same.

                                   Accounting/Auditing

        3/15/2019 KMP         0.30 Conferences with E. Duff and N. Mirjanich regarding spreadsheet detailing
                                   income and expenses for receivership estate account (.2); conferences with
                                   N. Mirjanich regarding compilation of reporting information from property
                                   managers for transmittal to accountants (.1).

                                   Accounting/Auditing

        3/20/2019 KMP         0.40 Prepare spreadsheet tracking non-property related income and expenses for
                                   receivership estate and conference with K. Duff regarding same.

                                   Accounting/Auditing


SUBTOTAL:                                                                                 [ 4.00           560.00]

Asset Analysis & Recovery

        3/1/2019      KMP     0.70 Finalize correspondence to asset holder requesting documentation for
                                   unauthorized transactions to restricted accounts and prepare transmittals
                                   (.5); communications with K. Duff and SEC (.2).

                                   Asset Analysis & Recovery

                      MR      0.20 Attention to Naples motion.

                                   Asset Analysis & Recovery

                      NM 1.60 Correspond with accountant regarding summary detail to be used as summary
                                 exhibit to affidavit and study (.2); study and revise same and motion to amend
                                 order (1.4).

                                   Asset Analysis & Recovery

        3/3/2019      MR      0.80 Attention to Naples motion, affidavit and exhibits.

                                   Asset Analysis & Recovery

        3/4/2019      JR      1.60 Search on the Cook County Treasurer's website for real estate tax credits or
                                   overpayments for all properties.
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Kevin B. Duff, Receiver                                                                                Page 3



    Date       Indiv Hours Description


                               Asset Analysis & Recovery

    3/4/2019    MR        1.20 Attention to various issues regarding Naples home and motion regarding
                               same (.9); attention to issues regarding defendant and asset recovery
                               (.3).

                               Asset Analysis & Recovery

                ED        0.10 Confer with J. Rak regarding review of property tax records for available
                               refunds.

                               Asset Analysis & Recovery

                AEP       1.30 Finalize subpoenas to five title companies and prepare instructions for A.
                               Watychowicz regarding issuance (.5); review critical documents files
                               and prepare subpoenas to counsel who represented third-parties in
                               EquityBuild transactions (.8).

                               Asset Analysis & Recovery

                NM        1.90 Study comments from M. Rachlis on the motion to amend appointing order to
                               include the property and account and finalize same for filing (1.0); study
                               correspondence from plaintiffs’ attorney in advance of call with same (.4);
                               draft correspondence to Defendant regarding settlement offer and exchange
                               correspondence and study comments from M. Rachlis on same (.5).

                               Asset Analysis & Recovery

    3/5/2019    AEP       3.40 Initial review and reorganization of documents produced by former
                                EquityBuild counsel (1.5); final review of subpoenas to title companies (.2);
                                continue reviewing EquityBuild documents, analyzing acquisition documents,
                                and updating property-specific chronology (1.7).

                               Asset Analysis & Recovery

                JR        4.00 Continue researching properties in the portfolio to identify which properties
                               have a credit or overpayment on real estate taxes (3.0); create an excel
                               spreadsheet identifying same (1.0).

                               Asset Analysis & Recovery

                MR        0.30 Attention to e-mail response from Defendant regarding Naples issues
                               conferences regarding same.

                               Asset Analysis & Recovery

                NM        1.70 Study email correspondence relating to negotiations with Defendants and
                               potential claims (.2); correspond with A. Watychowicz and K. Duff
                               regarding subpoenas to title companies (.2); study same and correspond
                               with A. Watychowicz regarding service of same (.3); revise and finalize
                               motion and affidavit and exhibits in
Case: 1:18-cv-05587 Document #: 569 Filed: 11/01/19 Page 168 of 221 PageID #:8468
Kevin B. Duff, Receiver                                                                               Page 4



    Date       Indiv Hours Description

                               support of motion to amend appointing order to identify specific assets.

                               Asset Analysis & Recovery

    3/6/2019    MR        3.30 Review of complaint in investor action (2.0); participate in call and further
                               conferences regarding same with N. Mirjanich and K. Duff (1.0); attention to
                               Defendant issues regarding offer (.2); review letter to former counsel (.1).

                               Asset Analysis & Recovery

                KMP       0.80 Review and comment on draft motion and affidavit and review exhibits thereto
                               (.6); conferences with N. Mirjanich regarding same (.2).

                               Asset Analysis & Recovery

                AW        0.60 Confer with N. Mirjanich regarding possible revisions to subpoenas and revise
                               notice of subpoenas (.1); confer with N. Mirjanich regarding motion to include
                               additional assets to receivership estate (.1); draft subpoenas for documents
                               to law firms (.3); email A. Porter regarding same (.1).

                               Asset Analysis & Recovery

                NM        1.40 Correspond with accountant regarding final changes to affidavit in support of
                               motion to amend appointing order to identify specific assets (.1); revise and
                               finalize motion and affidavit in support of motion to amend appointing order
                               to identify specific assets (.8); service notice of third party subpoenas and
                               correspond with A. Watychowicz regarding serving additional subpoenas (.1);
                               correspond and telephone conference with M. Rachlis and K. Duff in advance
                               of telephone conference with third party regarding potential claim (.1);
                               correspond with M. Rachlis and K. Duff following same (.3).

                               Asset Analysis & Recovery

    3/7/2019    MR        0.50 Attention to negotiations with Defendants.

                               Asset Analysis & Recovery

                AEP       1.90 Continue reviewing internal EquityBuild transaction documents and updating
                               property-specific chronology.

                               Asset Analysis & Recovery

                NM        2.50 Correspond with K. Duff regarding filing a motion to amend the appointing
                               order to include specific assets and offer to Defendant relating to settlement
                               (.2); draft email correspondence to Defendant regarding offer to resolve
                               dispute (.3) and study and exchange correspondence with M. Rachlis and K.
                               Duff regarding same (.2); finalize motion to amend the appointing order to
                               include specific assets and correspond with K. Duff and K. Pritchard
                               regarding filing same (1.4); draft email correspondence to Defendant to serve
                               same and correspond with K. Duff and M. Rachlis regarding same (.3); send
                               same to accountant (.1).
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Kevin B. Duff, Receiver                                                                               Page 5



    Date       Indiv Hours Description


                               Asset Analysis & Recovery

    3/8/2019    NM        1.40 Correspond and exchange emails with M. Rachlis, K. Duff, and Defendant
                               regarding settlement offer to Defendant and revise according to changes
                               from Defendant.

                               Asset Analysis & Recovery

    3/11/2019 AEP         1.70 Continue reviewing internal EquityBuild transaction documents and updating
                               property-specific chronology (1.2); teleconference with K. Duff and M. Rachlis
                               (.5).

                               Asset Analysis & Recovery

                KMP       0.30 Telephone conference with asset holder's representative regarding time
                               frame for their response to document request (.1); review correspondence
                               with accountant to determine whether they responded to request for
                               information and communicate with K. Duff regarding same (.2).

                               Asset Analysis & Recovery

                AW        1.20 Attention to email from K. Duff regarding documents relating to potential claim
                               (.1); confer with N. Mirjanich regarding same (.2); search through EB email
                               accounts to locate copies of documents requested by counsel (.9).

                               Asset Analysis & Recovery

                NM        3.30 Correspond with K. Duff regarding motion to amend appointing order to
                               include Receivership Assets and settlement offer to Defendant in connection
                               with same (.2); prepare for presentment of motion to amend appointing order
                               to include Receivership Assets (.3); correspond and exchange emails with M.
                               Rachlis, K. Duff, and Defendant regarding settlement offer to Defendant and
                               revise and send same (1.1); correspond with K. Duff and A. Watychowicz
                               regarding documents relating to potential claim and search records for same
                               and correspond with A. Porter regarding same (1.2); revise proposed order
                               for motion to amend appointing order to include specifically known
                               Receivership Defendants and correspond with A. Watychowicz, M. Rachlis,
                               and K. Duff regarding sending same to Court and posting court order of
                               same on website (.3); correspond with accountant and E. Duff regarding
                               court hearing on motion to amend appointing order to include Receivership
                               Assets and scheduling same (.2).

                               Asset Analysis & Recovery

                MR 8.20 Attention to order on motion for leave to amend (.1); attention to issue on
                            negotiations and draft agreement (.3); prepare for upcoming meeting and
                            review materials on third party claims (5.7); follow up on various related
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Kevin B. Duff, Receiver                                                                                 Page 6



    Date      Indiv Hours Description

                               issues with A. Porter (.9); plus, additional research and analysis regarding
                               same with K. Duff (1.2).

                               Asset Analysis & Recovery

    3/12/2019 MR          3.90 Attention to further follow up on motion on Naples and communications from
                               Defendant (.1); follow up on request for materials from the Court regarding
                               upcoming hearing (.1); prepare for upcoming meetings with attorneys on
                               various issues on third party claims and prepare materials regarding same
                               (3.2); conferences regarding various related issues with K. Duff (.5).

                               Asset Analysis & Recovery

                AW        0.20 Prepare materials for K. Duff and M. Rachlis regarding potential claim
                               (.2).

                               Asset Analysis & Recovery

                AEP       2.00 Conference with K. Duff and M. Rachlis regarding latest facts discovered
                               during property-by-property review of EquityBuild transactions, implications for
                               potential claims (.8); continue reviewing EquityBuild transaction documents
                               and updating property-specific chronologies (1.2).

                               Asset Analysis & Recovery

                NM        1.50 Correspond with K. Duff, M. Rachlis, and A. Porter regarding potential claims
                               and strategic planning.

                               Asset Analysis & Recovery

    3/13/2019 AEP         0.90 Continue reviewing internal EquityBuild transaction documents and updating
                               property-specific chronology.

                               Asset Analysis & Recovery

                MR        1.00 Attention to issues on third party claims.

                               Asset Analysis & Recovery

    3/14/2019 AEP         1.10 Continue reviewing internal EquityBuild transaction documents and updating
                               property-specific chronology.

                               Asset Analysis & Recovery

                SZ        0.80 Reviewed email correspondence relating to potential claims.

                               Asset Analysis & Recovery
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Kevin B. Duff, Receiver                                                                              Page 7



    Date        Indiv Hours Description

    3/14/2019 MR          2.00 Prepare for meetings regarding third party claims and meetings on same.

                               Asset Analysis & Recovery

    3/18/2019 AEP         1.10 Reorganize various EquityBuild records from former counsel to prepare for
                               additional property-specific acquisition information in connection with
                               preparation of master chronology of events.

                               Asset Analysis & Recovery

    3/19/2019 NM          0.20 Correspond with K. Duff regarding telephone call with counsel regarding
                               asset.


                               Asset Analysis & Recovery

                AEP       1.10 Continue reviewing internal EquityBuild transaction documents and updating
                               property-specific chronology.

                               Asset Analysis & Recovery

                AW        0.10 Email A. Porter detailed information regarding subpoenas.


                               Asset Analysis & Recovery

    3/20/2019 AEP         1.20 Continue reviewing internal EquityBuild transaction documents and updating
                               property-specific chronology.

                               Asset Analysis & Recovery

                NM        0.50 Prepare for telephone call with counsel for bank regarding property (.3);
                               telephone call with same and K. Duff (.2).

                               Asset Analysis & Recovery

    3/21/2019 NM          0.10 Correspond with counsel for title company in response to subpoena served.


                               Asset Analysis & Recovery

    3/22/2019 AEP         0.90 Continue reviewing internal EquityBuild transaction documents and updating
                               property-specific chronology.

                               Asset Analysis & Recovery

                AW        0.50 Attention to email regarding subpoenas, revise subpoenas, prepare exhibit to
                               same, email N. Mirjanich revised subpoenas, and serve subpoenas.


                               Asset Analysis & Recovery

                NM        0.40 Study and respond to emails relating to property (7943 Essex), subpoenas,
                               and in EB account (.2); study subpoenas and serve same (.2).
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    Kevin B. Duff, Receiver                                                                                 Page 8



         Date       Indiv Hours Description


                                   Asset Analysis & Recovery

         3/27/2019 NM         1.20 Study documents from former EB attorney (.7); correspond with E. Duff
                                   regarding same, documents therein, and expenses (.5).


                                   Asset Analysis & Recovery

         3/29/2019 NM         0.60 Study and exchange correspondence with Defendant regarding response to
                                   motion and correspond with M. Rachlis and K. Duff regarding same (.3);
                                   study J. Cohen response to Receiver's motion to amend appointing order to
                                   identify specific property (.2); exchange correspondence with title company
                                   regarding subpoena (.1).

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                    [ 67.20        21105.00]

Asset Disposition

         3/1/2019    AEP      1.20 Teleconference with K. Duff regarding finalization of single-family homes
                                   listing agreement and options for shopping existing bid (.1); edit and revise
                                   waiver of real estate broker's lien forwarded by receivership broker (.3);
                                   teleconference with J. Rak regarding miscellaneous closing document
                                   preparation issues (.1); make final edits and revisions to proposed
                                   single-family home listing agreement (.3); edit and revise current draft of
                                   assignment and assumption agreement (.2); update and revise various
                                   closing checklists associated with properties in first marketing tranche (.2).

                                   Asset Disposition

         3/4/2019    JR       5.60 Update real estate taxes with accrued interest on the closing checklists for all
                                   properties in the first tranche (.7); create and fill out closing documents excel
                                   spreadsheet to help keep track of documents which are being produced and
                                   updated for properties in the first tranche (1.2); continue drafting updates to
                                   closing documents spreadsheet and confirm all the closing documents are
                                   completed and documents that require additional attention (3.1); corrections
                                   made to broker waiver of liens with new signatory (.6).

                                   Asset Disposition

                     MR       0.70 Follow up on issues regarding sales of first tranche and pending motion on
                                   second tranche of properties.

                                   Asset Disposition

         3/5/2019    JR       2.50 Create closing checklists for the second tranche and identify property
                                   information for same including taxes and delinquencies of same, exemptions,
                                   property management information, owner of record, PIN(s), number of units,
                                   square footage from assessors site and other miscellaneous information.
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Kevin B. Duff, Receiver                                                                                 Page 9



    Date       Indiv Hours Description


                               Asset Disposition

    3/5/2019    AEP       0.70 Draft receiver's deed (.4); read, edit, and revise numerous closing documents
                               forwarded by title company and update closing spreadsheets accordingly (.3).

                               Asset Disposition

                MR        0.40 Conferences with E. Duff regarding appraisal issues.

                               Asset Disposition

    3/6/2019    AEP       2.30 Meeting with J. Rak to update and amend closing checklists for first and
                               second marketing tranches (1.5); conference calls with prospective new title
                               company underwriter regarding overview of sales process and potential
                               substitution for current title insurer (.5); e-mail communications with counsel
                               for prospective purchaser of receivership property (5001 S Drexel) and
                               corresponding property manager regarding purchaser's demands for
                               information from management company (.3).

                               Asset Disposition

                KMP       0.20 Communications with insurance broker and E. Duff regarding breakdown of
                               premium payments, finance charges and fines on a
                               per-property basis in connection with sale of properties.

                               Asset Disposition

                JR        5.60 Meeting with A. Porter reviewing changes to closing document checklists
                               regarding the first tranche (1.4); deleted, added and modified documents on
                               the closing checklist (1.1); update spreadsheet regarding outstanding real
                               estate taxes for properties managed by management company adding PIN
                               number and the balance due as well as accrued interest (2.6); telephone
                               communication with the Cook County Treasurer's office to confirm property
                               balances (.5).

                               Asset Disposition

    3/7/2019    JR        3.20 Update EquityBuild portfolio spreadsheet with updated real estate tax
                               balances which include accrued interest from March.

                               Asset Disposition

                AEP       4.70 Review title examination package, prepare chain of title, and identify special
                               exceptions for inclusion in title commitment for receivership property to be
                               conveyed in second marketing tranche (701 S 5th Avenue) (3.0);
                               teleconference with underwriting team at prospective new title insurance
                               company regarding background of receivership, plan for selling
                               receivership properties, all title insurance and escrow needs, and
                               availability of discounted pricing (1.7).

                               Asset Disposition
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Kevin B. Duff, Receiver                                                                                Page 10



    Date        Indiv Hours Description

    3/7/2019    NM        0.90 Draft motion to approve the sale process for the single-family home portfolio.

                               Asset Disposition

    3/8/2019    AEP       4.00 Meeting with J. Rak and title company underwriter regarding all remaining
                               special exceptions on title commitments corresponding to sales of properties
                               in first marketing tranche and approval of proposed forms of conveyance
                               documents (3.0); meeting with J. Rak to discuss process for reviewing title
                               documents and chain of title in connection with preparation of title
                               commitments for properties in second marketing tranche (.7); read
                               e-mails received from, and prepare e-mail to, prospective purchasers of
                               property (5001 S Drexel) in first marketing tranche regarding request for
                               direct communications with property managers (.3).

                               Asset Disposition

                ED        1.60 Confer with N. Mirjanich regarding information relating to sales of properties
                               from single family homes portfolio, including review and discussion of
                               information relating to recorded and released liens on properties.

                               Asset Disposition

                NM        2.00 Correspond with K. Duff and J. Rak regarding motion to approve process for
                               single-family homes (.2); correspond with E. Duff regarding same and
                               regarding lender on properties and loans for same (1.6); correspond with K.
                               Pritchard regarding correspondence to all lenders who filed objections to
                               the motion to approve second sale process (.2).

                               Asset Disposition

    3/11/2019 JR 5.50 Review title examination for property (4520 S. Drexel) (3.9); found several
                          discrepancies and made appropriate notes for A. Porter and title company
                          for review (1.6).

                               Asset Disposition

    3/12/2019 AEP         3.00 Teleconference with prospective broker of single family home portfolio
                               regarding final changes to listing agreement and begin making agreed-
                               upon changes (1.0); participate in team meeting with receivership brokers
                               regarding properties to be included within third marketing tranche (2.0).

                               Asset Disposition

                ED        2.10 Meeting with property managers, K. Duff, M. Rachlis, N. Mirjanich, and A.
                               Porter to analyze and discuss plans for property sales (1.9); email to
                               property managers to follow up on information relating to same (.2).

                               Asset Disposition

                MR        2.30 Prepare for and participate in upcoming meeting with SVN on various issues
                               and upcoming hearing.
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Kevin B. Duff, Receiver                                                                                 Page 11



    Date      Indiv Hours Description


                               Asset Disposition

    3/12/2019 JR          6.40 Assist N. Mirjanich with the notice for publication for the motion to approve the
                               process of sale of the single-family homes by adding PIN numbers to the
                               notice (.5); review chain of title for property in the second tranche and make
                               notes for A. Porter to review (6751 S. Merrill) (3.8); begin review and make
                               notes on additional property in the second tranche (7600 S. Kingston) (2.1).

                               Asset Disposition

                NM        4.00 Prepare for meeting with real estate broker by studying spreadsheet sent by
                               same and by comparing same to buildings with code violations (.4); office
                               conference with real estate broker, K. Duff, M. Rachlis, E. Duff, and A.
                               Porter regarding disposition of third tranche and process for the first and
                               second tranches (2.0); draft motion to approve the process for the single-
                               family home sale (1.4); correspond with J. Rak regarding publication notice
                               for same (.2).

                               Asset Disposition

    3/13/2019 AEP         0.50 Finalize latest draft of prospective single-family homes listing agreement and
                               transmit same to receivership broker with prefatory comments.

                               Asset Disposition

                JR        6.10 Continue review of chain of title for property in the second tranche (7600 S.
                               Kingston) (2.3); completed and marked up with comments for A. Porter to
                               review (1.7); started review chain of title on the next property in the second
                               tranche (7625 S. East End) (2.1).

                               Asset Disposition

                NM        0.50 Revise motion to approve the process for the single-family home sale and
                               send to A. Porter for comment.

                               Asset Disposition

    3/14/2019 NM          0.10 Correspond with J. Rak regarding closing on the first tranche of properties
                               following housing court because of issues raised with respect to porch repairs
                               and need for funds.

                               Asset Disposition

                JR        8.50 Review chain of title for property (7625 S. East End) (1.8); identify
                               discrepancies in chain of title for same (1.7); review legal description and PIN
                               and identify discrepancies on the documents of records for same (1.2); review
                               chain of title for property (7600 S. Kingston) (1.9); review legal description and
                               PIN numbers and look for any discrepancies for properties (4520 S. Drexel,
                               6751 S. Merrill and 7110 S. Cornell) on documents provided to us by the title
                               company (1.9).

                               Asset Disposition
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Kevin B. Duff, Receiver                                                                                  Page 12



    Date      Indiv Hours Description

    3/15/2019 AEP         0.40 Teleconference with team regarding fire at receivership property under
                               contract for sale in first marketing tranche (7943 S Essex).

                               Asset Disposition

                JR        6.90 Continue studying documents of record and noting any and all discrepancies
                               in the legal description and PIN numbers for property (7110 S. Cornell) (2.3);
                               complete the same task for another property in the second tranche (7600 S.
                               Kingston) (1.9); complete same task for another property (7625 S. East) in
                               the second tranche (2.7).

                               Asset Disposition

    3/16/2019 AEP         0.20 Read and respond to e-mail from prospective broker for sale of single-family
                               homes and prepare final draft of proposed representation agreement for
                               mutual execution.

                               Asset Disposition

    3/17/2019 AEP         2.00 Meeting with M. Rachlis to review objections to motions to approve sales of
                               properties in first tranche and marketing of properties in second tranche and
                               prepare responses thereto.

                               Asset Disposition

    3/18/2019 JR          6.30 Review chain of title for property in the second tranche (7748 S. Essex) (2.1);
                               identify and note of any discrepancies on the conveyance of title regarding
                               same (2.7); begin review chain of title for property in the second tranche
                               (7750 S. Muskegan) (1.5).

                               Asset Disposition

                ED        0.90 Meeting with K. Duff, M. Rachlis, and A. Porter regarding asset sales, lender
                               objections, and follow-up with lenders and counsel.

                               Asset Disposition

                AEP       3.50 Read e-mails from title company underwriter regarding changes to
                               receiver's deed and other conveyance documents, begin preparation of
                               first draft of all closing documents for property in first sales tranche (7927-
                               49 S Essex), update closing checklists accordingly, and prepare e-mail to
                               title underwriters regarding customization of conveyance documents for
                               all other properties in first sales tranche.

                               Asset Disposition

                 MR       7.90 Prepare for hearing including review of various motions and relating documents
                              and work through same in several discussions with K. Duff and A. Porter (4.5)
                              and argue various motions regarding sales of properties before magistrate judge
                              (2.5); follow up conferences regarding various objections, hearing and strategy
                              moving forward with K. Duff, E. Duff, and A. Porter (.9).

                               Asset Disposition

    3/19/2019 JR          6.10 Continue review chain of title for property in the second tranche (7750 S.
                               Muskegan) (3.1); phone communication with the City of Chicago water
                               department regarding the water certification process in preparation for
                               closings in the first tranche of properties (1.1); continue working on the title
                               examination on same and note discrepancies on all deeds provided to us by
                               the title company (1.9).
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    Date      Indiv Hours Description


                               Asset Disposition

    3/19/2019 AEP         3.00 Teleconference with K. Duff regarding timing of potential judicial approval of
                               sale of properties in first marketing tranche and sequencing of preparation of
                               conveyance documents (.2); teleconference with J. Rak regarding status of
                               preparation of examiner's worksheets relating to properties in second
                               marketing tranche, sequencing of preparation of conveyance documents
                               associated with properties in first sales tranche, and water certificate issues
                               (.5); read comments on conveyance documents reviewed by title company,
                               prepare presumptively final versions of receiver's deed, affidavit of title, and
                               bill of sale, customize same for three properties in first sales tranche (5001 S
                               Drexel, 6160 S King, and 8100 S Essex) and send specimen copies of same
                               to counsel for prospective purchasers for review and comment, along with
                               status update on judicial review of motion to approve sales (2.3).

                               Asset Disposition

    3/20/2019 JR          5.60 Sent the water certification applications to the City of Chicago via the new
                               online portal for properties in the first tranche (.5); sent additional documents
                               to the City of Chicago per their request (.2); continue working on the chain of
                               title for property in the second tranche (8334 S. Ellis) (4.3); telephone
                               conference with A. Porter regarding the water certifications and the chain of
                               title regarding same (.6).

                               Asset Disposition

                AEP       1.50 Teleconference with K. Duff regarding need for FEIN's of properties in first
                               sales tranche, fire at property in first sales tranche (7943 S Essex), and
                               status of review of draft motion to approve sale of single-family homes (.3);
                               teleconferences with J. Rak regarding preparation of water certificates,
                               progress of title examinations relating to properties in second marketing
                               tranche, and other closing-related issues (.3); prepare presumptively final
                               versions of receiver's deeds, affidavits of title, and bills of sale for two
                               properties in first sales tranche (7500 S Eggleston and 7549 S Essex) and
                               send specimen copies of same to counsel for prospective purchasers for
                               review and comment, along with status update on judicial review of motion to
                               approve sales (.6); teleconferences with two outside brokers seeking
                               information regarding timing of marketing of second marketing tranche (.2);
                               teleconference with K. Duff, receivership broker, and E. Duff regarding
                               proposed resolution of issues with prospective buyer of receivership property
                               that sustained fire damage (7943 S Essex) (.1).

                               Asset Disposition

                ED        0.80 Confer with K. Duff and calls with property advisor and insurance broker
                               regarding application of insurance proceeds and other issues relating to
                               sale of property (7943 S Essex).

                               Asset Disposition
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    Date      Indiv Hours Description

    3/20/2019 KMP         0.20 Communications with K. Duff and accountant regarding tax ID information
                               required for certain closing documents relating to sale of properties.

                               Asset Disposition

                MR        0.40 Attention to various issues at property regarding allocation of property sales.

                               Asset Disposition

    3/21/2019 JR          5.30 Exchange correspondence with the City of Chicago, water department
                               regarding water certification applications for properties (7500 Eggleston and
                               7549 S. Essex) (.5); completed water certifications applications online for
                               properties in the first tranche (4.2); email communication with the title
                               company attorney regarding the application process and confirm the
                               requirements to avoid any delays with closings (.2); exchange
                               correspondence with management company regarding water accounts and
                               contact information for access to building (.3); email communication with A.
                               Porter regarding status of water certifications (.1).

                               Asset Disposition

                KMP       0.30 Communications with K. Duff, A. Porter, and D. Weinberg regarding tax
                               numbers necessary for completion of closing documents on certain properties
                               to be sold by Receiver (.2); telephone conference with government agency
                               regarding means of obtaining same (.1).

                               Asset Disposition

    3/22/2019 JR          4.50 Exchange correspondence with title company representatives regarding the
                               water certifications (.6); finish review of title search for property (8334 S.
                               Ellis) (3.1); exchange correspondence with City of Chicago customer service
                               representative regarding water certification and forwarding Receiver court
                               order per request (.6); email communication with E. Duff regarding Purchase
                               and Sale Contract for property (7943 Ellis) (.1); email communication with
                               management company regarding status of water reading on the property
                               (7933 Ellis) (.1).

                               Asset Disposition

                AEP       3.40 Create second group of closing documents for all properties in first sales
                               tranche and update closing checklists (2.5); conference call with counsel for
                               buyer of property subject to casualty claim regarding proposed resolution (.4);
                               prepare letter to counsel for buyer of property subject to casualty claim
                               seeking agreement to terms of proposed resolution (.3); teleconferences with
                               K. Duff and E. Duff regarding modifications to proposed letter to counsel for
                               buyer of property subject to casualty claim (.2).

                               Asset Disposition

                ED        2.90 Email correspondence and calls with insurance broker and broker
                               regarding delivery of policy information to property purchaser (.2) and
                               regarding process and information for filing insurance claim (.6); calls and
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    Date      Indiv Hours Description

                               emails with property manager regarding building protection and
                               documentation for insurance claim (.2); confer with K. Duff regarding
                               foregoing (.1); email correspondence and calls with insurance broker to
                               supply additional information relating to claim (.6); conference call with K.
                               Duff, M. Rachlis, N. Mirjanich, and real estate broker regarding status and
                               next steps to finalize contract amendment with buyer (.3); calls and email
                               correspondence with property broker regarding revised terms of purchase
                               agreement and related information (.5); review of Purchase and Sale
                               Agreement (7943 S Essex) (.2); calls with A. Porter regarding revisions to
                               same (.2).

                               Asset Disposition

    3/22/2019 MR          0.80 Attention to communications to (7943 Essex) buyer regarding sale (.1);
                               conferences with others regarding same (.2); attention to various e-mails
                               regarding same (.3); conferences on status regarding contract on (8107 Ellis)
                               (.2).

                               Asset Disposition

    3/23/2019 MR          1.30 Work on supplemental filing on motion to approve and review e-mails and
                               materials regarding same.

                               Asset Disposition

    3/24/2019 AEP         2.20 Review all e-mails and correspondence relating to the casualty at
                               receivership property in first sales tranche (7943 S Essex) and prepare
                               addendum to purchase and sale contract allocating financial responsibility for
                               damage and prospective insurance company reimbursements.

                               Asset Disposition

    3/25/2019 JR          5.20 Review chain of title for property (8342 S. Ellis) (3.8); review legal description,
                               PINs and address on deeds to confirm consistency (1.4).

                               Asset Disposition

                AEP       1.10 Revise receiver's deed for property in first sales tranche (7500 S Eggleston)
                               to incorporate additional exceptions (.1); read e-mails between M. Rachlis
                               and corporation counsel regarding retitling of water bills, potential utility
                               shutoffs, and payment of outstanding balances (.2); search e-mails of former
                               EquityBuild employees in effort to locate FEIN for property in first sales
                               tranche (6160 S King) (.2); amend existing draft of proposed addendum to
                               purchase and sale contract regarding allocation of financial responsibility for
                               casualty, prepare formal assignment of claim to be attached to addendum,
                               and transmit same to buyer's counsel (.5); revise latest draft of addendum to
                               incorporate comments received from K. Duff and E. Duff (.1).

                               Asset Disposition

                ED        0.60 Review draft of Addendum to Purchase and Sale Agreement (7943-45 S
                               Essex) (.2); confer with K Duff (.1) and email to A. Porter (.3) regarding
                               comments on same.
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    Date      Indiv Hours Description


                               Asset Disposition

    3/25/2019 NM          0.30 Correspond with City regarding telephone conference relating to outstanding
                               utility accounts on first tranche of properties (.1); correspond with K. Duff
                               regarding filing notice with court of addendum to property purchase (7943 S
                               Essex) (.2).

                               Asset Disposition

    3/26/2019 JR          4.30 Worked on water certification updates to the closing checklist (.5); office
                               conference with N. Mirjanich, A. Porter and phone conference with City of
                               Chicago representatives regarding the water bills and water certifications
                               (1.2); meeting with A. Porter to go over the closing checklist and update
                               documents in preparation for closing (2.3); exchange correspondence with
                               buyer's counsel for property (5001 Drexel) regarding contact information for
                               notices to tenants and court approval of sale status (.2); email
                               communication with K. Duff regarding status of phone conference with City of
                               Chicago water department (.1).

                               Asset Disposition

                AEP       3.30 Conference with N. Mirjanich regarding strategy for addressing water issue
                               (.1); make final edits to proposed addendum to purchase and sale contract
                               for property affected by casualty (7943 S Essex) and transmit final draft to
                               buyer's counsel (.1); teleconference with City of Chicago regarding
                               outstanding water bill issues (.5); conference with J. Rak to review closing
                               checklists for all properties in first sales tranche and allocate responsibility for
                               remaining items (1.5); teleconference with receivership broker regarding
                               status of listing agreement for single-family homes (.1); study
                               correspondence from insurance company adjusters, teleconference with
                               adjusters regarding specifics of casualty claim, assignment of policy
                               proceeds to buyer, and scheduling of inspection on site (.6); prepare e-mail
                               to buyer's counsel regarding scheduled site inspection and other closing-
                               related issues (.2); read e-mail from purchaser's counsel regarding request
                               for insurance company acknowledgment of assignment of rights of recovery
                               under policy and retention of chosen claim adjuster and prepare e-mail to
                               insurance adjusters communicating prospective buyer's concerns (.2).

                               Asset Disposition

                NM        1.40 Correspond with City regarding telephone conference relating to outstanding
                               utility accounts on first tranche of properties (.7); correspond with A. Porter
                               and J. Rak regarding same following call and regarding closings (.3);
                               correspond with J. Rak regarding same (.4).

                               Asset Disposition

    3/27/2019 JR          5.40 Worked with A. Porter on title review for properties in the second tranche
                               (4.8); itemized spreadsheet to reflect past due tax bills from 2017 for payment
                               (.3); email correspondence with A. Porter regarding rent roll and the
                               necessary updates from property management (.1); continue update
                               spreadsheet of outstanding real estate taxes for K. Duff (.2).
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    Date      Indiv Hours Description


                               Asset Disposition

    3/27/2019 MR          1.50 Attention to various issues regarding (7943 Essex) documentation and issues
                               with property manager (.5); conferences regarding issues on closing costs
                               and issues on property management (1.0).

                               Asset Disposition

                AEP       9.70 Meeting with J. Rak to review chain of title documents and finalize title
                               examiner's worksheets for various properties in second marketing tranche
                               (4520 S Drexel, 6751 S Merrill, 8326 S Essex, and 8342 S Essex) (6.5);
                               teleconference with property manager regarding funds requested to obtain
                               execution and delivery of lien waiver relating to conveyance of properties in
                               first sales tranche (6160 S King and 7927-49 S Essex) (.4); teleconference
                               with M. Rachlis and K. Duff regarding outcome of discussion with property
                               manager, cash management issues, earnest money refund issues, and
                               proposed revisions to single-family home listing agreement (.4); review
                               chain of title documents and finalize examiner's worksheet for property in
                               second marketing tranche (7110 S Cornell) (2.4).

                               Asset Disposition

                ED        0.30 Review draft of listing contract.

                               Asset Disposition

                NM        0.50 Revise notice with court of addendum to property purchase (7943 S Essex)
                               and correspond with K. Duff over same (.3); finalize same, correspond with K.
                               Pritchard regarding same, and serve same (.2).

                               Asset Disposition

                KMP       0.30 Finalize and file supplement to motion for approval of sale of properties and
                               conferences with K. Duff and N. Mirjanich regarding same.

                               Asset Disposition

    3/28/2019 JR          1.50 Update past due tax balances for all properties in the first tranche.

                               Asset Disposition

                AEP       0.80 Conference with J. Rak regarding status of preparation of rent rolls, collection
                               of leases, and processing of full payment water certificates (.3); conference
                               call with receivership broker regarding change in disposition strategy (.5).

                               Asset Disposition

    3/29/2019 JR          0.90 Completed real estate tax balance excel spreadsheet (.7); exchange
                               correspondence with K. Duff regarding same (.2).

                               Asset Disposition
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        Date       Indiv Hours Description

        3/29/2019 AEP         3.00 Review chain of title documents and finalize title examiner's worksheet for
                                   property in second marketing tranche (7600 S Kingston) (1.9); review chain of
                                   title documents and finalize title examiner's worksheet for property in second
                                   marketing tranche (7500 S Muskegon) (1.1).

                                   Asset Disposition

        3/31/2019 ED          0.40 Review terms of contract for sale (5001 S Drexel) regarding release of
                                   earnest money (.3); emails to property advisor regarding same (.1).

                                   Asset Disposition

SUBTOTAL:                                                                                   1[81.50        45424.00]
Business Operations


        3/1/2019      JR      1.90 Telephone communication with the Cook County treasurer's office regarding
                                   online and in-person real estate tax payments (.4); assist N. Mirjanich in
                                   preparing and sorting real estate tax balances and creating a spreadsheet for
                                   2018 1st Installment (1.5).

                                   Business Operations

                      MR      3.00 Attention to various issues on taxes and follow up with various investors
                                   regarding same with counsel for lender (2.8); attention to third party actions
                                   (.2).

                                   Business Operations

                      ED      1.80 Review and revise draft reply to lender's counsel regarding application of
                                   net rentals to pay property taxes and timing and process for delivery of
                                   accounting for properties (.3); confer with M. Rachlis regarding same (.2);
                                   review email from lender's counsel regarding Receiver's payment of real
                                   estate tax installments, draft and revise reply, and confer with M. Rachlis
                                   regarding same (1.1); review email from lender's counsel regarding
                                   proposal for payment of real estate taxes and confer with J. Rak and K. Duff
                                   regarding same, and regarding payment of property tax balance from
                                   available refund (.2).

                                   Business Operations

                      KMP     1.50 Communications with K. Duff and insurance broker regarding deductible
                                   payment due on property insurance claim, and prepare check and
                                   transmittal for same (.3); prepare form for wire transfer of funds to property
                                   manager for property management expenses, communications with K. Duff
                                   and bank regarding same, and submit form for payment (.3);
                                   communications with K. Duff and J. Rak regarding payment of 2018
                                   delinquent property taxes for certain receivership properties, and prepare
                                   numerous checks for payment of same (.9).

                                   Business Operations
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    Date       Indiv Hours Description

    3/1/2019    AEP       0.70 Teleconference with counsel for owner of non-receivership property (7616 S
                               Phillips) regarding result of communications with affected mortgagees, city
                               receivership and cash flow issues, and proposal for interim resolution of
                               conflict (.3); teleconference with K. Duff regarding potential resolution of
                               conflict between owner of former EquityBuild property (7616 S Phillips) and
                               EBF mortgagees (.1); teleconference with counsel for owner of former
                               EquityBuild property (6801 S East End) regarding potential plan for
                               resolution of current impasse between owner and EBF mortgagees (.3).

                               Business Operations

                NM        2.80 Correspond with K. Duff and J. Rak regarding real estate property tax
                               payments and prepare spreadsheet reflecting payment by Receiver of same
                               (1.7); study motion to lift the stay in the state court matter, draft order to lift
                               same, and correspond with K. Duff, A. Watychowicz, EB counsel, and
                               Plaintiff's counsel regarding same (.9); correspond with K. Duff and A.
                               Watychowicz regarding another lawsuit filed against EB (.2).

                               Business Operations

    3/2/2019    MR        1.10 Further follow up on various issues regarding institutional investors and tax
                               issues (.8); attention to third party claims (.3).

                               Business Operations

                ED        0.80 Email correspondence with K. Duff and M. Rachlis regarding response to
                               lender's counsel (.6); email correspondence lender regarding property tax
                               payments (.2).

                               Business Operations

    3/4/2019    KMP       0.70 Update account ledger for receivership account (.2); review ledger to track
                               receipts and disbursements to property manager for status communication
                               with lenders (.2); revise spreadsheets for use as exhibits to motion and
                               conferences with N. Mirjanich regarding same (.3).

                               Business Operations

                ED        1.30 Confer with K. Duff and M. Rachlis regarding progress on developing systems
                               for monthly accounting to lenders and related issues (.6); email
                               correspondence and telephone conference with accountant regarding same
                               (.5); revise draft of email to lender's counsel (.2).

                               Business Operations

                MR        1.10 Attention to draft order on stay associated with pending motion (.3); attention
                               to various issues on code violations (.1); attention to e-mails regarding CHA
                               related issues at property (.1); conferences with E. Duff and K. Duff
                               regarding system for account on rent reallocation (.6).
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    Date       Indiv Hours Description


                               Business Operations

    3/4/2019    NM        3.40 Correspond with K. Duff regarding properties (7760 S Coles and 8107 S Ellis
                               SE) (.2); telephone conference with real estate broker regarding properties
                               (7760 S Coles and 8107 S Ellis SE) (.1); correspond with property manager
                               regarding same (.1); study and organize dozens of recently received code
                               violations and related documents (2.2); exchange correspondence with K.
                               Duff, M. Rachlis, the SEC, EB's attorney, and plaintiff’s counsel in state court
                               matter regarding agreed order to lift the stay (.8).

                               Business Operations

    3/5/2019    MR        2.30 Prepare for conference call with counsel for lender (.6); conferences with
                               counsel for lender and (.3); conferences with E. Duff regarding various
                               issues on issues raised on sale and raised during call (.7); follow up with
                               counsel for lender regarding taxes; attention to issue regarding taxes and
                               property issues (.6); attention to letter on code issues (.1).

                               Business Operations

                AEP       0.20 Teleconference with K. Duff regarding pre-payment by management
                               company of property taxes on receivership property (7500 S
                               Eggleston) and potential resolution of claims involving non-receivership
                               property (6801 S East End).

                               Business Operations

                ED        5.90 Email correspondence with property manager and lender’s counsel regarding
                               financial reporting (.3); email correspondence with lender’s representatives
                               regarding information requested in connection with property appraisal (.7);
                               confer with M. Rachlis regarding same (.4); call with lenders’ counsel and M.
                               Rachlis regarding resources available for payment of property taxes (.3);
                               preparation for same (.8); confer with M. Rachlis regarding potential topics
                               for further discussion with lenders (.6); email correspondence with lender
                               regarding funds available for payment of real estate taxes and review of
                               related documentation regarding lender held reserves (.6); update tax and
                               reserve analysis (1.1); call with K. Duff and property manager regarding
                               accounting for properties net income and net loss (.9); review
                               correspondence from lender's counsel and email to A. Porter to follow up
                               regarding multiple PINs for property (6217 S Dorchester) (.2).

                               Business Operations

                AW        1.40 Communicate with A. Porter and N. Mirjanich regarding subpoenas to title
                               companies (.3); research information on secretary of state website (.4); draft
                               subpoenas for five title companies (.4); draft notice of subpoenas (.1); email
                               exchanges with counsel regarding same and possible revisions to rider (.2).
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    Date       Indiv Hours Description


                               Business Operations

    3/5/2019    NM        2.40 Correspond with K. Duff and M. Rachlis regarding discovery, claims and
                               investors (1.1); draft letter to former EB attorney regarding notices of code
                               violations (.8); update chart of stayed litigation to reflect same and other
                               stayed matters (.2); draft email correspondence to Defendant regarding same
                               and exchange drafts of same with K. Duff and M. Rachlis (.3).

                               Business Operations

                JR        2.00 Continue to look for real estate credits on the Cook County Treasurer's
                               website for all properties in the portfolio (1.8); email to E. Duff regarding same
                               (.2).

                               Business Operations

    3/6/2019    ED        4.60 Prepare document for property manager regarding tax balances at managed
                               properties (1.6); email to and confer with J. Rak re additional information
                               required for same (.3); review records and email correspondence regarding
                               pending lender inspection requests (.8); review information regarding
                               premium calculations for each property and email correspondence with K.
                               Pritchard and insurance broker (.6); requesting confirmation of amounts to
                               be used for preparing accountings for each property (.3); email
                               correspondence with A. Porter regarding additional taxes due relating to
                               second PIN for one property (6217 S Dorchester) and confer with J. Rak
                               regarding same (.3); email correspondence with accountant regarding next
                               steps for creation of accounting reports to lenders (.4); review information
                               regarding transfers between property accounts (.3).

                               Business Operations

                NM        2.60 Study settlement agreement sent to Defendant and correspondence with
                               Defendant and K. Duff regarding same (.6); correspond with K. Duff
                               regarding letter to attorney regarding communications related to notice issue
                               (.1); study comments and revise letter regarding same (.1); correspond with
                               attorney regarding proposed order to lift stay (.1); correspond with the clerk
                               regarding same (.2); draft email correspondence to the court to enter same
                               (.2); exchange email with attorney for property and correspond with A. Porter
                               regarding same (.1); revise spreadsheets of outstanding code violations and
                               in advance of status conference on housing court matters next week (1.2).

                               Business Operations

    3/7/2019    KMP       0.60 Redact, revise and finalize exhibits to affidavit in support of motion to amend
                               appointing order and conference with N. Mirjanich regarding same (.4); file
                               motion, exhibits and notice electronically with court (.2).

                               Business Operations
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    Date       Indiv Hours Description

    3/7/2019    ED        0.60 Update information regarding outstanding real estate taxes and email to
                               property manager regarding same (.5); email correspondence with K.
                               Duff and M. Rachlis regarding outstanding tax amounts (.1).

                               Business Operations

                NM        2.10 Study email correspondence relating to tax filing information and a property
                               in the EquityBuild account (.1); revise letter to former EB attorney
                               regarding notice issue (.1); study and organize notices of several code
                               violations and related documents (.7); revise spreadsheet of outstanding
                               code violations and prepare for housing court on March 14, 2019 (.7);
                               correspond with K. Duff regarding same (.5).

                               Business Operations

    3/8/2019    MR        0.30 Follow up on order regarding upcoming hearing.

                               Business Operations

                ED        1.60 Email correspondence with lender's counsel and property managers
                               regarding requests from appraisers for additional information and documents
                               (.9); calls and email correspondence with accountants regarding financial
                               reporting (.7).

                               Business Operations

                KMP       0.40 Attention to minute entries relating to motions to approve sale of properties
                               and to amend appointing order (.1); compile service information for counsel of
                               record for communication regarding rescheduling of hearing and conferences
                               with K. Duff and N. Mirjanich regarding same (.3).

                               Business Operations

                NM        0.30 Correspond with EB attorney regarding stay order in state court matter (.1);
                               correspond with E. Duff regarding financial reporting spreadsheets and
                               hearings set before Judge Kim (.2).

                               Business Operations

    3/9/2019    MR        0.30 Communications regarding schedules for upcoming hearings and various
                               emails regarding same.

                               Business Operations

    3/11/2019 AEP         2.40 Review tax records and prepare e-mail to counsel for owner of non-
                               receivership property (7616 S Phillips) regarding necessity of avoiding tax
                               sale and current plans for disposition of property and division of proceeds
                               (.3); review notes of 03/08/19 meeting with title underwriters and hold
                               harmless letters relating thereto and update title commitments and closing
                               checklists for all properties in first sales tranche (1.9); read e-mail from
                               property manager regarding proposed resolution of claims regarding former
                               EquityBuild property (6801 S East End) and prepare
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    Date      Indiv Hours Description

                               response thereto (.2).

                               Business Operations

    3/11/2019 ED          4.60 Review from property manager documents and information regarding
                               outstanding real estate taxes (.4); confer with J. Rak regarding updated
                               figures for outstanding real estate taxes by property (.3); prepare and send
                               information to K. Duff analyzing potential approaches for optimizing timing of
                               payments of real estate taxes (1.1); confer with K. Duff regarding same (.1);
                               research information in EquityBuild and lender files relating to payment of
                               real estate taxes (1131 E 79th) and email to lender’s counsel regarding same
                               (.4); calls and email correspondence with insurance broker regarding sources
                               of payments received for premiums following appointment of Receiver (.3);
                               review files and correspondence to identify receivership expenditures to be
                               included in accounting reports (1.4); review documents and email
                               correspondence regarding lease (6250 S Mozart) (.6)

                               Business Operations

                NM        2.90 Prepare for housing court on approximately 11 properties and
                               administrative court on nearly a half dozen others and update
                               spreadsheets to reflect same and correspond with property manager,
                               City attorneys, and K. Duff regarding same.

                               Business Operations

    3/12/2019 AEP         0.50 Conference with K. Duff and M. Rachlis regarding latest proposal for
                               resolving impasses between owners and mortgagees associated with former
                               EquityBuild properties (6801 S East and 7616 S Phillips).

                               Business Operations

                NM        1.50 Study Defendant's motion for extension of time and exchange various
                               communications relating to same (.2); study and exchange correspondence
                               relating to offer from Defendant and Receiver's response (.2); correspond
                               with K. Duff and M. Rachlis regarding former EB employee (.1); prepare for
                               housing court and tend to administrative court matters by revising
                               spreadsheet for same and corresponding with property manager (.3); tend to
                               electrical inspection issues at properties in advance of housing court and
                               correspond with the inspector, the property managers, and K. Duff regarding
                               same (.5); prepare to lift default orders on 11 administrative matters (.2).

                               Business Operations

    3/13/2019 NM          4.50 Move to lift default orders on 9 sanitation and 2 building court cases (.8);
                               prepare for housing court tomorrow and tend to other administrative matters,
                               including those default orders, by updating spreadsheets to reflect same and
                               studying email correspondence and other documents for same (1.8);
                               correspond with property manager regarding same (.3); correspond with
                               real estate broker regarding same and other
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    Date      Indiv Hours Description

                               properties (7760 S Coles, 8107 S Ellis, 6355 Talman, 6437 S Kenwood, and
                               7748 Essex) (.3); exchange correspondence with K. Duff and E. Duff
                               regarding same and lender capex reserves (7760 S Coles and 8107 S Ellis)
                               (.7); exchange correspondence with K. Duff and former EB attorney
                               regarding complaint received (.1); exchange correspondence with K. Duff
                               and M. Rachlis regarding correspondence to Defendant for settlement and
                               motion for assets (.5).

                               Business Operations

    3/14/2019 AEP         0.50 Teleconference with counsel for owner of former EquityBuild property
                               (6801 S East End) regarding potential solution to impasse over owner's
                               attempt to sell property and existence of other former EquityBuild
                               properties with similar, but previously unknown, complications.

                               Business Operations

                ED        3.90 Review draft from accountants of template document for collection and
                               presentation of information for lender accounting reports (.4) and telephone
                               conference with accountant regarding content and processes relating to
                               same (.5); email correspondence and calls with K. Duff and M. Rachlis
                               regarding details and process for accounting reports to lenders (1.4); email
                               correspondence with lender to set up call to discuss real estate taxes and
                               collateral issues (.1); review documents regarding entity holding title to
                               property (4520-26 S Drexel LLC) and confer with A. Watychowicz and K. Duff
                               regarding same (.4); email correspondence with property manager regarding
                               same (.1); email correspondence with lender's counsel and insurance broker
                               regarding additional information requested (.2); confer with N. Mirjanich
                               regarding lender reserves available to address city violations and issues
                               relating to allocation of costs for lender accountings (.3); review list of
                               properties pending CHA move-ins and email to A. Watychowicz regarding
                               same (.5).

                               Business Operations

                KMP       0.20 Review communication from institutional lender regarding insurance
                               expiration notice and communications with K. Duff regarding status of
                               marketing and securing insurance coverage by broker.

                               Business Operations

                AW        1.20 Confer with E. Duff regarding status of several entities (5450 S Indiana LLC,
                               Chicago Capital Fund 2 LLC, SSDF4 6217 S Dorchester LLC, SSDF5
                               Portfolio 1 LLC) (.1); search records regarding same (.6); confer with E. Duff
                               and N. Mirjanich regarding filing of annual report and change of registered
                               agent (.2); file annual report for one of entities (SSDF1 4520 S. Drexel LLC)
                               and email counsel regarding same (.3).

                               Business Operations

                NM        5.30 Prepare for housing court by studying spreadsheets and making notes for
                               same and studying correspondence from property manager for same (.8);
                               correspond with K. Duff regarding same and regarding porches (7760
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Kevin B. Duff, Receiver                                                                                 Page 25



    Date      Indiv Hours Description

                               S Coles and 8107 S Ellis) (.1); appear for housing court on 11 properties
                               (1.8); revise spreadsheets to reflect housing court today and draft
                               correspondence to property managers regarding same (1.5); correspond with
                               M. Abraham regarding same (.3); correspond with E. Duff regarding
                               accounting and claims response (.3); correspond with E. Duff and A.
                               Watychowicz regarding affiliate entities (.5).

                               Business Operations

    3/14/2019 MR          1.00 Conference with E. Duff and K. Duff regarding issues with property managers.

                               Business Operations

    3/15/2019 ED          1.80 Email correspondence and telephone calls regarding fire at property (7943 S
                               Essex) with property manager (.8); conference call with property advisor, K.
                               Duff, A. Porter, N. Mirjanich regarding same (.4); confer with N. Mirjanich
                               regarding property fire and related issues (.3); calls and email
                               correspondence with insurance broker regarding process for claim for
                               casualty (.3).

                               Business Operations

                ED        3.00 Email correspondence with insurance broker regarding responses to
                               inquiries from lenders' counsel (.2); review of financial reporting for February
                               (1.4); confer with A. Watychowicz regarding costs and process related to
                               corporate entities (.4); calls and email correspondence with accountants
                               regarding preparation of accounting reports (.4); confer with N. Mirjanich
                               regarding documentation to send to accountants regarding financial
                               performance at each property (.3); review and reply to email
                               correspondence from lenders and counsel (.2); confer with N. Mirjanich
                               regarding same (.1).

                               Business Operations

                NM        6.70 Revise spreadsheets following housing court and related correspondence
                               received (1.1); correspond with K. Duff regarding the same (.3); study
                               spreadsheet for collection notices received from registered agent and
                               voicemail for City attorney regarding settlement of same (.2); draft
                               correspondence to lender regarding properties in housing court (.6);
                               correspond with E. Duff regarding revisions to same (.1); revise spreadsheet
                               of transaction in Receiver's operating account to reflect specific properties
                               and correspond with E. Duff regarding same (.7); gather all financial reporting
                               from all property mangers’ and send to accountants for same (1.8); study
                               Cohens' response to SEC's disgorgement motion (.1); study and exchange
                               email correspondence relating to the hearing on Monday March 18th, the
                               court's order on the appointing order motion, offer to Defendant, invoices
                               from creditors, and insurance and incident at property (11117 Longwood)
                               (.6); telephone conference with K. Duff, E. Duff, A. Porter, and real estate
                               broker regarding fire at property (7943 S. Essex) (.4); correspond with E.
                               Duff regarding same and other City and property issues
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Kevin B. Duff, Receiver                                                                                 Page 26



    Date      Indiv Hours Description

                               relating to same (.3); study email correspondence relating to same (.3);
                               correspond with title company regarding subpoena and draft correspondence
                               relating to same (.2).

                               Business Operations

    3/15/2019 MR          0.30 Attention to issues associated with fire at property (7943 Essex).

                               Business Operations

    3/18/2019 ED          5.40 Review financial reporting information from August 2018 and confer with N.
                               Mirjanich and email to property manager regarding same (.1); review email
                               correspondence from property manager and related information regarding
                               property and water line replacement (.6); review email correspondence and
                               documents relating to commercial lease agreement (6250 S Mozart) (.4),
                               review provisions of loan documents (.3) and draft email to K. Duff regarding
                               same (.4); confer with K. Duff regarding same (.2); call with accountants (B.
                               Fish, Brook Weiner) regarding accounting statements (.1) and review of
                               related documents regarding expenditures by receivership (.1); review and
                               revise accounting reporting (.9); confer with K. Duff and M. Rachlis regarding
                               same (1.0); conference call with lender and M. Rachlis (.6); confer with A.
                               Porter to search for evidence of property insurance payments from closing
                               statement (.2); email to tenant representative regarding commercial lease
                               (6250 S Mozart) and confer with K. Duff and M. Rachlis regarding same (.3);
                               call with insurance broker and confer with K. Duff regarding insurance claim
                               process and details (.2).

                               Business Operations

                NM        1.90 Study and respond to email correspondence relating to settlement
                               discussions with Defendant, fire at property (7943 S Essex) and property
                               managers regarding same, and from the City relating to the hearing on the
                               first tranche of properties (.3); prepare spreadsheet analysis on entities
                               owning properties relating to changing registered agents (.3); exchange
                               correspondence with E. Duff regarding whether property (2736 W 64th St)
                               has code violations (.2); update spreadsheet for housing and administrative
                               court matters (.2); correspond with M. Rachlis regarding same and draft
                               correspondence to lender counsel (.2); correspond with property manager
                               regarding property in administrative court tomorrow (7038 S Cornell) (.1);
                               correspond with counsel for creditor regarding lawsuit filed and stay of same
                               (.4); correspond with accountant and E. Duff regarding property manager
                               reporting information (.2).

                               Business Operations

                MR        1.90 Participate in call regarding properties with E. Duff (.6); conferences on
                               lease issues with E. Duff and K. Duff (.3); attention to issues involving
                               accounting reports (1.0).

                               Business Operations
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    Date      Indiv Hours Description

    3/19/2019 MR          0.50 Attention to issues on rent allocation (.2); follow up on various property related
                               issues (.3).

                               Business Operations

                ED        2.30 Email correspondence to accountant regarding comments on form of
                               accounting reports (.7); call with accountant regarding form of report (.2);
                               review revised form of report and confer with K. Duff regarding same (.8); call
                               with property manager with K. Duff to discuss property expenses (.6).

                               Business Operations

                NM        1.90 Study and respond to emails in EB account and those relating to property
                               (7616 S Phillips), counsel, and property manager regarding property (.4);
                               prepare for administrative court on property (7026 S Cornell) and prepare
                               compliance evidence (.2); appear for administrative hearing on property
                               (7026 S Cornell) and obtain motion to lift default judgment on 11 other
                               previously filed matters (1.0); update spreadsheet to reflect same and
                               correspondence from City attorney and property manager (.3).

                               Business Operations

    3/20/2019 MR          2.00 Review and address various issues regarding information in property
                               manager reporting (1.1); attention to status on various issues on properties
                               (.6); attention to issues on payment of insurance premiums and conferences
                               regarding same (.3).

                               Business Operations

                ED        4.20 Calls with accountant regarding revisions to form of accounting report (.6);
                               review document from property manager regarding February net operating
                               income and loss, real estate tax payments, and distributions of funds to and
                               from receiver for each property (.7) and confer with K. Duff regarding same
                               (.4); review and analyze revised form of accounting statement and related
                               information in property manager reporting (.5); confer with K. Duff (.3) and M.
                               Rachlis (1.1) regarding same; confer with M. Rachlis regarding investigation
                               of statements from lender's counsel regarding insurance premiums and
                               related issues (.2); confer with K. Duff and M. Rachlis regarding application of
                               proceeds of property sales (.4).

                               Business Operations

                NM        3.80 Correspond with A. Watychowicz, K. Duff, and counsel regarding lawsuit filed
                               by creditor and stay of same (.5); correspond with K. Duff regarding same,
                               closing proceeds, and telephone conference with counsel for bank (.3); send
                               reporting information from property manager to accountant and save same to
                               file (.2); correspond with K. Duff and study correspondence from City
                               attorney regarding petition for state court receiver on property (7760 Coles
                               and 8107 Ellis) (.9); telephone conference with K. Duff and City attorney
                               regarding same (.5); correspond with property manager
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    Date      Indiv Hours Description

                               regarding same and preservation of those assets (.6); correspond with K.
                               Duff regarding same (.1); correspond with real estate broker regarding same
                               (.2); correspond with M. Rachlis and E. Duff regarding same (.3); study and
                               exchange correspondence relating to fire at property (7943 S Essex) (.2).

                               Business Operations

    3/20/2019 AW          0.50 Confer with N. Mirjanich regarding lawsuit against EquityBuild (.1); draft
                               appearance and notice of receivership (.3); final revisions to drafts and e-
                               file documents (.1).

                               Business Operations

    3/21/2019 MR          0.50 Attention to issues at property affected by fire (7943 Essex) (.4); attention to
                               e-mails on status at various properties (.1).

                               Business Operations

                ED        3.50 Review documents and information regarding insurance coverage (7934 S.
                               Essex), confer with N. Mirjanich and call with insurance broker regarding
                               same (.6); calls and email correspondence with accountant regarding content
                               of and revisions to form of accounting report (.2); revisions to draft of same
                               (.6); calls and email correspondence with property manager regarding
                               expense items payable by property manager and Receiver (.8); confer with
                               N. Mirjanich regarding delivery of financial reporting to accountants to
                               populate accounting reports (.1); confer with K. Duff and M. Rachlis regarding
                               commercial lease (6250 S Mozart) and related loan document provisions (.2)
                               and review of related documents (.5); confer with K. Duff and M. Rachlis
                               regarding accounting for properties (.2); review financial reports and lender
                               reserves relating to payment of real estate taxes (1700 Juneway), and email
                               to K. Duff and M. Rachlis regarding same (.3).

                               Business Operations

                NM        1.80 Study correspondence relating to properties with code violations (7760 S
                               Coles and 8107 S Ellis) (.1); correspond with K. Duff, M. Rachlis and real
                               estate broker regarding same (.8); correspond with property manager
                               regarding code violations (.5); correspond with E. Duff and accountant
                               regarding reporting information and obtain same (.2); correspond with E.
                               Duff regarding insurance information (.2).

                               Business Operations

    3/22/2019 MR          1.80 Conferences with K. Duff and N. Mirjanich regarding porch issues (7760
                               Coles and 8107 Ellis) (.4); conferences with E. Duff regarding same and
                               follow up with lender's counsel (.2); prepare for meetings with City (.3);
                               conference call with City, K. Duff and N. Mirjanich (.5); conferences with
                               broker and others regarding (7943 Essex) fire at property (.4).

                               Business Operations
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    Date      Indiv Hours Description

    3/22/2019 AEP         0.40 Read e-mails regarding negotiation of issues arising from casualty at property
                               in first sales tranche (7943 S Essex) and reply thereto (.2); conference call
                               with team regarding negotiation of resolution of issues associated with
                               casualty (.2).

                               Business Operations

                KMP       0.40 Communications with K. Duff, E. Duff, and property manager regarding
                               transfer of funds for property repairs (.2); prepare wire transfer request form
                               and communications with bank representative regarding same (.2).

                               Business Operations

                ED        1.80 Confer with K. Duff, N. Mirjanich, and M. Rachlis regarding process to
                               address city violations at two properties (8107 S Ellis and 7760 S Coles) and
                               sources of funds for same (.2); review of information regarding sources for
                               payment of real estate taxes (.3); email correspondence with property
                               manager (.1) and confer with K. Duff (.1) regarding same; draft email
                               correspondence to lender's counsel regarding commercial lease (6250 S
                               Mozart) (1.0); call with property manager regarding same (.1).

                               Business Operations

                NM        3.40 Correspond with A. Watychowicz regarding investor communications,
                               subpoenas, and accounting records (.3); study correspondence from property
                               manager regarding properties (7760 S Coles and 8107 S Ellis) and strategize
                               for plan to repair and address code violations on same (.6); correspond with
                               City attorney, M. Rachlis, and K. Duff regarding same (.5); correspond with
                               property manager regarding same (.3); correspond with M. Rachlis and K.
                               Duff after same (.2); exchange correspondence with City attorney regarding
                               property (6160 S MLK) (.1); correspond with A. Watychowicz and J. Rak
                               regarding water certification and related issues at properties in first tranche
                               (.8); correspond with M. Rachlis regarding same and send correspondence to
                               City attorney regarding same and other water issues on properties (.6).

                               Business Operations

                AW        0.50 Email exchanges with forensic consultant regarding issue with accounting
                               records (.1); follow up with K. Duff and confer regarding accounting
                               information and review spreadsheet (.3); confer with J. Rak regarding email
                               from Chicago Water Department and bring it to N. Mirjanich's attention (.1).

                               Business Operations

    3/25/2019 AEP         0.40 Review property insurance regime, confirm EquityBuild status as named
                               insured, and provide notice of claim pursuant to policy provisions.

                               Business Operations
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    Date      Indiv Hours Description

    3/25/2019 ED          0.30 Email correspondence with lender's counsel regarding commercial lease at
                               mortgaged property (6250 S Mozart) (.1); confer with M. Rachlis regarding
                               conversation with lender's counsel (.2).

                               Business Operations

                MR        0.10 Attention to lease issues.

                               Business Operations

    3/26/2019 MR          0.20 Attention to e-mails regarding meeting with City on water related issues.

                               Business Operations

                AEP       0.20 Respond to e-mail inquiry from investor-lender regarding status of
                               non-receivership property (7616 S Phillips) and current plan for unlocking and
                               distributing proceeds.

                               Business Operations

                NM        0.60 Study and respond to outstanding emails relating to creditor invoices,
                               subpoenas, issues relating to City litigation, and outstanding utility account
                               balances (.3); correspond with City attorney and property manager (M.
                               Abraham) regarding outstanding code violations (6160 S MLK, 8107 S Ellis,
                               7760 S Coles) (.2); correspond with A. Porter regarding changing utility
                               account names (.1).

                               Business Operations

    3/27/2019 ED          6.50 Review list from accountants regarding additional information needed for
                               accounting reports (.9), identify responsive documents (.6) and email
                               correspondence regarding same (.5); calls with accountant to follow up on
                               content and further information required for accounting reports (.3); review
                               drafts of accounting reports received and prepare comments and questions
                               (.9); confer with K. Duff regarding reporting information for funds sent to and
                               from property managers (.3); prepare and send email to accountant with
                               questions and comments regarding property transfer and distribution
                               information and relating to form of report and procedures for populating
                               information (2.0); review information from property manager regarding net
                               rental income available to pay real estate taxes (.5); email correspondence
                               with K. Duff and M. Rachlis regarding same (.2); confer with N. Mirjanich
                               regarding corporate status issue, various claims related issues, and
                               upcoming expenses payable by receivership (.3).

                               Business Operations

                KMP       0.20 Communications with K. Duff and insurance broker regarding status of
                               property insurance marketing and anticipated initial payments.

                               Business Operations
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    Date      Indiv Hours Description

    3/27/2019 NM          2.60 Prepare spreadsheet that includes water utility information to determine
                               outstanding balances regarding same from the City (1.7); correspond with
                               property manager regarding properties (7760 S. Coles and 8107 S. Ellis)
                               (.3); correspond with K. Duff and K. Pritchard regarding properties (7760 S
                               Coles and 8107 S Ellis) and expenses due in next 60 days (.6).

                               Business Operations

    3/28/2019 KMP         0.20 Communications with N. Mirjanich and insurance broker regarding
                               status of property insurance marketing and anticipated initial
                               payments.

                               Business Operations

                AEP       4.60 Meet with adjusters and prospective purchaser of property in first sales
                               tranche (7943 S Essex) to tour site of casualty (1.0); conference call with K.
                               Duff and property management company principals regarding property
                               management company issue (.8); conference with K. Duff and E. Duff
                               regarding options for resolving accounts receivable issues (2.5); conference
                               call with K. Duff and E. Duff regarding issues with management company
                               (.3).

                               Business Operations

                ED        8.20 Email correspondence with property manager regarding query from lender's
                               counsel and review of related reporting documentation (.2); calls with
                               accountant regarding accounting reports (1.8); follow up with property
                               manager to request reporting information broken out by properties (.2); draft
                               email to lender's counsel regarding payment of insurance premiums relating
                               to mortgaged properties (.8); review monthly property reports for multiple
                               properties (1.6); review email correspondence from property manager
                               regarding use of net rental income to pay property taxes (.2), confer with K.
                               Duff (.2), and calls with property advisor (.4) regarding same; meeting with K.
                               Duff and A. Porter (1.3); call with property manager regarding sources of
                               funds for payment of property taxes, utilities, and past due amounts to
                               property manager (.7); confer with K. Duff and J. Rak regarding payment of
                               property taxes (1700 Juneway) (.1); confer with K. Duff regarding property
                               manager and accounting procedures (.1); review and revise draft agreement
                               (.4); confer with K. Duff regarding same (.2).
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    Date      Indiv Hours Description


                               Business Operations

    3/28/2019 NM          1.10 Further work on spreadsheet that includes water utility information to
                               determine outstanding balances regarding same from the City (.5); exchange
                               correspondence regarding subpoenas (.2); study correspondence in
                               EquityBuild email account for service of process and other key emails (.3);
                               correspond with K. Duff regarding property manager issue (.1).

                               Business Operations

    3/29/2019 KMP         0.20 Communications with K. Duff and bank representatives regarding request for
                               wire transfer to property manager for property repair expenses.

                               Business Operations

                ED        3.90 Review of email correspondence and related documents regarding details of
                               funds transfers (.3), confer with K. Duff (.1), and calls and email
                               correspondence with property manager (.3) regarding same; review and
                               revise draft of email correspondence to lender's counsel regarding same
                               (.2); email correspondence with accountant and property manager regarding
                               discrepancies in October reporting, and review of related documents (.8);
                               review email from property manager regarding expenses (.2); calls with
                               accountant regarding status of production of accounting reports, and certain
                               outstanding questions to reconcile to property manager reporting (.2); review
                               drafts of receiver's property reports (1.2); review of contract for emergency
                               porch repair (8107 S Ellis), confer with N. Mirjanich and email
                               correspondence with property advisor regarding same (.6).

                               Business Operations

                NM        2.40 Exchange correspondence with property manager and K. Duff regarding
                               porch work at properties (7760 S Coles and 8107 S Ellis) (1.3); draft
                               correspondence to City attorneys regarding administrative courts hearings
                               next week and revise spreadsheet to reflect same (.8); correspond with EB
                               counsel regarding lawsuit (.2); correspond with K. Duff regarding same (.1).

                               Business Operations

    3/30/2019 ED          2.40 Review and revise draft of email correspondence to lender's counsel
                               regarding funds transfers (.2); email correspondence with accountant and
                               property manager regarding discrepancies in October reporting, and review
                               of related documents for purposes of preparing accounting statements (.8);
                               calls with accountant regarding status of production of lender accounting
                               reports, and certain outstanding questions to reconcile to property manager
                               reporting (.2); review drafts of receiver's property reports (1.2).
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    Kevin B. Duff, Receiver                                                                                  Page 33



        Date       Indiv Hours Description


                                   Business Operations

        3/31/2019 ED          1.40 Calls with K. Duff to discuss financing options and expenses coming due (.2);
                                   conference calls with property advisor and K. Duff regarding same (.4); call
                                   with accountant regarding accounting reports (.8).

                                   Business Operations

SUBTOTAL:                                                                                    1[62.00         53185.00]
Case Administration


        3/4/2019      NM      0.80 Study correspondence from K. Duff relating outstanding tasks, including
                                   motions to file, follow-up with employees and other interested parties and
                                   re-prioritize task list according to same.

                                   Case Administration

        3/5/2019      KMP     0.20 Prepare several checks for witness fees in connection with document
                                   subpoenas to various title companies and others and conferences with K.
                                   Duff and A. Watychowicz regarding same.

                                   Case Administration

                      AW      0.30 Attention to Judge Lee's orders regarding motion to lift stay (.2); attention to
                                   appearance filed on behalf of investors (.1).

                                   Case Administration

        3/8/2019      AW      0.50 Attention to entered order entered in the Cook County Court (.1); attention to
                                   order regarding motion to clarify and second motion for court approval of sale
                                   process (.1); docket update (.3).

                                   Case Administration

        3/11/2019 AW          0.50 Confer with N. Mirjanich and K. Duff regarding updates to EB website (.1);
                                   identify pleadings as per K. Duff's instructions and request for them to be
                                   posted (.4).

                                   Case Administration

        3/12/2019 AW          0.40 Follow up regarding appearance for Defendants' motion for extension (.1);
                                   attention to email from M. Rachlis regarding pleadings and confer regarding
                                   same (.1); docket update (.1); communicate with court reporters regarding
                                   transcripts (.1).

                                   Case Administration
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         Date       Indiv Hours Description

         3/15/2019 NM         0.50 Re-prioritize task list and study emails for outstanding task.

                                   Case Administration

         3/19/2019 AW         0.10 Confer with N. Mirjanich regarding orders entered in housing court.

                                   Case Administration

         3/20/2019 AW         0.60 Attention to motions and orders entered in housing court.


                                   Case Administration

         3/21/2019 NM         0.60 Study and respond to outstanding emails relating to former EB employee,
                                   counsel for bank, creditor, property (6160 S MLK), and in the EB email account.


                                   Case Administration

                    AW        0.40 Email exchange with forensic consultant regarding electronic records, issue
                                   (.1); research former EB employee email regarding same (.3).


                                   Case Administration


SUBTOTAL:                                                                                     [ 4.90          914.00]

Claims Administration & Objections

         3/1/2019   MR        0.20 Attention to response to lender.

                                   Claims Administration & Objections

         3/4/2019   MR        0.80 Conferences on communications with institutional lenders (.4); follow up on
                                   various issues regarding third party actions (.4).

                                   Claims Administration & Objections

         3/5/2019 KMP 1.40 Review various files and documents to compile contact and claim information
                              relating to former employees and update creditors' claims chart (1.2); update
                              chart with subcontractor information at N. Mirjanich's request (.2).

                                   Claims Administration & Objections

                    MR        2.20 Further review and follow up regarding third party complaint and other third
                                   party claims (1.0); conferences on claims process and issues on discovery
                                   with K. Duff and N. Mirjanich (1.1); follow up on claims motion and
                                   objections (.1).

                                   Claims Administration & Objections

                    NM        0.50 Draft notice letter to attorney who recently filed complain (.2); correspond with
                                   K. Duff, A. Watychowicz, and K. Pritchard regarding notice of claims (.3).
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    Date       Indiv Hours Description


                               Claims Administration & Objections

    3/6/2019    KMP       0.30 Draft and finalize notice letter and transmittals of same to collection agency
                               for creditor.

                               Claims Administration & Objections

                NM        0.60 Draft notice letter to creditor who filed lawsuit and study comments from K.
                               Duff to same (.4); correspond with A. Watychowicz and K. Pritchard
                               regarding service of same (.2).

                               Claims Administration & Objections

    3/8/2019    KMP       1.00 Meeting with N. Mirjanich and A. Watychowicz regarding issues relating to
                               claims notices and identification of potential claimants and capturing contact
                               information on creditors' list.

                               Claims Administration & Objections

                AW        0.90 Meeting with N. Mirjanich and K. Pritchard regarding claims and notice.


                               Claims Administration & Objections

                NM        1.00 Correspond with K. Pritchard and A. Watychowicz regarding notice list for
                               claims process.

                               Claims Administration & Objections

                MR        0.20 Attention to response from lender.

                               Claims Administration & Objections

    3/11/2019 MR          0.90 Attention to issues for upcoming meeting and lender issues.

                               Claims Administration & Objections

                KMP       0.30 Attention to communications from K. Duff regarding certain creditors and
                               work on revisions to creditors' list.

                               Claims Administration & Objections

    3/12/2019 AEP         0.70 Conference with K. Duff and M. Rachlis regarding competing methods for
                               administering claims process based on facts discovered to date.

                               Claims Administration & Objections

                KMP       3.10 Continue work on revisions to creditors' list, including reviewing notices sent
                               to or received from various potential claimants and adding same to list.

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 569 Filed: 11/01/19 Page 200 of 221 PageID #:8500
Kevin B. Duff, Receiver                                                                                Page 36



    Date        Indiv Hours Description

    3/12/2019 MR          0.10 Conference with lender's counsel regarding claims process.

                               Claims Administration & Objections

    3/13/2019 MR          0.70 Attention to filings on claims process and upcoming hearing (.6); and
                               conferences regarding same with K. Duff (.1).

                               Claims Administration & Objections

                KMP       2.80 Review notices sent to or received from various potential claimants and
                               continue working on revisions to creditors' list.

                               Claims Administration & Objections

                AW        0.30 Attention to numerous objections to motion to approve claims process.

                               Claims Administration & Objections

                NM        0.70 Study lenders' objections to the claims motion.

                               Claims Administration & Objections

    3/14/2019 MR          1.70 Review response from lenders regarding claims process and evaluate
                               possible reasons (1.2); conferences with K. Duff regarding same (.5).

                               Claims Administration & Objections

                KMP       2.70 Continue to review notices sent to or received from various potential
                               claimants and continue working on revisions to creditors' list.

                               Claims Administration & Objections

    3/15/2019 MR          2.00 Review materials in preparation for upcoming hearing.

                               Claims Administration & Objections

                KMP       3.10 Continue to review notices sent to or received from various potential
                               claimants and continue working on revisions to creditors' list.

                               Claims Administration & Objections

    3/17/2019 MR          5.50 Prepare for upcoming hearing (3.0) and meeting with A. Porter regarding
                               same (2.5).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 569 Filed: 11/01/19 Page 201 of 221 PageID #:8501
Kevin B. Duff, Receiver                                                                                Page 37



    Date        Indiv Hours Description

    3/18/2019 NM          0.80 Study motion to approve claims process and objections to same to draft reply.

                               Claims Administration & Objections

    3/19/2019 AW          1.30 Continue work on comprehensive and detailed investor list for claims process
                               purpose.

                               Claims Administration & Objections

    3/20/2019 AW          2.20 Continue work on comprehensive and detailed investor list for claims process
                               purpose (2.1); attention to statement from institutional lender and forward to
                               K. Duff. (.1);

                               Claims Administration & Objections

    3/21/2019 MR          1.00 Attention to various issues regarding lender related properties for discussion
                               with lender (.5); conferences with K. Duff and E. Duff regarding accounting
                               and issues at cross collateralized properties (.2); attention to issues on
                               claims process (.3).

                               Claims Administration & Objections

                NM        2.00 Draft reply brief to claims motion objections (1.0); correspond with A.
                               Watychowicz regarding search of potential creditors in EB email accounts
                               and search for same (1.0).

                               Claims Administration & Objections

                AW        1.20 Confer with N. Mirjanich regarding additional creditors and search regarding
                               same (.8); start preparation of notices of receivership to newly discovered
                               creditors (.4).

                               Claims Administration & Objections

    3/22/2019 ED          0.20 Confer with N. Mirjanich regarding review of claims form with vendor.

                               Claims Administration & Objections

                NM        0.40 Exchange correspondence with vendor regarding claims form and
                               correspond with E. Duff, K. Duff, M. Rachlis, K. Pritchard, and A.
                               Watychowicz regarding scheduling a call to discuss same.

                               Claims Administration & Objections

                AW        0.90 Find addresses and contact information for new creditors (.8); follow up with
                               N. Mirjanich regarding same (.1).

                               Claims Administration & Objections

    3/25/2019 MR          1.20 Conference with lender's counsel (.5); e-mail regarding same (.2); follow up
                               with E. Duff regarding same (.2); follow up on claims process issues (.3).


                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 569 Filed: 11/01/19 Page 202 of 221 PageID #:8502
Kevin B. Duff, Receiver                                                                                    Page 38



    Date      Indiv Hours Description

    3/25/2019 ED          1.40 Conference call with vendor, K. Duff, N. Mirjanich, and A. to review
                               online claims form, and discussion of comments and next steps.

                               Claims Administration & Objections

                NM        6.90 Draft and revise reply brief in support of motion to establish claims process
                               and response to cross-motion for expedited discovery and priority hearing
                               (5.2); prepare for telephone call with vendor to review claims form (.3);
                               telephone call with vendor, K. Duff, E. Duff, and A. Watychowicz regarding
                               same (1.4).

                               Claims Administration & Objections

                AW        1.40 Teleconference regarding claims form.

                               Claims Administration & Objections

    3/26/2019 SZ          3.50 Revised and drafted notices for new creditors reflecting additional
                               receivership defendants (3.0); office conference with the Receiver, N.
                               Mirjanich and A. Watychowicz about the same (.5).

                               Claims Administration & Objections

                NM        6.00 Draft and revise reply brief in support of motion to establish claims process
                               and response to cross-motion for expedited discovery and priority hearing
                               (5.9); correspond with S. Zjalic regarding draft notice letter for creditors (.1).

                               Claims Administration & Objections

    3/27/2019 NM          3.30 Draft and revise reply brief in support of motion to establish claims process
                               and response to cross-motion for expedited discovery and priority hearing
                               and correspond with K. Duff regarding same and study comments from
                               same.

                               Claims Administration & Objections

                MR        0.90 Attention to issues on upcoming response to objections on claims process
                               (.3); attention to issues regarding filing (.3); and several conferences
                               regarding same (.3).

                               Claims Administration & Objections

    3/28/2019 MR          3.90 Review, draft and revise claims process response brief (3.0); conferences
                               and attention to various property related issues (.7); attention to e-mail to
                               lender's counsel (.2).

                               Claims Administration & Objections

                NM        3.30 Revise reply brief in support of motion to establish claims process and
                               response to cross-motion for expedited discovery and priority hearing and
                               correspond with K. Duff and M. Rachlis regarding same and comments from
                               same.

                               Claims Administration & Objections
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    Kevin B. Duff, Receiver                                                                              Page 39



        Date        Indiv Hours Description

        3/29/2019 MR          2.60 Attention to communications with lenders and regarding property related
                                   issues and review and revise same (.7); conferences with K. Duff and E. Duff
                                   (.3); work on draft response brief (1.2); conferences regarding same (.4).

                                   Claims Administration & Objections

                     NM       8.10 Revise reply brief in support of motion to establish claims process and
                                   response to cross-motion for expedited discovery and priority hearing and
                                   correspond with K. Duff and M. Rachlis regarding same and comments from
                                   same and finalize same for filing.

                                   Claims Administration & Objections

        3/30/2019 MR          0.10 Follow up on requests for information from lenders.

                                   Claims Administration & Objections


SUBTOTAL:                                                                                  [ 86.30       22584.00]

Corporate Finance

        3/20/2019 MR          0.20 Attention to issues regarding possible interim financing.

                                   Corporate Finance

        3/27/2019 ED          0.10 Confer with K. Duff regarding potential loan.


                                   Corporate Finance

        3/29/2019 AEP         0.50 Prepare and respond to e-mails to potential bridge lenders regarding
                                   potential short-term financing and teleconference with K. Duff regarding
                                   progress.

                                   Corporate Finance

                     ED       1.00 Calls and email correspondence with banker regarding potential loan (.9);
                                   confer with K. Duff regarding same (.1).


                                   Corporate Finance

        3/30/2019 MR          1.20 Review order appointing receiver relative to issues on financing and related
                                   issues and follow up regarding same with K. Duff and E. Duff.

                                   Corporate Finance

        3/31/2019 ED          0.80 Calls and email correspondence with K. Duff regarding approaches to
                                   potential funding sources.

                                   Corporate Finance


SUBTOTAL:                                                                                  [ 3.80         1482.00]
    Case: 1:18-cv-05587 Document #: 569 Filed: 11/01/19 Page 204 of 221 PageID #:8504
    Kevin B. Duff, Receiver                                                                                Page 40



        Date       Indiv Hours Description

Employee Issues

        3/6/2019    KMP       0.20 Prepare email correspondence to former EB employee transmitting copy of
                                   2018 W-2.

                                   Employee Issues


SUBTOTAL:                                                                                  [ 0.20             28.00]

Investor Communications

        3/3/2019    MR        0.20 Follow up on investor related e-mails.

                                   Investor Communications

        3/4/2019    AW        0.20 Confer with N. Mirjanich and K. Duff regarding responses to investors
                                   regarding second status report.

                                   Investor Communications

        3/5/2019    AW        0.50 Attention to email regarding call from investor and response regarding same
                                   (.1); update contact information for investors (.2); respond to emails from
                                   investors on behalf of K. Duff (.2).



                                   Investor Communications

        3/6/2019    AW        0.20 Attention to voicemail from investor (.1); respond to same via email on behalf
                                   of K. Duff (.1).

                                   Investor Communications

        3/7/2019    AW        0.10 Attention to emails regarding voicemails from investors.

                                   Investor Communications

        3/8/2019    AW        1.40 Phone calls with investors and follow up emails with same.


                                   Investor Communications

        3/14/2019 NM          0.20 Correspond with A. Watychowicz regarding correspondence received from
                                   investors related to filings.

                                   Investor Communications

                    KMP       0.20 Attention to voicemail messages from investors and communicate with K.
                                   Duff and A. Watychowicz regarding same.

                                   Investor Communications
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    Kevin B. Duff, Receiver                                                                                   Page 41



        Date        Indiv Hours Description

         3/14/2019 AW         1.10 Response to numerous emails from investors.

                                   Investor Communications

         3/18/2019 AW         0.10 Response to investor inquiry and information regarding defendant's property
                                   in Florida.

                                   Investor Communications

                    NM        0.20 Study email correspondence in the EquityBuild account.

                                   Investor Communications

         3/19/2019 AW         1.10 Review emails from investors (.2); draft responses, and respond to
                                   numerous investors (.9).

                                   Investor Communications

         3/21/2019 NM         0.60 Correspond with A. Watychowicz regarding correspondence to investors (.5);
                                   correspond with investor (.1).

                                   Investor Communications

                    AW        0.90 Respond to emails from investors.

                                   Investor Communications

         3/28/2019 MR         0.30 Attention to issues regarding investor inquiries.

                                   Investor Communications

         3/29/2019 AW         0.50 Research regarding investor's email (.4); confer with K. Duff regarding same
                                   (.1).

                                   Investor Communications


SUBTOTAL:                                                                                       [ 7.80          1337.00]

Tax Issues

         3/1/2019   KMP       0.30 Communications with K. Duff and accountants regarding request for
                                   information relating to 2017 entity tax returns to facilitate filing of extension
                                   requests for 2018 tax returns.


                                   Tax Issues

         3/5/2019   KMP       0.20 Review employment tax notice received from state agency (.1);
                                   communications with accountant regarding status of employment tax filings
                                   with state agency and closure of business file with agency (.1).


                                   Tax Issues
Case: 1:18-cv-05587 Document #: 569 Filed: 11/01/19 Page 206 of 221 PageID #:8506
Kevin B. Duff, Receiver                                                                                  Page 42



    Date       Indiv Hours Description

    3/6/2019    KMP       0.20 Conference with K. Duff and communications with accountant regarding tax
                               notices received from state agency.

                               Tax Issues

    3/7/2019    KMP       0.10 Attention to communication from accountant regarding filing status and
                               required extensions for EB entity tax returns.

                               Tax Issues

                MR        0.30 Follow up on various tax related issues.

                               Tax Issues

    3/8/2019    KMP       0.10 Attention to communication from accountant regarding follow-up issues
                               relating to filing status and required extensions for EB entity tax returns.

                               Tax Issues

    3/19/2019 KMP         0.40 Review communications from accountant regarding resolution for tax notices
                               from state agency, and information required for preparation of EB 2018
                               1099s (.2); prepare check and transmittal of tax payments to state agency
                               (.1); prepare communication to accountant requesting information for
                               preparation of EB 2018 1099s (.1).

                               Tax Issues

                KMP       0.40 Review communications from accountant regarding resolution for tax notices
                               from state agency, and information required for preparation of EB 2018
                               1099s (.2); prepare check and transmittal of tax payments to state agency
                               (.1); prepare communication to accountant requesting information for
                               preparation of EB 2018 1099s (.1).

                               Tax Issues

    3/20/2019 KMP         1.20 Review receivership estate account ledger to compile information required for
                               preparation of EB 2018 1099s and prepare chart relating to same (.7);
                               communications with K. Duff and accountants gather additional information
                               relating to same (.3); prepare email communication to defendants' counsel
                               requesting tax ID information relating to same (.1); prepare check and
                               transmittal of corporate tax payment to state agency (.1).

                               Tax Issues

    3/21/2019 KMP         0.10 Further communications with K. Duff, N. Mirjanich and accountant
                               regarding information for preparation of 2018 1099s.

                               Tax Issues
   Case: 1:18-cv-05587 Document #: 569 Filed: 11/01/19 Page 207 of 221 PageID #:8507
   Kevin B. Duff, Receiver                                                                                Page 43



       Date        Indiv Hours Description

        3/22/2019 MR         0.10 Attention to issues on taxes.

                                  Tax Issues

        3/25/2019 AW         0.20 Attention to notice from IRS regarding 2018 adjustment (.1); email accountant
                                  regarding same and request payment from K. Pritchard (.1).

                                  Tax Issues

        3/27/2019 KMP        0.40 Telephone conference with accountant regarding notice of fees and
                                  penalties relating to Form 941 filings (.1); prepare check and transmittal of
                                  payment for same and conference with K. Duff regarding same (.3).


                                  Tax Issues

        3/28/2019 KMP        0.10 Attention to communications with accountant regarding tax law issues.


                                  Tax Issues


SUBTOTAL:                                                                                   [ 4.10           674.00]




                                                                                           521.80      $147,293.00
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    Kevin B. Duff, Receiver                                                                Page 44




Other Charges

                                       Description

Business Operations

                                       Online research for March 2019                        238.26

                                       Witness fees for document subpoenas to banks          140.00
                                       and title companies

                                       FedEx/UPS charges for March 2019                      206.09

                                       Transcripts of proceedings for 11/16/18 and           265.65
                                       11/21/18

                                       Photocopies for March 2019                            173.90

                                       Software licenses - March 2019 (InSynq,               188.00
                                       Google)


SUBTOTAL:                                                                            [      1,211.90]


Total Other Charges                                                                        $1,211.90




                                     Summary of Activity
                                                                         Hours     Rate
Nicole Mirjanich                                                        118.50   260.00   $30,810.00
Ania Watychowicz                                                         23.50   140.00    $3,290.00
Justyna Rak                                                             104.90   140.00   $14,686.00
Kathleen M. Pritchard                                                    30.00   140.00    $4,200.00
Stoja Zjalic                                                              4.30   110.00      $473.00
Andrew E. Porter                                                         78.20   390.00   $30,498.00
Ellen Duff                                                               83.00   390.00   $32,370.00
Michael Rachlis                                                          79.40   390.00   $30,966.00
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    Kevin B. Duff, Receiver                                                     Page 45




                                     SUMMARY


                  Legal Services                                $147,293.00
                  Other Charges                                   $1,211.90

                     TOTAL DUE                                  $148,504.90




Balance due                                                                   $148,504.90
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                           EXHIBIT F
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                               BrookWeiner L.L.C.
                              125 South Wacker Drive, 10th Floor
                                   Chicago, IL 60606-4497
                                        312-629-0900




EQUITYBUILD INC RECEIVERSHIP                                    Invoice No.202392
C/O KEVIN DUFF
542 S DEARBORN, SUITE 900
CHICAGO, IL 60605                                              Date 01/31/2019
                                                               Client No.BW10753




Services rendered in the month of January, 2019 per attached detail.

B. Fish       21.85 hours @ $110                                                    $   2,403.50

C. Van Dorp 11.50 hours @ $110                                                          1,265.00

D. Weinberg 4.90 hour    @ $275                                                         1,347.50

                                                            Current Amount Due      $   5,016.00




                                              Thank you.
                               We appreciate the opportunity to serve you.
                                       Referrals are welcome.
       Case: 1:18-cv-05587   Document
                        Invoice             #: 569 Filed:
                                #202392 for EQUITYBUILD INC 11/01/19  Page
                                                            RECEIVERSHIP     212 of 221
                                                                         ( BW10753.001 ) PageID #:8512
ENG   DATE        EMPLOYEE CAT       SUBCAT    SERVICE   MEMO                             HOURS           BILLED       ADJUSTED

001   1/3/2019    Van Dorp   ACCTG   PAY       4015      Review payroll forms               0.50            55.00           0.00
                                                         prepared by other
                                                         accountant at Dave
                                                         Weinbergs request
001   1/9/2019    Weinberg   TAX     1120      2380      Meeting with K Duff etal           2.20           605.00           0.00
                                                         re: receivership
001   1/10/2019   Weinberg   TAX     1120      2380      Conference call w/ Duff &          1.00           275.00           0.00
                                                         Damasco
001   1/4/2019    Fish       ACCTG   CWU       4200      phone call with                    1.75           192.50           0.00
                                                         N. Mirjanich going over
                                                         summary of account tracing
001   1/3/2019    Fish       ACCTG   CWU       4200      Analyze transactions               6.50           715.00           0.00
                                                         for account.

001   1/30/2019   Fish       ACCTG   CWU       4200      working on breaking down in        3.50           385.00           0.00
                                                         more detail various accounts
                                                         working on breaking down
001   1/29/2019   Fish       ACCTG   CWU       4200      detail of various accounts         4.50           495.00           0.00

001   1/25/2019   Van Dorp   ACCTG   PAY       4010      Reconcile payroll reports from     6.00           660.00           0.00
                                                         payroll vendor for EquityBuild
                                                         and information from the
                                                         Receivership in order to
                                                         prepare 4th Qtr payroll tax
                                                         returns for the receivership
                                                         and W-2's for both
                                                         EquityBuild and the
                                                         Receivership.

001   1/26/2019   Van Dorp   ACCTG   PAY       4010      Enter individual payroll tax       5.00           550.00           0.00
                                                         information for 2018 for
                                                         Equitybuild and the
                                                         Receivership into Yearli
                                                         Program
001   1/23/2019   Fish       ACCTG   CWU       4200      Summarize account analysis         2.10           231.00           0.00
                                                         and create a report

001   1/18/2019   Weinberg   TAX     1120      2380      Phone & work re: payroll           0.40           110.00           0.00
                                                         taxes
001   1/25/2019   Fish       ACCTG   CWU       4200      Meeting with N. Mirjanich to       3.50           385.00           0.00
                                                         go over next steps in process
001   1/15/2019   Weinberg   TAX     1120      2380      Phone re: 1099's etc               0.40           110.00           0.00
001   1/21/2019   Weinberg   TAX     1120      2380      Phone with K Duff & K              0.60           165.00           0.00
                                                         Pritchard re: 2018 1099's &
                                                         W-2's
001   1/22/2019   Weinberg   TAX     1120      2380      Phone with Duff & Damasco          0.30            82.50           0.00
                                                         re: tax filings


                                                                                           38.25        5,016.00            0.00


                                                         Invoice Reconciliation

                                                         Billed WIP                                      5,016.00
                                                         Adjusted                                              0.00
                                                         Progress Amount                                       0.00
                                                                                                   -----------------
                                                         Gross Amount                                    5,016.00
                                                         (Apply Prior Progress)                                0.00
                                                         Sales Tax                                             0.00
                                                         (Sales Tax Applied)                                   0.00
                                                                                                   -----------------
                                                         Net Invoice                                     5,016.00
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                               BrookWeiner L.L.C.
                              125 South Wacker Drive, 10th Floor
                                   Chicago, IL 60606-4497
                                        312-629-0900




EQUITYBUILD INC RECEIVERSHIP                                    Invoice No.202695
C/O KEVIN DUFF
542 S DEARBORN, SUITE 900
CHICAGO, IL 60605                                              Date 03/28/2019
                                                               Client No.BW10753




Services rendered in the month of February, 2019 per attached detail.

B. Fish       40.95 hours @ $110                                                    $   4,504.50

C. Van Dorp 13.00 hours @ $110                                                          1,430.00

D. Weinberg 1.60 hour    @ $275                                                          440.00

                                                            Current Amount Due      $   6,374.50




                                              Thank you.
                               We appreciate the opportunity to serve you.
                                       Referrals are welcome.
       Case: 1:18-cv-05587   Document
                        Invoice             #: 569 Filed:
                                #202695 for EQUITYBUILD INC 11/01/19  Page
                                                            RECEIVERSHIP     214 of 221
                                                                         ( BW10753.001 ) PageID #:8514
ENG   DATE        EMPLOYEE CAT       SUBCAT    SERVICE   MEMO                          HOURS           BILLED       ADJUSTED

001   2/25/2019   Fish       ACCTG   CWU       4200      rework summary for              8.50           935.00           0.00
                                                         affidavit

001   2/27/2019   Fish       ACCTG   CWU       4200      updated categories and          4.50           495.00           0.00
                                                         summary reports


001   2/26/2019   Fish       ACCTG   CWU       4200      updated categories and          3.75           412.50           0.00
                                                         summary reports


001   2/28/2019   Fish       ACCTG   CWU       4200      cleaning up the summary         6.50           715.00           0.00
                                                         and detail report for
                                                         account analysis for
                                                         Affidavit
001   2/27/2019   Fish       ACCTG   CWU       4200      review spreadsheets with        1.25           137.50           0.00
                                                         N. Mirjanich
001   2/19/2019   Weinberg   TAX     1120      2370      Mtg w/ B Fish & then E.         0.80           220.00           0.00
                                                         Duff re: property
                                                         spreadsheets
001   2/2/2019    Van Dorp   ACCTG   PAY       4010      Finish 4th Qtr payroll tax      5.00           550.00           0.00
                                                         returns and W-2's for
                                                         EquityBuild and
                                                         Receivership
001   2/1/2019    Fish       ACCTG   CWU       4200      working on breaking down        4.00           440.00           0.00
                                                         detail of various accounts
001   2/14/2019   Weinberg   TAX     1120      2380      Phone w/ K Duff re:             0.80           220.00           0.00
                                                         Properties
001   2/6/2019    Van Dorp   ACCTG   PAY       4010      Preparation of 2018 W-2's       6.00           660.00           0.00
                                                         for receivership and
                                                         Equitybuild. Including
                                                         payroll tax returns for 3rd
                                                         and 4th Qtr of 2018
001   2/7/2019    Van Dorp   ACCTG   PAY       4010      Preparation of 2018 W-2's       2.00           220.00           0.00
                                                         for receivership and
                                                         Equitybuild. Including
                                                         payroll tax returns for 3rd
                                                         and 4th Qtr of 2018
001   2/20/2019   Fish       ACCTG   CWU       4200      Revise data for affidavit       2.80           308.00           0.00


001   2/21/2019   Fish       ACCTG   CWU       4200      rework spreadsheet for          1.25           137.50           0.00
                                                         Affidavit
001   2/23/2019   Fish       ACCTG   CWU       4200      working on consolidated         5.80           638.00           0.00
                                                         spreadsheet
001   2/19/2019   Fish       ACCTG   CWU       4200      Review affidavit for            2.60           286.00           0.00
                                                         accuracy


                                                                                        55.55        6,374.50            0.00


                                                         Invoice Reconciliation

                                                         Billed WIP                                   6,374.50
                                                         Adjusted                                           0.00
                                                         Progress Amount                                    0.00
                                                                                                -----------------
                                                         Gross Amount                                 6,374.50
                                                         (Apply Prior Progress)                             0.00
                                                         Sales Tax                                          0.00
                                                         (Sales Tax Applied)                                0.00
                                                                                                -----------------
                                                         Net Invoice                                  6,374.50
Case: 1:18-cv-05587 Document #: 569 Filed: 11/01/19 Page 215 of 221 PageID #:8515


                               BrookWeiner L.L.C.
                             125 South Wacker Drive, 10th Floor
                                  Chicago, IL 60606-4497
                                       312-629-0900




EQUITYBUILD INC RECEIVERSHIP                                    Invoice No.203012
C/O KEVIN DUFF
542 S DEARBORN, SUITE 900
CHICAGO, IL 60605                                              Date 04/24/2019
                                                               Client No.BW10753




Services rendered in the month of March, 2019 per attached detail.

B. Fish       70.25 hours @ $110                                                    $   7,727.50

C. Van Dorp    4.75 hours @ $110                                                         522.50

A. Olesiak     7.50 hours @ $ 68                                                         510.00

C. Rodriguez 5.50 hours @ $ 68                                                           374.00

D. Weinberg 2.10 hours    @ $275                                                         577.50

                                                            Current Amount Due      $   9,711.50




                                             Thank you.
                              We appreciate the opportunity to serve you.
                                      Referrals are welcome.
       Case: 1:18-cv-05587   Document
                        Invoice             #: 569 Filed:
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ENG   DATE        EMPLOYEE CAT       SUBCAT    SERVICE   MEMO                          HOURS    BILLED     ADJUSTED

001   3/20/2019   Fish       ACCTG   CWU       4200      working with Ellen on           3.50    385.00         0.00
                                                         Property spredsheet
                                                         template
001   3/22/2019   Fish       ACCTG   CWU       4200      working on spreadsheets         2.50    275.00         0.00
                                                         tracking missing
                                                         information, Reviewing
                                                         work completed on
                                                         spreadsheets
001   3/21/2019   Fish       ACCTG   CWU       4200      work on spreadsheet for         1.00    110.00         0.00
                                                         template
001   3/22/2019   Fish       ACCTG   CWU       4200      Clean up template for their     1.50    165.00         0.00
                                                         use


001   3/28/2019   Fish       ACCTG   CWU       4200      working on property            10.00   1,100.00        0.00
                                                         spreadsheets for attorney
001   3/29/2019   Fish       ACCTG   CWU       4200      working on spreadsheets         8.50    935.00         0.00
                                                         for property managers.
                                                         Entering the expenses and
                                                         inter-property transfers.

001   3/30/2019   Fish       ACCTG   CWU       4200      work on propety sheets for      5.75    632.50         0.00
                                                         property managers.
001   3/18/2019   Fish       ACCTG   CWU       4200      working on property             3.40    374.00         0.00
                                                         template
001   3/23/2019   Fish       ACCTG   CWU       4200      Identify documents needed       3.00    330.00         0.00
                                                         for the spreadsheet.

001   3/27/2019   Fish       ACCTG   CWU       4200      worked on property              5.20    572.00         0.00
                                                         spreadsheets for attorney
001   3/19/2019   Fish       ACCTG   CWU       4200      work with E. Duff on            2.20    242.00         0.00
                                                         template
001   3/5/2019    Van Dorp   ACCTG   PAY       4020      Receive email from client       0.50     55.00         0.00
                                                         about payroll tax notice
                                                         from State of Texas. Call
                                                         to Texas for more detail.
                                                         Close TX payroll account
                                                         by phone.
001   3/7/2019    Van Dorp   ACCTG   PAY       4015      Review payroll and income       0.50     55.00         0.00
                                                         tax notices for 2018 from
                                                         the State of Louisiana.

001   3/1/2019    Fish       ACCTG   CWU       4200      on phone revising               0.50     55.00         0.00
                                                         spreadsheets for Affidavit
001   3/26/2019   Van Dorp   ACCTG   PAY       4020      Old Equitybuild IRS notice      1.50    165.00         0.00
                                                         for 3rd Qtr 2018. Review
                                                         and write response letter
                                                         to IRS. Call to Kathy
                                                         Pritchard to discuss.
001   3/27/2019   Van Dorp   ACCTG   PAY       4015      Call from Kathy Pritchard       0.50     55.00         0.00
                                                         to discuss preparation of
                                                         1099=MISC forms for
                                                         2018 from old Equitybuild
                                                         and the receivership
001   3/22/2019   Weinberg   TAX     1120      2380      Phone re: Properties etc        0.40    110.00         0.00
001   3/22/2019   Olesiak    ACCTG   CWU       4200      Created 43 spread sheets        5.00    340.00         0.00
                                                         for properties and entered
                                                         information available
                                                         (property taxes, income,
                                                         expenses) Sept, 2018 -
                                                         February, 2019.
001   3/16/2019   Fish       ACCTG   CWU       4200      work on spreadsheet             2.30    253.00         0.00
                                                         template for recievership
001   3/15/2019   Fish       ACCTG   CWU       4200      work on organizing              3.50    385.00         0.00
                                                         spreadsheet and reviewing
                                                         emails from attorney

001   3/12/2019   Van Dorp   ACCTG   PAY       4020      Review payroll and income       1.00    110.00         0.00
                                                         tax notices from the State
                                                         of Louisiana sent to
                                                         Equitybuild. Write
                                                         response to client to pay
                                                         tax due. Calls to LA.
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ENG   DATE        EMPLOYEE CAT        SUBCAT   SERVICE   MEMO                                HOURS           BILLED       ADJUSTED

001   3/12/2019   Fish        ACCTG   CWU      4200      work on spreadsheet template          6.50           715.00           0.00
                                                         for properties
001   3/11/2019   Fish        ACCTG   CWU      4200      work on spreadsheet for               4.50           495.00           0.00
                                                         property recievership
001   3/14/2019   Fish        ACCTG   CWU      4200      working on spreadsheet for            2.50           275.00           0.00
                                                         court
001   3/19/2019   Weinberg    ACCTG   CWU      4235      Phone W/ K. Duff re:                  0.60           165.00           0.00
                                                         properties & accounting
001   3/9/2019    Fish        ACCTG   CWU      4235      work on spredsheet template           2.50           275.00           0.00
                                                         for property management

001   3/6/2019    Fish        ACCTG   CWU      4200      review affidavit for N. Mirjanich     1.40           154.00           0.00
001   3/8/2019    Olesiak     ACCTG   CWU      4200      Entering 16 new clients (14 -         2.50           170.00           0.00
                                                         partnerships & 2 - S corps) in
                                                         tax program, creating
                                                         extensions and trying to Efile
                                                         them. 11 extensions were
                                                         accepted & 5 rejected. Several
                                                         attempts to Efile the 5 rejected
                                                         extensions. Printed extensions
                                                         for paper filing.


001   3/18/2019   Van Dorp    TAX     MISC     2950      Discussion with D Weinberg            0.25            27.50           0.00
                                                         about preparing 1099's for
                                                         receivership and Equitybuild.

001   3/19/2019   Van Dorp    TAX     MISC     2950      Write email to Kathy Pritchard        0.50            55.00           0.00
                                                         with detailed informtion
                                                         needed to prepare 1099's for
                                                         EquityBuild and the
                                                         receivership for 2018

001   3/14/2019   Weinberg    TAX     1120     2380      Regarding rental reports              0.50           137.50           0.00
001   3/15/2019   Weinberg    TAX     1120     2380      Re: properties spreadsheets           0.60           165.00           0.00

001   3/22/2019   Rodriguez   ACCTG   CWU      4200      Data entry for EB properties          5.50           374.00           0.00



                                                                                              90.10        9,711.50            0.00


                                                         Invoice Reconciliation

                                                         Billed WIP                                         9,711.50
                                                         Adjusted                                                 0.00
                                                         Progress Amount                                          0.00
                                                                                                      -----------------
                                                         Gross Amount                                       9,711.50
                                                         (Apply Prior Progress)                                   0.00
                                                         Sales Tax                                                0.00
                                                         (Sales Tax Applied)                                      0.00
                                                                                                      -----------------
                                                         Net Invoice                                        9,711.50
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                          EXHIBIT G
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                                                                                                          Invoice
        BILL TO
                                                                                             DATE                 INVOICE #
      EquityBuild
      Kevin Duff                                                                            3/6/2019                9829




                                                                   TERMS                PROJECT




QUANTITY SERVICED                                                    DESCRIPTION                       RATE        AMOUNT

         0.5   1/19/2019       Updated 5 PDF in EB website page for RDPK website.                        110.00         55.00
         0.5   2/15/2019       Updated 3 PDF.                                                            110.00         55.00
         0.5   2/17/2019       Updated 3 more PDF to EB section.                                         110.00         55.00
        0.25   2/26/2019       Update EB receivership with PDF.                                          110.00         27.50
           1   2/28/2019       Updated 6 EB packets. Also removed dozens of EB items.                    110.00        110.00
        0.25   2/28/2019       Uploaded 1 more EB item.                                                  110.00         27.50
                               Illinois Sales Tax                                                      10.00%            0.00




Thank you for your business.
                                                                                                  Total               $330.00
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                                                                                                                               Invoice
     BILL TO
                                                                                                                   DATE                INVOICE #
   EquityBuild
   Kevin Duff                                                                                                    4/25/2019               9989




                                                            TERMS                                          PROJECT




QUANTITY SERVICED                                              DESCRIPTION                                                   RATE       AMOUNT

      1.5 2/15/2019   Worked on AWS. Called Bill and emailed him. Talked to Kevin. Tried to get onto AWS with login           110.00        165.00
                      and got suspension notices. Forwarded that to Kevin. Looked over old notes and gave information
                      to Kevin regarding 5 instances of AWS servers. Lastly got onto NameCheap archieve and looked to
                      see if one of them was a database that Kevin was curiuos about.
        4 3/21/2019   Assignment - retrieve QB data. Got onto insynq using the AP account. Found QB files. Downloaded         100.00        400.00
                      all of them, around 3.3 GB of data. Placed them onto desktop at office. Emailed Ania about details.
      0.5 3/27/2019   Worked with Donovan to get QB passwords and verify.                                                     110.00         55.00
     1.75 3/29/2019   Got passwords for Donovan M. Logged in and verified those passwords work. Passed along                  110.00        192.50
                      information to Ania. Got jump drive and copied all backup QB information to it and will get that
                      over to main computer with all EB information on it.
                      Illinois Sales Tax                                                                                     10.00%             0.00




                                                                                                                            Total          $812.50
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                                                                                                          Invoice
        BILL TO
                                                                                             DATE                 INVOICE #
      EquityBuild
      Kevin Duff                                                                            4/5/2019                9947




                                                                   TERMS                PROJECT




QUANTITY SERVICED                                                     DESCRIPTION                      RATE        AMOUNT

         0.5 3/11/2019         Updated 5 packets to EB website.                                          110.00         55.00
           1 3/31/2019         Setup EB items 12 of them pdf attachments.                                110.00        110.00
           1 2/5/2019          Office home and business for EB Designated Workstation                    292.17        292.17
                               Illinois Sales Tax                                                      10.00%            0.00




Thank you for your business.
                                                                                                  Total               $457.17
